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                                EXHIBIT B (contd.)

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                              D-1-GN-18-001835                               Alexus Rodriguez

  NEIL HESLIN                            §                IN DISTRICT COURT OF
    Plaintiff                            §
                                         §
  VS.                                    §                TRAVIS COUNTY, TEXAS
                                         §
  ALEX E. JONES, INFOWARS, LLC,          §
  FREE SPEECH SYSTEMS, LLC, and          §                 459th DISTRICT COURT
  OWEN SHROYER,                          §
    Defendants                           §

                              D-1-GN-18-001842
  LEONARD POZNER AND                     §                IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                   §
    Plaintiffs                           §
                                         §                TRAVIS COUNTY, TEXAS
  VS.                                    §
                                         §
  ALEX E. JONES, INFOWARS, LLC,          §                 459th DISTRICT COURT
  AND FREE SPEECH SYSTEMS, LLC,          §
    Defendants                           §

                              D-1-GN-18-006623
  SCARLETT LEWIS                         §                IN DISTRICT COURT OF
    Plaintiff                            §
                                         §
  VS.                                    §                TRAVIS COUNTY, TEXAS
                                         §
  ALEX E. JONES, INFOWARS, LLC,          §
  AND FREE SPEECH SYSTEMS, LLC,          §                 459th DISTRICT COURT
    Defendants                           §
                                         §


 PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO MOTION FOR PRO HAC VICE
         REGARDING WITNESS TAMPERING IN THIS LAWSUIT



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           Plaintiffs have filed this Supplemental Response because after the filing of their

 initial brief, Mr. Randazza has been repeatedly threatening one of the witnesses who

 provided evidence included with Plaintiffs’ brief. The witness contacted Plaintiffs’

 counsel expressing his grave alarm about these threats, which included highly

 improper and potentially felonious threats of criminal prosecution and civil litigation

 against the witness. As such, Plaintiffs file this brief to bring this repeated witness

 intimidation to the Court’s attention.

                                                    FACTS

           Plaintiffs’ brief opposing Mr. Randazza’s appearance included declarations

 from March 2021 by Alexandrea Merrell and Mike Postle discussing an astonishingly

 abusive phone call they had with Mr. Randazza. In the week after the filing of those

 declarations, Mr. Randazza began repeatedly contacting Mr. Postle by email, issuing

 menacing threats about perjury. The events transpired as follows:

           1.      First, on July 29, 2021, Mr. Randazza emailed Mr. Postle and threatened

 a civil lawsuit. Mr. Randazza stated, “It is my intention to file a lawsuit against you for

 violation of Cal. Penal Code § 637.2.” 1 Mr. Randazza threatened this lawsuit due to Mr.

 Postle allegedly recording Mr. Randazza’s calls. Mr. Randazza stated, “I am willing to

 grant you 24 hours in which to try to resolve this without filing suit against you.” 2




 1   Exhibit 1, Declaration of Mike Postle, p. 3.
 2   Id.
                                                      2
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           2.   Mr. Postle responded by denying that he had recorded any calls, and

 asked Mr. Randazza to leave him alone, stating that he “[didn’t] see a reason for you

 to contact me.” 3

           3.   Mr. Randazza continued to email Mr. Postle. In his next email, Mr.

 Randazza stated, “Well, you both lied in claiming that I called her a ‘cunt.’” 4 Mr.

 Randazza told Mr. Postle, “So, how do you want to handle your perjury?” 5

           4.   Mr. Postle responded again, clearly upset by Mr. Randazza’s accusation

 and his threat. Mr. Postle again asked Mr. Randazza to cease contact:

                As I have said before, I find you beyond unprofessional and
                yet again, there’s no need to have contact with you unless
                it is specifically for court business. These threats are NOT
                court business. 6

           5.   Mr. Postle also stated, “I didn’t lie, you did say that.” 7 Mr. Postle

 expressed his dismay that Mr. Randazza was “coming at me out of personal anger with

 a clear vendetta.” 8 Mr. Postle then repeated his request that Mr. Randazza cease

 contact:

                There’s really no reason to contact me other than to
                continue harassing and threatening me. You’ve admitted
                that “because things have been made personal” and that
                “it’s a big mistake on my part,” it’s very clear why you’re
                still coming at me. 9


 3 Id., p. 4
 4 Id., p. 5.
 5 Id.
 6 Id., p. 6.
 7 Id.
 8 Id.
 9 Id.


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          6.       Mr. Randazza refused to honor Mr. Postle’s second demand to cease

 communicating with him about his declaration. Instead, Mr. Randazza again wrote to

 Mr. Postle, demanding that Mr. Postle “send a letter to the court” recanting his

 testimony. 10 Otherwise, Mr. Randazza pledged “to take action” and stated that he was

 “not going to let that rest.” 11 Mr. Randazza also added:

                   Indeed, I did say “fucking liar” – I will never deny that. But,
                   I certainly did not call her a “fucking bitch” nor a “fucking
                   cunt” (There is a non zero chance that I thought those
                   things, but they never came out of my mouth) 12

          7.       Mr. Randazza insisted that “I won’t let this go.” 13 Mr. Randazza then told

 Mr. Postle, “So, your move.” 14 Mr. Randazza closed by threatening Mr. Postle, stating,

 “You can dig in…and enjoy the ‘effect’ as you put it.” 15

          8.       As Mr. Postle noted in his email, Mr. Randazza had previously emailed

 Mr. Postle on June 15, 2021, telling Postle, “You decided to make it personal with me.

 That wasn’t smart.” A copy of that email is also attached to Postle’s declaration. 16

          9.       In addition, a few weeks after Mr. Postle gave Plaintiffs’ counsel his

 March 2021 declaration about his call with Mr. Randazza, Mr. Postle was harassed

 again when Mr. Randazza posted a public message to Mr. Postle on Twitter which




 10 Id., p. 7-8.
 11 Id.
 12 Id., p. 8.
 13 Id.
 14 Id.
 15 Id.
 16 Id., p. 11.


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 included a court document with his home address and phone number along with a

 link to a video of a group of mafiosos beating up a man in a bar. 17

        10.    In his attached declaration, Mr. Postle stated, “I tried to put on a brave

 face for Mr. Randazza, but I found his emails very intimidating, and they have caused

 me to worry about the reprisals I will face from Mr. Randazza because I angered him

 with my testimony.” 18 Mr. Postle also stated, “I am not represented by an attorney,

 and I fear that Mr. Randazza is going to use the legal system to pursue a personal

 vendetta against me.” 19

                                        ARGUMENT

 I.     Mr. Randazza Intimidated a Witness with Threats of Criminal
        Prosecution and Civil Litigation.

        “[W]arnings concerning the dangers of perjury cannot be emphasized to the

 point where they threaten and intimidate the witness into refusing to testify.” Johnson

 v. State, 208 S.W.3d 478, 503 (Tex. App.—Austin 2006, pet. ref’d). As the Austin court

 explained in Davis, judges and attorneys must be especially cautious when

 admonishing a witness about perjury, noting that “[s]uch admonitions should be

 administered, if at all, judiciously and cautiously.” Davis v. State, 831 S.W.2d 426, 438

 (Tex. App.—Austin 1992, pet. ref’d). This is “particularly true” when the

 admonishment is attempted by a lawyer instead of a judge, “because, as here, it

 generally occurs outside the context of the trial itself, is not a part of the official court


 17 See https://twitter.com/marcorandazza/status/1378069741055660040
 18 Exhibit 1, Declaration of Mike Postle, p. 1.
 19 Id.


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 proceedings, and is not subject to judicial supervision and control.” Id. Noting that

 “[w]itnesses should not be discouraged from testifying freely nor intimidated into

 altering their testimony,” the Davis court instructed that “[i]n all these kinds of cases

 the reviewing court should examine the circumstances under which a perjury or

 other similar admonition was made to a witness, the tenor of the warning given, and

 its likely effect on the witness's intended testimony.” Id.

        Here, the repeated hostile emails from Mr. Randazza were not “a warning to a

 witness made judiciously under the circumstances.” Id. Indeed, Mr. Randazza’s

 repeated messages, despite Mr. Postle’s requests to cease contact, “went far beyond a

 cautious and judicious warning.” Id. “First, the conversation between [Randazza and

 Postle] occurred outside the context of the trial court and the protection of judicial

 supervision.” Id. Moreover, “the tenor of [Randazza’s] comments were more

 threatening than a simple warning would need to be.” Id.; see also Steele v. State, 01-

 95-00465-CR, 1997 WL 804198, at *14 (Tex. App.—Houston [1st Dist.] Dec. 23, 1997,

 pet. ref’d) (agreeing with Davis court that misconduct occurs when comments are

 “more threatening than a simple warning would need to be.”). This is because, again,

 “the warnings concerning the dangers of perjury cannot be emphasized to the point

 where they threaten or intimidate the witness.” Hardy v. State, 01-89-00490-CR, 1990

 WL 19094, at *4 (Tex. App.—Houston [1st Dist.] Mar. 1, 1990, pet. ref’d). 20



 20In some cases, prosecutors have been given additional leeway when dealing with a recanting
 witness who changes prior testimony. However, Mr. Randazza is not a prosecutor, and Mr. Postle
 “was not a recanting witness.” Davis, 831 S.W.2d at 438.
                                               6
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       Mr. Randazza cannot excuse his misconduct by ignorance of Texas law, since a

 robust body of federal opinions have reached the same conclusion as these Texas

 courts. See, e.g., United States v. Evans, 187 F.3d 643 (8th Cir. 1999) (Noting that

 “warnings regarding the dangers of perjury cannot be emphasized to the point where

 they threaten and intimidate the witnesses into refusing to testify.”); United States v.

 Blackwell, 694 F.2d 1325, 1334 (D.C. Cir. 1982) (same); Pynn v. Woodford, EDCV 06-

 687-AHM FFM, 2011 WL 1399843, at *13 (C.D. Cal. Mar. 11, 2011) (Misconduct has

 occurred when an attorney “intimidates or harasses the witness to discourage the

 witness from testifying, for example, by threatening the witness with prosecution for

 perjury or other offenses.”); Prof. Resp. Crim. Def. Prac. 3d § 16:19, Threats of suit or

 criminal charges if witness testifies (“It is improper for a lawyer to threaten a witness

 with suit or perjury or other criminal charges if the witness testifies.”) (collecting

 cases). Under this caselaw, Mr. Randazza’s emails were not a “constitutionally

 permissible ‘mere warning’ about the dangers of committing perjury.” United States

 v. Modisett, 3:14-CR18-1 (JRT), 2017 WL 74698, at *2 (D.N.D. Jan. 5, 2017). Instead,

 Mr. Randazza’s emails contained direct accusations of perjury along with promises

 that he would act against Mr. Postle, and the threats were repeated even after Mr.

 Postle demanded Randazza cease contact.

       A similar situation arose in State v. Howe, in which a family court attorney made

 statements “to threaten both civil suit and a criminal charge” against a witness. State

 v. Howe, 247 N.W.2d 647, 654 (N.D. 1976). The court noted that the “circumstances


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 present imparted both an intention and an ability that would justify apprehension on

 the part of the recipient of the threat.” Id. The same apprehension is present for Mr.

 Postle, an unrepresented person, who is facing repeated threats that Mr. Randazza, a

 licensed attorney, will cause criminal and civil proceedings against him. In addition,

 the court in Howe discussed the importance of the surrounding circumstances. For

 instance, Howe involved an angry communication made after the witness gave

 adverse testimony:

              [T]o determine whether a threat was made, the phone call
              must be examined in the context in which it was made. Howe
              was admittedly angry at the time the call was made. Mrs.
              Rohde had testified against her son, Howe's client, earlier
              that day in the juvenile hearing. These circumstances would
              justify apprehension on the part of a reasonable person
              receiving such a call. As counsel for both parties correctly
              pointed out, it matters not whether Mrs. Rohde was actually
              apprehensive or felt threatened; rather, the issue is whether
              the circumstances would justify apprehension on the part of
              the recipient.

 Id. at 655. Here, Mr. Randazza was clearly angry in his emails, and Mr. Postle indicated

 that he felt threatened and repeatedly asked Mr. Randazza to cease contact. Under

 these circumstances, Mr. Randazza’s actions were highly improper and potentially in

 breach of criminal witness tampering statutes.

                                     CONCLUSION

        Mr. Randazza’s threatening conduct towards Mr. Postle is perfectly consistent

 with his long record of questionable conduct. It is obvious that Mr. Randazza’s




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 harassment of this witness must cease, and it is equally obvious that Mr. Randazza’s

 admission in these lawsuits would lead to further similar transgressions.


                                        Respectfully submitted,

                                        KASTER LYNCH FARRAR & BALL, LLP


                                        ____________________________________
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                            CERTIFICATE OF SERVICE

        I hereby certify that on August 2, 2021 the forgoing document was served upon
 all counsel of record via electronic service.




                                       ____________________________________
                                       MARK D. BANKSTON




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               July 29, 2021 email that of
                                        I received
                                           336     from Marc Randazza




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            July 29, 2021 email I received
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                                            336 Marc Randazza (cont.)




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              July 29, 2021 email that I of 336
                                         sent in response to Marc Randazza




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                                                from Marc   Randazza
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                 July 29, 2021 email that I sent to Marc Randazza




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              July 29, 2021 email that Iofreceived
                                            336    from Marc Randazza




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              Doc#1-13      email
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                               04/18/22           from Marc
                                         Entered 04/18/22    Randazza
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                   July 29, 2021 email that I sent to Mr. Randazza




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            June 15, 2021 email that I received from Marc Randazza (cont.)




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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 55894248
Status as of 8/3/2021 11:34 AM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted     Status

Mark D.Bankston                 mark@fbtrial.com   8/2/2021 7:38:54 AM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted    Status

Marc Randazza                  ecf@randazza.com     8/2/2021 7:38:54 AM   SENT

William Ogden                  bill@fbtrial.com     8/2/2021 7:38:54 AM   SENT

Bradley Reeves                 brad@brtx.law        8/2/2021 7:38:54 AM   SENT

Carmen Scott                   carmen@fbtrial.com 8/2/2021 7:38:54 AM     SENT
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                               D-1-GN-18-001835                               Alexus Rodriguez

  NEIL HESLIN                             §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §                459th DISTRICT COURT
  OWEN SHROYER,                           §
    Defendants                            §

                               D-1-GN-18-001842
  LEONARD POZNER AND                      §                IN DISTRICT COURT OF
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    Plaintiffs                            §
                                          §               TRAVIS COUNTY, TEXAS
  VS.                                     §
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §                459th DISTRICT COURT
  AND FREE SPEECH SYSTEMS, LLC,           §
    Defendants                            §

                               D-1-GN-18-006623
  SCARLETT LEWIS                          §                IN DISTRICT COURT OF
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                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  AND FREE SPEECH SYSTEMS, LLC,           §                459th DISTRICT COURT
    Defendants                            §
                                          §


  PLAINTIFFS’ SUPPLEMENTAL RESPONSE TO MOTION FOR PRO HAC VICE
    REGARDING FALSE ACCUSATIONS AGAINST PLAINTIFFS’ COUNSEL



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        Plaintiffs file this brief because Defendants’ counsel have made malicious and

 knowingly false statements about Plaintiffs’ counsel, including accusations of anti-

 Semitic abuse when Defendants’ counsel knew and understood Mr. Bankston was

 actually the target of that very abuse, which he was quoting back to a neo-Nazi troll.

 Defendants also intentionally misled the Court and misrepresented the meaning of

 numerous statements on Mr. Bankston’s personal anonymous Twitter account, as

 well as falsely accused Mr. Bankston of lying to the Court. The evidence below shows

 that Defendants’ counsel made these accusations maliciously as a means of reprisal

 to damage Mr. Bankston’s reputation, and that they have violated their duty of candor

 to the Court on these irrelevant and collateral matters. Plaintiffs file this brief to clear

 their counsel’s name and bring the Court’s attention to the many disturbing

 misrepresentations about Plaintiffs’ counsel contained in Defendants’ brief.

                                    INTRODUCTION

        In his free time, Mr. Bankston operates a popular anonymous Twitter account

 addressing politics and culture from a left-wing anti-fascist perspective, frequently

 with a satirical or sardonic bent. Often daring and occasionally adult-themed, the

 anonymous account has gained 176,000 followers including many of the nation’s pre-

 eminent politicians and journalists.

        As the tweets in Defendants’ brief shows, an occasional element of the

 anonymous Twitter account is dedicated to mocking and ridiculing some of the

 nation’s most infamous white nationalist politicians, neo-Nazi agitators, Proud Boy


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 thugs, QAnon anti-vaxxers, and other bigoted provocateurs in the online far-right

 reactionary movement. While Mr. Bankston’s tweets on his private account

 sometimes contain profanity, Defendants have dishonestly misrepresented Mr.

 Bankston’s comments to falsely portray him as a bigot and white nationalist when the

 exact opposite is true. Defendants have grossly misrepresented tweets when Mr.

 Bankston was quoting anti-Semitic attacks directed at Mr. Bankston, or they have

 otherwise removed the context to invert the actual meaning. In other examples,

 Defendants have knowingly distorted the content of the tweets to imply a false

 meaning.

        Plaintiffs’ counsel fully understands that all of these matters are irrelevant and

 collateral to the motion currently before the Court. Nonetheless, Plaintiffs are

 compelled to file this brief because Defendants’ intentionally dishonest smears of Mr.

 Bankston could be used against him in the future if left uncorrected. Plaintiffs’ counsel

 apologizes in advance for the length of this brief as well as the irrelevant, frivolous,

 and often silly and waggish content contained within. Mr. Randazza does not seem to

 understand that profanity in personal non-legal settings is quite different than

 profanity in professional settings, to say nothing of abuse or bigotry, which is a

 disturbing issue regardless of where it occurs.

        Yet most importantly, the attempts to smear Mr. Bankston are maliciously

 dishonest, and Defendants’ dishonesty is supported by hard evidence in the form of

 messages sent to Mr. Bankston by the attorney working with Mr. Randazza in


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 Connecticut which confirm the dishonest nature of these attacks. These dishonest

 smears are so severe as to constitute a breach of the duty of candor to the Court.

                                        ARUGMENT

 I.       Defendants Dishonestly Claimed Mr. Bankston Engaged in Anti-
          Semitic Abuse when Defendants Know that Mr. Bankston was
          Quoting Abuse Directed at Him.

          Defendants’ brief cites a tweet in which they claim “Bankston wrote “Stop being

 such a jew about it,” but they conceal the fact that the tweet is actually Mr. Bankston

 quoting a Proud Boy troll who had directed that anti-Semitic insult against Mr.

 Bankston. Moreover, as shown below, Defendants’ counsel are well aware that Mr.

 Bankston crusades against these anti-Semitic bigots online, and that Mr. Bankston is

 subject to this kind of anti-Semitic abuse due to his anonymous status.

          The thread begins with Mr. Bankston replying to infamous far-right agitator

 Candace Owens, who posted a bigoted tweet about Jews which has since been deleted.

 Mr. Bankston replied to Owens, calling out her bigotry against Jews by saying, “Weird

 how when you change it to a historically marginalized group, suddenly it becomes

 extremely ugly instead of funny.” 1 After Mr. Bankston posted this reply, he began

 receiving harassing replies from a neo-Nazi Proud Boy who began accusing Mr.

 Bankston of being Jewish. Due to persistent stereotypes about Jewish left-wing

 lawyers, Mr. Bankston’s anonymous account is routinely assumed to be Jewish by far-

 right bigots, and he is routinely subject to anti-Semitic abuse directed his way.


 1   https://twitter.com/RespectableLaw/status/1025798481905176577
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          The neo-Nazi Proud Boy, whose account has since been suspended for abuse,

 then told Mr. Bankston, “Stop being such a Jew about it.” Mr. Bankston then replied

 by quoting the neo-Nazi troll and attaching an unflattering photo of a Proud Boy thug

 decked out in body armor at a recent Proud Boy race riot as a means of mocking and

 deflating his insult:




                                                                     2


          A follower of Mr. Bankston’s anonymous account then joined in mocking the

 Proud Boy who tweeted the anti-Semitic abuse at Mr. Bankston, replying, “The PB


 2   https://twitter.com/RespectableLaw/status/1025810554399727616
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 stands for peanut butter!” 3 When the Proud Boy then continued to suggest Mr.

 Bankston was Jewish, Mr. Bankston replied, “I'm whatever religion is going to make

 you fill your diaper the hardest.” 4 While admittedly coarse and juvenile, Mr. Bankston

 felt no compunction to be polite to a member of a white supremacist terrorist group

 who was harassing his personal anonymous account.

        Furthermore, on Archive.org, another reply can be found by one of Mr.

 Bankston’s followers which makes it clear that Mr. Bankston was quoting the Proud

 Boy’s abuse of “Stop being such a Jew about it,” stating, “Guarantee what [the Proud

 Boy] actually said was “shtop.” 5




 3 https://twitter.com/thoughtbirdeva/status/1025833406075203591
 4 https://twitter.com/RespectableLaw/status/1025813508137672704
 5 See archived copy at:

 https://web.archive.org/web/20190824233526if_/https://twitter.com/RespectableLaw/status/1
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          In their brief, Defendants do not tell this Court that Mr. Bankston’s tweet is a

 quote using quotation marks, nor do they mention the other tweets by Mr. Bankston

 or others. Instead, they dishonestly smeared Mr. Bankston as the author of that abuse

 knowing it wasn’t true. Indeed, the Connecticut attorney who is now working with

 Mr. Randazza on these cases, Jay Wolman, has been an avid follower of Mr. Bankston’s

 anonymous account for nearly half a decade, frequently interacting with Mr. Bankston

 as he confronted various bigoted figures.

          In fact, a year before these lawsuits began, Mr. Wolman jokingly replied to Mr.

 Bankston sympathizing with having to face this sort anti-Semitic abuse, stating to

 Mr. Bankston, “Funny, you don't look (((lawish))).” 6 The triple parenthesis, known as

 echoes, was first used as an in-group symbol by right-wing bigots to denote someone

 is Jewish. Echoes have been reappropriated by many Jews online in defiance of their

 bigoted harassers. In sum, Mr. Wolman fully understood which side of this bigoted

 cultural fight Mr. Bankston stood, and he offered his support. Furthermore, as will be

 shown below, Mr. Wolman has frequently sent unsolicited private messages to Mr.

 Bankston’s account over the years in which he acknowledges the true meaning of




 6   https://twitter.com/wolmanj/status/928835473925124096


                                              7
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 some of the tweets which have been dishonestly misrepresented in Defendants’ brief,

 all while offering his support and supposed respect. 7

        Defendants also cynically cast doubt whether Mr. Pozner and Ms. De La Rosa

 “are being truthful about being concerned about anti-semitism.” This a reckless

 aspersion on these Plaintiffs’ honesty, and it is also a bad faith attempt to drive a

 wedge between Plaintiffs’ attorneys and their clients. Thankfully, it will not work. Mr.

 Pozner and Ms. De La Rosa are quite aware of Mr. Bankston’s feelings and background

 as it concerns anti-Semitism.

 II.    Defendants Dishonestly                Claimed       Mr.    Bankston        Threatened
        Frivolous Litigation.

        Defendants next accused Mr. Bankston of “threatening frivolous litigation,” but

 this accusation is knowingly false, and given the further involvement of Mr. Wolman,

 it again raises serious concerns about candor with the Court.


 7Mr. Wolman is well aware of Mr. Bankston’s opposition to bigotry and fascism, as Mr. Wolman has
 often joined in on Mr. Bankston’s ridicule of such figures over the years. For instance:
 Mr. Wolman joining in on Mr. Bankston’s mockery of right-wing media agitator Tim Pool:
 https://twitter.com/wolmanj/status/1162909183785746432

 Mr. Wolman joining in on Mr. Bankston’s mockery of fascist propagandist Andy Ngo:
 https://twitter.com/wolmanj/status/1267576254930325505

 Mr. Wolman joining in on Mr. Bankston’s harsh words for Rep. Buzz Patterson for encouraging the
 January 6th Capitol attack:
 https://twitter.com/wolmanj/status/1347012152201248768

 Mr. Wolman joining in on Mr. Bankston’s mockery of a QAnon insurrectionist:
 https://twitter.com/wolmanj/status/1078109212260085761

 Mr. Wolman joining in on Mr. Bankston’s mockery of sexist right-wing columnist Stephen L. Miller:
 https://twitter.com/wolmanj/status/1082449462897840129


                                                 8
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          In 2019, a lawyer named Nick Rekieta had been poorly pursuing a frivolous

 defamation lawsuit on behalf of voice actor Vic Mignogna. The misadventures and

 misconduct in that lawsuit had attracted the attention of the legal community on

 Twitter, and for several months, dozens of members of “Law Twitter” had been

 chronicling what became known as the “LOLsuit.” In response, Rekieta had been

 bullying people who were joking about his case, including those who discussed his

 court appearances, his bizarre GoFundMe campaign, or a dispute over a fake affidavit.

 Mr. Rekieta was later banned from Twitter. His client was ordered to pay a quarter

 million dollars in anti-SLAPP fees. 8

          Despite being aware of these events, Mr. Bankston had refrained from

 responding to any of Rekieta’s routinely belligerent tweets about the case. However,

 Mr. Bankston was encouraged to tease Mr. Rekeita by none other than Jay Wolman,

 the Connecticut lawyer working with Randazza in these cases. Mr. Bankston

 responded to Mr. Wolman’s private message by sending him a tweet that Mr.

 Bankston had posted which farcically joked about the recent events in the Mignogna

 case:




 8   https://en.wikipedia.org/wiki/Vic_Mignogna#Sexual_harassment_allegations
                                                 9
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          Mr. Wolman also posted a public reply to Mr. Bankston concerning the absurd

 Mignogna litigation, stating, “I was wondering when you’d finally discover this lovely

 bit of bad Texas lawyering.” 9 In short, Mr. Wolman fully understood that Mr. Bankston


 9   https://twitter.com/wolmanj/status/1137117250564083720

                                             10
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 was not “threatening frivolous litigation” against Mr. Rekeita, but was instead

 mocking Mr. Rekeita’s own frivolous litigation by referencing the recent events in that

 case in a clowning tone. Defendants’ brief omits any of these facts or any mention of

 Mr. Wolman’s involvement with the tweet, and it dishonestly attempts to cast Mr.

 Bankston as a corrupt fraudster instead of a cheeky jester.

 III.   Defendants Falsely Implied Mr. Bankston is a White Supremacist.

        Defendants also cited “tweets to former United States Representative Steve

 King urging King to impregnate Bankston’s wife to ‘preserve the white race.’”

 Defendants implicitly floated the allegation that Mr. Bankston is a white supremacist.

 In truth, Defendants know that Mr. Bankston was snidely mocking Rep. King, a white

 nationalist demagogue who was stripped of his committee assignments for spewing

 a horrifying racist hoax known as “The Great Replacement Theory” or “White

 Genocide.” Rep. King tells his followers that the white race is under threat by non-

 white immigrants, who he considers barbarians at the gate. He encourages fellow

 white nationalists to have as many children as possible to combat this supposed

 “White Genocide.” Mr. Bankston’s farcical and mocking tweets were written from the

 perspective of a panicked infertile follower who had taken Rep. King’s warnings to

 the point of absurdity. The tweets are meant to embarrass and shame Rep. King’s

 hideous rhetoric, in which Rep. King claims, “A nation which expects its biological

 survival from immigrants won’t survive.” These satirical tweets were widely enjoyed

 and applauded for their ridicule of Rep. King.


                                           11
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          Once again, Mr. Wolman posted a public tweet on his account showing that he

 knew Mr. Bankston was mocking Rep. King for his racist views:




                                                                             10


          In addition, Mr. Wolman sent Mr. Bankston multiple unsolicited private

 messages about his gag tweets directed towards Rep. King’s racist rants. A year before

 these lawsuits were filed, Mr. Wolman sent Mr. Bankston the following messages

 recognizing the Steve King gag and its intent:




 10   https://twitter.com/wolmanj/status/964621575139004418
                                              12
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        Mr. Wolman also sent another unsolicited message to Mr. Bankston’s account

 in 2020 praising the 2017 tweets to Rep. King, while also praising mockery of Rep.

 King by investigative journalist Ken Klippenstein:



                                          13
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          In short, these tweets were adult comedy meant to mock a white nationalist

 leader on Mr. Bankston’s personal anonymous account, and Defendants’ counsel

 understood and praised the purpose of those tweets. Plaintiffs’ counsel expects that

 this Court and its staff, much like Mr. Bankston’s wife, will likely roll their eyes at Mr.

 Bankston’s ridiculous tweets to Rep. King. But Defendants have done Mr. Bankston an

 unjust disservice by floating the implication that Mr. Bankston is a white nationalist

 when they know the exact opposite is true.

 IV.      Defendants Distorted Tweets Expressing Moral Outrage over
          Celebrities Excusing the War Crimes of the Bush Administration.

          With no context, Defendants cited a single tweet taken from a viral thread Mr.

 Bankston wrote, which was a satirical and Swiftian re-wording of a statement 11 given


 11   https://twitter.com/TheEllenShow/status/1181395164499070976
                                              14
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 by Ellen DeGeneres after she was videotaped sitting with former president George W.

 Bush at a Cowboys game. In the thread, former Subway spokesperson and sexual

 predator Jared Fogle was substituted as the guest with Ms. DeGeneres:




                                         15
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          Mr. Bankston’s tweets 12 went viral after they were retweeted by several

 prominent political journalists and activists. The tweets explore the strange moral

 incongruity of excusing the horrific war crimes committed by the Bush presidency

 compared to other crimes. Defendants isolated a single tweet with any context that

 stated: “Because I am kind to everybody, and that’s true whether you brush your hair

 differently than me, or if you like pineapple on pizza, or if you rape children.”

          Mr. Bankston’s grim point was that many people would feel the same distaste

 at a celebrity being self-righteous about a friendship with Jared Fogle as they do about

 a friendship with George W. Bush, who caused the slaughter and starvation of nearly

 a million Iraqi civilians in an illegal war borne on the wings of a lie. Perhaps the

 metaphor is clumsy and controversial, but it struck a chord with many people for

 whom the greatest moral atrocity of their adult lives has been so thoroughly

 whitewashed. Once again, Mr. Randazza’s colleague Jay Wolman clearly understood

 the Swiftian nature of Mr. Bankston’s tweets about DeGeneres’ appearance with Bush

 at the Cowboys game, replying to Mr. Bankston, “We all know you’re a Browns fan.” 13

 V.       Defendants Misrepresent or Ignore the Context of Other Various Tweets.

          A.     Tweets to neo-Nazi organizer Tim Gionet.

          Defendants cite a tweet claiming that Mr. Bankston harassed “a third party”

 named “Mr. Alaska.” Defendants are referring to Tim Gionet, aka “Baked Alaska,” a




 12   https://twitter.com/RespectableLaw/status/1181467903155212288
 13   https://twitter.com/wolmanj/status/1181526701223956480
                                              16
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 white supremacist organizer of the 2017 “Unite the Right” neo-Nazi rally in

 Charlottesville which resulted in the murder of an anti-fascist activist. Mr. Gionet is

 widely reviled as an anti-Semitic conspiracy theorist and neo-Nazi leader. 14

 Defendants chastise Mr. Bankston’s use of the term “cuck” in ridiculing Mr. Gionet.

 “Cuck” was popularized in far-right political discourse in large part by Mr. Gionet,

 using the term to attack both liberals as well as conservatives who were viewed as

 insufficiently militant or racist. Again, Mr. Bankston felt no compunction to act polite

 towards this neo-Nazi terrorist on his personal anonymous account.

          B.     Tweet criticizing sexual assault by Kobe Bryant.

          Defendants also cited a tweet from Mr. Bankston stating, “There won’t be a

 massive monetary settlement for rape after we drink together if that’s what you’re

 getting at.” Defendants cut off the context of the reply, but Mr. Bankston’s tweet was

 actually a harsh condemnation of the rape committed by the late NBA star Kobe

 Bryant, the subject of the underling tweet.

          C.     Tweets examining the meaning of terms used by Brett Kavanaugh
                 in his confirmation hearings.

          Defendants also cited a tweet from Mr. Bankston discussing “anal sex,” but

 those series of tweets were an in-depth examination of the terms used by Supreme

 Court nominee Brett Kavanaugh, including phrases such as “got boofed” and “Devil’s

 Triangle.” 15 Mr. Bankston’s tweets examined the definition rankings on



 14   https://en.wikipedia.org/wiki/Baked_Alaska_(activist)
 15   https://twitter.com/RespectableLaw/status/1045936980872310784
                                              17
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 UrbanDictionary.com, a dictionary of colloquial and often raunchy phrases in pop

 culture. The premise of Mr. Bankston’s tweets was that Kavanaugh was not being

 honest about what those terms meant.

        D.     Tweet expressing bewilderment at the words used by a bizarre
               hologram of the late Bob Kardashian.

        Defendants also cite a Tweet regarding a hologram of Bob Kardashian created

 by Kanye West for Kim Kardashian’s birthday. Mr. Bankston’s tweet quotes the

 statements actually said by the bizarre hologram, noting that it was unbelievable that

 Mr. West made a hologram in which Bob Kardashian discusses “pussy farts.” The

 hologram was widely discussed in the media and on Twitter that day. Mr. Bankston

 believes it is fine to talk about how strange that hologram was on his personal

 anonymous account.

        E.     Tweet criticizing comments of Louis CK regarding gun control
               activism.

        Defendants also cited a tweet from Mr. Bankston mocking Louis CK’s criticism

 of gun control activism by the younger generation. As noted in press accounts on

 December 31, 2018, Louis CK made a “critique on the younger generation, saying that

 they should be busy ‘finger-fucking each other and doing Jell-O shots,’” instead of

 pursuing political activism. 16 Those comments became fodder for criticism across

 Twitter. Mr. Bankston retorted to Louis CK’s denigration of student activism with the




 16https://www.okayplayer.com/culture/what-did-sasheer-zamata-say-about-louis-c-k-parkland-
 joke.html
                                             18
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 tongue-in-cheek reply, “Really think it’s myopic of Louis CK to think youngsters can’t

 subvert dominant paradigms while also doing jello shots and finger banging.” This

 was hardly an original sentiment, as the exact same retort was being made across

 Twitter, including by the nation’s most prominent entertainers. SNL star Sasheer

 Zamata received wide accolades in the media for the same takedown of Louis CK’s

 comments, stating that Louis CK believes the younger generation “shouldn’t be

 spending their time talking to Congress about gun control. Instead they should be

 ‘finger-fucking’ each other. But who’s to say they’re not? They can do both!” 17 Zamata

 noted the younger generation seems to “know how to separate sex from work, which

 I understand is a hard concept for Louie to grasp.” 18 Similarly, comedian Patton

 Oswalt made a similar retort in a viral tweet, stating, “hate when i’m trying to finger-

 bang my gf and do jell-o shots and i get gunned down in the halls of my school fml.” 19

 Dark comedy to be sure, but these retorts are also filled with moral disdain for Louis

 CK’s cavalier dismissal of lethal gun violence and the younger generation’s desire not

 to be murdered in their schools.

        F.     Tweet regarding the Secret Service.

        Defendants cite a tweet in which Mr. Bankston wrote, “I have zero respect for

 the Secret Service. Fuck every single one of those guys. If you think there are good

 Secret Service agents, sorry, you are wrong.” After half a decade posting 14,000


 17 https://www.vulture.com/2019/01/louis-ck-leaked-standup-sasheer-zamata.html
 18 Id.
 19 https://twitter.com/pattonoswalt/status/1079819845816832000



                                             19
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 tweets, there are a bound to be a few regrets, and this is indeed one tweet that Mr.

 Bankston regrets in hindsight because of its strident and absolutist nature. Mr.

 Bankston does not subscribe to an “ACAB” philosophy, but he does have disdain for

 the culture inside the U.S. Secret Service, both due to professional experience and

 media disclosures. However, the tweet was not fair. Mr. Bankston was emotionally

 caught up in a horrendous summer involving widespread police violence and had

 recently read ugly revelations about the USSS. While it is certainly Mr. Bankston’s

 right to hold an opinion about the rot inside the USSS, it was imprudent to cast a net

 over the entire agency. It was a hasty overreaction which he does regret.

          G.     Tweet regarding attendees of Trump’s August 2020 White House
                 speech.

          Defendants cite a tweet Mr. Bankston posted in response to former White

 House Press Secretary Ari Fleischer about protestors confronting Trump donors,

 stating, “Because fuck them, that’s why.” As Mr. Bankston said in the same tweet,

 “There's a lot of sad rubes out there voting for Trump who I mostly pity, but I don't

 have an ounce of respect or sympathy for some well-heeled old couple attending

 Trump's White House speech.” 20 The White House speech was a donor event for VIPs.

 It is Mr. Bankston’s sincerely held belief that the aristocratic and influential drivers of

 Donald Trump’s campaign are deplorable people. Mr. Bankston’s abrasive tweet of

 “Because fuck them, that’s why,” is a quote of a punchline from a famous David




 20   https://twitter.com/RespectableLaw/status/1299466942181408770
                                              20
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 Chappelle routine, as shown in the replies featuring gifs of Chappelle delivering the

 punchline. 21 In the heat of 2020 campaign, after four years living under the “Fuck

 Your Feelings / Trump that Bitch!” regime, Mr. Bankston was admittedly coarse. But

 while Mr. Bankston is angered by far-right reactionary politics, he is able to keep

 those opinions out of the courtroom.

        In sum, the posts on Mr. Bankston’s personal anonymous Twitter account are

 irrelevant and collateral to the motion. Most of the posts have been thoroughly

 misrepresented, while others were merely made in an indecorous comic style. Yet

 many of the tweets have been so dishonestly portrayed, with actual knowledge of

 their falseness by Defendants’ counsel, that it implicates the duty of candor to the

 Court. Defendants’ attorneys have disregarded reality, their own statements, and any

 sense of propriety by falsely alleging that Mr. Bankston is a white supremacist anti-

 Semite who threatened a party with frivolous litigation.

 VI.    Defendants Falsely Claimed Mr. Bankston was Dishonest with the Court
        about the Merrell/Postle Confrontation.

        Addressing the abusive phone call with Mr. Postle and Ms. Merrell, Defendants

 falsely claim “it is interesting that Bankston does not inform the court of his own part

 in that non-event.” Defendants also continue to maintain that Ms. Merrell is a liar, and



 21See, e.g., https://twitter.com/BrydonBlack/status/1299468675225845760;
 https://twitter.com/von__matterhorn/status/1299621864889778176;
 https://twitter.com/GangofH/status/1299520575845605376;
 https://twitter.com/ICrushAlot21/status/1299486284042379266



                                             21
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 falsely state that “it is interesting that Bankston does not address what the lie is.”

 These attacks on Mr. Bankston’s honesty are truly bizarre considering that page 25-

 26 of Plaintiffs’ brief discusses Mr. Bankston’s role in those events at length. The brief

 also addresses what Mr. Randazza characterizes as Ms. Merrell’s “lie,” thoroughly

 explaining that Mr. Bankston did in fact deny to Mr. Randazza any interest in

 representing Postle because Ms. Merrell had never mentioned Postle’s name. Mr.

 Bankston explained how Ms. Merrell was not lying about contacting him about the

 poker case, and the Plaintiffs’ brief showed how “Mr. Randazza profanely berated Ms.

 Merrell over a simple misunderstanding.” (Pltf Brief, p. 26). Yet Mr. Randazza is still

 calling Ms. Merrell a liar over this misunderstanding, even though it was clearly

 explained in both Plaintiffs’ brief and in an email sent to Mr. Randazza on March 24,

 2021, in which Plaintiffs’ counsel likewise explained the misunderstanding. 22

           Ultimately, Mr. Randazza would have this Court believe he is innocent across

 the board while concluding that Mr. Bankston is a liar, Mr. Postle is a liar, Ms. Merrell

 is a liar, Florida attorney Paul Berger is a liar, and the distinguished arbitrator

 Stephen Haberfeld “should not be trusted,” calling him “a biased and disgruntled

 arbitrator shouting into the wind” who was “pursuing his own interest.”




 22   Exhibit 1, March 24, 2021 email to Marc Randazza.
                                                   22
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 VII.       Defendants Falsely Claimed Plaintiffs’ Counsel Lied to the Court about
            James Grady.

            Defendants also tell this Court that “it is obvious [Plaintiffs’ counsel] are lying”

 about Mr. Randazza’s interactions with James Grady, the person who provided him

 confidential data from his adversary. But Plaintiffs’ counsel merely provided the

 actual emails showing the communications between Grady and Randazza. It is frankly

 shocking that Defendants would claim there was nothing to “suggest there was

 anything improper in how [the documents] were obtained” given Mr. Grady’s coy

 remarks about the information not being obtained in the normal course of business

 and the obvious workshopping on what to say to a judge. Even now, Mr. Randazza

 seems to believe it would be proper for him to obtain confidential information from

 an adversary that was stolen by a “disgruntled [corporate] employee” or a “jilted

 lover.” 23 It is absolutely not permissible to do so, which should give this Court grave

 concern about what else Mr. Randazza believes is proper.

 VIII. Defendants Falsely Claimed Plaintiffs’ Counsel Relied on Statements from
       Don Juravin.

            Defendants also falsely tell this Court that “Plaintiffs rely on statements from

 Don Juravin.” (Def. Reply, p. 12). There is no evidence or statements from Don Juravin

 relied on by Plaintiffs in their brief. Plaintiffs’ counsel have never spoken to Don

 Juravin, never cited or obtained any evidence from him, and they are in no position to

 address Mr. Randazza’s attacks on his character. Instead, Plaintiffs relied on


 23   Plaintiffs’ Opposition Brief, p. 16.
                                                 23
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 testimony from Florida attorney Paul Berger, a reputable litigator in good standing.

 Plaintiffs’ counsel spoke with Mr. Berger before submitting his testimony and found

 him entirely credible. Plaintiffs’ counsel would not have offered his testimony if they

 had any reason to suspect he might not be truthful. Indeed, Mr. Berger has nothing to

 gain, but potentially much to lose if Mr. Randazza were to seek reprisal, as he

 threatened to do with Mr. Postle.

                                     CONCLUSION

        Despite currently remaining in contempt of numerous discovery orders and

 failing to provide any discovery responses since remand two months ago on June 4th,

 and despite not responding to any of the pending sanctions motions about to be taken

 up by the Court, Defendants’ counsel found the time to draft a lengthy brief in support

 of Mr. Randazza while also conducting research into a personal anonymous Twitter

 account belonging to one of the Plaintiffs’ attorneys, and they did it in less than seven

 days. Defendants have worked harder to dishonestly smear their opposing counsel

 than they have doing anything else in this case since remand (which is effectively

 zero). Most importantly, their dishonest attacks on Mr. Bankston have violated their

 duty of candor.

                                          Respectfully submitted,

                                          KASTER LYNCH FARRAR & BALL, LLP


                                          ____________________________________
                                          MARK D. BANKSTON
                                          State Bar No. 24071066

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                                       WILLIAM R. OGDEN
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                                       713.221.8301 Fax




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                            CERTIFICATE OF SERVICE

        I hereby certify that on August 2, 2021 the forgoing document was served upon
 all counsel of record via electronic service.




                                       ____________________________________
                                       MARK D. BANKSTON




                                         26
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                            Exhibit 1
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   From:               Mark Bankston
   To:                 Marc Randazza
   Subject:            Postle confusion
   Date:               Wednesday, March 24, 2021 6:01:00 PM


  I need to circle back on your question about this Mike Postle poker case. I can confirm for you again
  that I am not involved in that case and not representing Mr. Postle. But at the time of your call, I
  didn’t know the guy’s name, and the woman you referred to has a similar name as a woman who
  approached me about a case a few months ago that I rejected. So I thought you were talking about
  another client entirely.

  But about a week or two before you called me, Alexandrea Merrill called me and asked me if I would
  be interested in talking to a poker player accused of cheating. She laid out some basic facts, but she
  didn’t tell me the guy’s name. I didn’t even know a suit had already been filed. I had some casual
  interest in the facts, but I wanted to do some legal research on it. I can tell you now that I declined
  any representation, but at the time you spoke to Ms. Merrill, she believed I had interest in the case
  and might take on Postle as a client. I won’t be doing that, but that’s the source of the confusion.

  FYI, I should also let you know that Ms. Merrill is pretty bothered at the way you talked to her and
  Mr. Postle. I’m sure you had your reasons to be upset with her, but she isn’t the kind of person who
  is used to being berated. And she is close to one of my clients, so obviously that can makes things
  difficult.

  Also, while we’re on the subject of language, Bill asked that I address with you the anal date rape
  metaphor you used in one of your first letters to us. As far it goes, I personally have a dark and even
  profane sense of humor, but even I’m not into date rape metaphors. But I have to remind you that
  you don’t know Bill at all. He is a Boy Scout. He is not ok with that sort of thing. That’s something you
  need to be aware of.

  Mark Bankston
  Farrar & Ball, LLP
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 55927029
Status as of 8/3/2021 1:56 PM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted     Status

Mark D.Bankston                 mark@fbtrial.com   8/2/2021 4:16:26 PM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted    Status

Marc Randazza                  ecf@randazza.com     8/2/2021 4:16:26 PM   SENT

William Ogden                  bill@fbtrial.com     8/2/2021 4:16:26 PM   SENT

Bradley Reeves                 brad@brtx.law        8/2/2021 4:16:26 PM   SENT

Carmen Scott                   carmen@fbtrial.com 8/2/2021 4:16:26 PM     SENT
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     NEIL HESLIN                                    §                    IN DISTRICT COURT OF
       Plaintiff                                    §
                                                    §
     VS.                                            §                   TRAVIS COUNTY, TEXAS
                                                    §
     ALEX E. JONES, INFOWARS, LLC,                  §
     and FREE SPEECH SYSTEMS, LLC,                  §                     459th DISTRICT COURT
        Defendants                                  §


           NEIL HESLIN’S 2nd SUPPLEMENTAL BRIEF ON DEFAULT SANCTIONS
                 CONCERNING AUGUST 6, 2021 ORDERS IN LAFFERTY


           Plaintiff files this brief solely to inform the Court of two sanctions orders issued by

 Lafferty court on August 6, 2021. The first order describes a “frightening” course of conduct

 by InfoWars’ attorneys in disclosing confidential deposition testimony:

                 Free Speech Systems LLC, Infowars LLC, Infowars Health LLC, and
                 Prison Planet TV LLC (Infowars), filed a motion to depose Hillary
                 Clinton, using deposition testimony that had just been designated as
                 “Confidential-Attorneys Eyes Only,” and completely disregarding
                 the court ordered procedures…In short, Infowars, having advocated
                 for a court ordered protective order, filing no less than three
                 versions, having recited in writing the good cause bases for the
                 issuance of the protective order, and having no objection to the
                 plaintiffs’ proposed modification, now takes the absurd position that
                 the court ordered protective order circumvents the good cause
                 requirements of Practice Book 13-5, did not need to be complied
                 with, and should not be enforced by the court. This argument is
                 frightening. Given the cavalier actions and willful misconduct of
                 Infowars in filing protected deposition information during the actual
                 deposition, this court has grave concerns that their actions, in the
                 future, will have a chilling effect on the testimony of witnesses who
                 would be rightfully concerned that their confidential information,
                 including their psychiatric and medical histories, would be made
                 available to the public. The court will address sanctions at a future
                 hearing. 1


 1   Exhibit 1, August 6, 2021 Order in Lafferty concerning Clinton deposition (emphasis added).


                                                    1
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 55
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        On the same day, the Lafferty court issued a separate sanctions order regarding

 Defendants’ continuing refusal to comply with discovery. That order stated in relevant part:

              There is no excuse for the defendants’ disregard of not only their
              discovery obligations, but the two court orders. The court finds that
              the failure to comply with the production request has prejudiced the
              plaintiffs their ability to both prosecute their claims and conduct
              further depositions in a meaningful manner. 2

        The plaintiffs in Lafferty have requested default sanctions, noting that in 2019, Judge

 Bellis warned that “if there is continued obfuscation and delay and tactics like I’ve seen up

 to this point, I will not hesitate after a hearing and an opportunity to be heard to default the

 Alex Jones defendants if they from this point forward continue with their behavior with

 respect to discovery.” 3 The Lafferty court’s next hearing is August 24, 2021, one week after

 this Court’s hearing on default sanctions.

                                               Respectfully submitted,
                                               KASTER LYNCH FARRAR & BALL, LLP


                                               ____________________________________
                                               MARK D. BANKSTON
                                               State Bar No. 24071066
                                               WILLIAM R. OGDEN
                                               State Bar No. 24073531
                                               1117 Herkimer
                                               Houston, TX 77008
                                               713.221.8300 Telephone
                                               713.221.8301 Fax




 2 Exhibit 2, August 6, 2021 Order in Lafferty concerning discovery abuse.
 3 See Heslin Supplemental Brief in Support of Default Sanctions, Exhibit 6, June 18, 2019 Transcript
 in Lafferty v Jones, p. 9.


                                                  2
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 56
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 9, 2021 the forgoing brief was served upon all counsel
 of record via electronic service.




                                           ____________________________________
                                           MARK D. BANKSTON




                                              3
 22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 57
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                                                                                          ORDER       421277
DOCKET NO: UWYCV186046436S                                  SUPERIOR COURT

LAFFERTY, ERICA Et Al                                       JUDICIAL DISTRICT OF WATERBURY
  V.                                                          AT WATERBURY
JONES, ALEX EMRIC Et Al
                                                            8/5/2021



                                                  ORDER


ORDER REGARDING:
07/06/2021 394.00 MOTION FOR ORDER

The foregoing, having been considered by the Court, is hereby:

ORDER:

By written stipulation, and unless the court orders otherwise, parties can agree to modify discovery
procedures. See Connecticut Practice Book Section 13-32. In these consolidated cases, the defendants
Alex Jones, Free Speech Systems, LLC, Infowars, LLC, Infowars Health, LLC, and Prison Planet TV,
LLC (“the Jones defendants”) did just that. Additionally, they took their agreement with the plaintiffs a
step further and asked the court to issue a protective order pursuant to Practice Book Section 13-5 and
approve their joint discovery stipulation. The Jones defendants filed no less than three versions of a
proposed protective order for the court’s approval, see entry numbers 177,181,183, and 185, asserting
that they were asking for the same discovery protection that would have been in place in federal court
had the cases not been remanded back to state court. They indicated, correctly, that discovery materials
are not filed with the court and as such are not ordinarily available to the public. The court ultimately
approved the stipulation of the parties, which complied with all relevant requirements of the Connecticut
Practice Book and which, inter alia, set forth the procedure by which sensitive confidential information
obtained through pretrial discovery would be handled and, if necessary, filed with the court. The order
provided that of all or part of a deposition transcript could be designated as confidential by counsel for
the deponent or designated party, by requesting such treatment on the record at the deposition or in
writing no later than thirty days after the date of the deposition. It set forth simple procedures by which
the designation of “confidential” could be subsequently challenged, and how confidential information
could be filed with the court. Importantly for the purposes of this motion, the protective order clearly
prohibited discovery information designated as confidential from being filed with the court until such
time that the court had ruled on the designating party’s motion under Practice Book Section 11-20A.
The Jones defendants did not oppose the plaintiffs’ June 8,2021 motion to modify the protective order,
which recited a good cause basis for the modification and which added a “Confidential- Attorneys Eyes
Only” designation to the above mentioned procedures. Based upon the written motions filed by the
plaintiffs and the Jones defendants, the court, in entering the protective orders, found good cause for
both the issuance of the original protective order and its modification. In support of the motion for
protective order, the Jones defendants identified their privacy interests in sensitive proprietary
information including proprietary business, financial, and competitive information that they maintain as
trade secrets, proprietary business and marketing plans, marketing data, web analytics, sales analytics,
and/or other web traffic data, and marketing data or analytics. They referred to the “unique” business
model that makes them competitive and successful. The plaintiffs, in support of the modification to the
protective order, identified their privacy interests in their medical histories, psychiatric records,and
private social media accounts. In the midst of taking the first deposition of a plaintiff, the defendants
Free Speech Systems LLC, Infowars LLC, Infowars Health LLC, and Prison Planet TV LLC
(Infowars),filed a motion to depose Hillary Clinton, using deposition testimony that had just been
designated as “Confidential-Attorneys Eyes Only,” and completely disregarding the court ordered
procedures. At no point prior to filing the Clinton motion did Infowars profess ignorance of the
procedures they had proposed and which were court ordered to be followed, nor have they since taken
UWYCV186046436S 8/5/2021                                                                           Page 1 of 2
 22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 58
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any steps to correct their improper filing. If Infowars was of the opinion that the plaintiffs’ designation
was unreasonable and not made in good faith, the solution was to follow the court ordered procedure to
challenge the designation, not to blatantly disregard it and make the confidential information available
on the internet by filing it in the court file. The court rejects Infowars’ baseless argument that there was
no good cause to issue the protective orders, where both sides recited, in writing, detailed justification
for a good cause basis. In short, Infowars, having advocated for a court ordered protective order, filing
no less than three versions, having recited in writing the good cause bases for the issuance of the
protective order, and having no objection to the plaintiffs’ proposed modification, now takes the absurd
position that the court ordered protective order circumvents the good cause requirements of Practice
Book 13-5, did not need to be complied with, and should not be enforced by the court. This argument is
frightening. Given the cavalier actions and willful misconduct of Infowars in filing protected deposition
information during the actual deposition, this court has grave concerns that their actions, in the future,
will have a chilling effect on the testimony of witnesses who would be rightfully concerned that their
confidential information, including their psychiatric and medical histories, would be made available to
the public. The court will address sanctions at a future hearing.

Judicial Notice (JDNO) was sent regarding this order.

                                                              421277

                                                              Judge: BARBARA N BELLIS
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court E-Services
Procedures and Technical Standards (https://jud.ct.gov/external/super/E-Services/e-standards.pdf), section 51-193c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




UWYCV186046436S              8/5/2021                                                                          Page 2 of 2
 22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 59
                                       of 336

                                                                                         ORDER      421277
DOCKET NO: UWYCV186046436S                                 SUPERIOR COURT

LAFFERTY, ERICA Et Al                                      JUDICIAL DISTRICT OF WATERBURY
  V.                                                         AT WATERBURY
JONES, ALEX EMRIC Et Al
                                                           8/6/2021



                                                 ORDER


ORDER REGARDING:
07/27/2021 428.00 MOTION FOR ORDER

The foregoing, having been considered by the Court, is hereby:

ORDER:

On November 6,2020, the defendants Alex Jones, Infowars LLC, Free Speech Systems LLC,, Infowars
Health LLC and Prison Planet TV LLC (the defendants) filed a motion for protective order, objecting to
the notice of videotaped deposition of Melinda Flores, the current manager of accounting at Free Speech
System LLC (FSS) and objecting to each of the production requests served along with the notice of
deposition. Production Request #7 asked for “(a)ny and all subsidiary ledgers for each account listed in
the Trial balances produced in response to Request No. 6 above.” The objection to Production Request
#7 stated as follows: “This request is overbroad, irrelevant, and disproportionate to the needs of the case.
This request is unrelated to any claim or defense raised in the action or the elements thereof. The trial
balances of FSS will not lead to the discovery of admissible evidence and are not themselves admissible
for any purpose. It is unduly burdensome as it requires digging through eight years of accounting. This
request serves only to invade the privacy of the deponent and is harassing and oppressive to the
deponent.” The defendants did not raise any objection that the request itself, or the term subsidiary
ledgers, was in any way confusing or unclear, which is a typical basis for a discovery objection. The
court overruled the objection on April 29,2021. On May 6, 2021, the court ordered the deposition of
Flores to take place by June 4, 2021 and ordered the documents to be produced by the close of business
on May 14,2021.The court stated in writing that failure to comply with the order may result in sanctions.
The subsidiary ledger information also referred to as account detail was easily accessible to Flores, by
clicking on each general account. Despite the court orders,and although the information exists, is
maintained by FSS, and could have been produced by Flores as was required by the court orders, the
documents were not produced. The court rejects the statement of the accountant retained by FSS that
FSS does not “maintain or utilize” subsidiary ledgers as not credible in light of the circumstances. There
is no excuse for the defendants’ disregard of not only their discovery obligations, but the two court
orders. The court finds that the failure to comply with the production request has prejudiced the
plaintiffs their ability to both prosecute their claims and conduct further depositions in a meaningful
manner.

Judicial Notice (JDNO) was sent regarding this order.




UWYCV186046436S          8/6/2021                                                               Page 1 of 2
  22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 60
                                        of 336
                         Automated Certificate of eService
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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 56103006
Status as of 8/9/2021 11:24 AM CST

Associated Case Party: NeilHeslin

Name                 BarNumber    Email              TimestampSubmitted     Status

Mark D.Bankston                   mark@fbtrial.com   8/9/2021 8:27:32 AM    SENT



Associated Case Party: Free Speech, LLC

Name                 BarNumber    Email                       TimestampSubmitted     Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/9/2021 8:27:32 AM     SENT



Case Contacts

Name                BarNumber    Email                TimestampSubmitted    Status

Marc Randazza                    ecf@randazza.com     8/9/2021 8:27:32 AM   SENT

William Ogden                    bill@fbtrial.com     8/9/2021 8:27:32 AM   SENT

Bradley Reeves                   brad@brtx.law        8/9/2021 8:27:32 AM   SENT

Carmen Scott                     carmen@fbtrial.com 8/9/2021 8:27:32 AM     SENT
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 61
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                                                                                 Travis County
                                   D-1-GN-18-001835                           D-1-GN-18-001835
                                                                               Nancy Rodriguez

                                      §
   NEIL HESLIN,                                 IN DISTRICT COURT OF
                                      §
        Plaintiff,                    §
   VS.                                §         TRAVIS COUNTY, TEXAS
                                      §
   ALEX E. JONES, INFOWARS, LLC, FREE §
   SPEECH SYSTEMS, LLC, and           §         459th DISTRICT COURT
   OWEN SHROYER,                      §
        Defendants.                   §
                                      §

                                   D-1-GN-18-001842

   LEONARD POZNER, and                     §
                                                IN DISTRICT COURT OF
   VERONIQUE DE LA ROSA,                   §
                                           §
         Plaintiffs,                       §    TRAVIS COUNTY, TEXAS
   VS.                                     §
                                           §
   ALEX E. JONES, INFOWARS, LLC,           §    459th DISTRICT COURT
   and FREE SPEECH SYSTEMS, LLC,           §
         Defendants.                       §


                                   D-1-GN-18-006623

   SCARLETT LEWIS,                         §     IN DISTRICT COURT OF
                                           §
         Plaintiff,                        §
   VS.                                     §     TRAVIS COUNTY, TEXAS
                                           §
   ALEX E. JONES, INFOWARS, LLC,           §
   and FREE SPEECH SYSTEMS, LLC,           §     459th DISTRICT COURT
         Defendants.                       §
                                           §



                       SUPPLEMENT TO MOTION FOR PRO HAC VICE
                           ADMISSION OF MARC J. RANDAZZA
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 62
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        Defendants hereby supplement the Motion for Pro Hac Vice Admission of Marc J.

 Randazza, as Mr. Randazza has a continuing duty to update the Court on material elements of his

 application.

        Regarding Mr. Randazza’s list of admissions previously provided to the Court, Mr.

 Randazza hereby provides the following updated information:

        1.      On August 3, 2021, Mr. Randazza was admitted Pro Hac Vice in the United States

 District Court for the Southern District of New York in Maud Maron v. The Legal Aid Society and

 Association of Legal Aid Attorneys, Case No. 1:21-cv-05960 (S.D.N.Y).

        2.      On August 5, 2021, Mr. Randazza was approved for admission to practice before

 the Bar of the United States District Court for the District of Columbia. His official admission is

 scheduled for September 13, 2021.

        3.      On August 12, 2021, Mr. Randazza was admitted Pro Hac Vice in the United States

 District Court for the Southern District of New York in Cheng v. Guo, Case No. 1:20-cv-05678

 (S.D.N.Y.).


        Dated August 17, 2021.                Respectfully submitted,
                                              REEVES LAW, PLLC
                                              /s/ Bradley J. Reeves
                                              Bradley J. Reeves
                                              State Bar No. 24068266
                                              702 Rio Grande Street, Suite 203
                                              Austin, Texas 78701
                                              Tel: (512) 827-2246
                                              Fax: (512) 318-2484
                                              Email: brad@brtx.law
                                              Marc J. Randazza (pro hac vice pending)
                                              RANDAZZA LEGAL GROUP, PLLC
                                              2764 Lake Sahara Drive, Suite 109
                                              Las Vegas, Nevada 89117
                                              Tel: (702) 420-2001
                                              Fax: (702) 297-6584
                                              Email: ecf@randazza.com
                                              ATTORNEYS FOR DEFENDANTS



                                               -2-
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 63
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on August 17, 2021, the forgoing document was served upon all counsel

 of record via electronic service.


                                                                 /s/ Bradley J. Reeves
                                                                 Bradley J. Reeves




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  22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 64
                                        of 336
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certificate of service that complies with all applicable rules.

Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56404794
Status as of 8/19/2021 4:53 PM CST

Associated Case Party: NeilHeslin

Name                BarNumber   Email                TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com     8/17/2021 11:32:44 PM   SENT



Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted      Status

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov    8/17/2021 11:32:44 PM   SENT

Velva Lasha Price    16315950     velva.price@traviscountytx.gov     8/17/2021 11:32:44 PM   SENT

William Ogden                     bill@fbtrial.com                   8/17/2021 11:32:44 PM   SENT

Bradley Reeves                    brad@brtx.law                      8/17/2021 11:32:44 PM   SENT

Marc Randazza                     ecf@randazza.com                   8/17/2021 11:32:44 PM   SENT

Carmen Scott                      carmen@fbtrial.com                 8/17/2021 11:32:44 PM   SENT
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 65
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                                                                                 Travis County
                                                                              D-1-GN-18-001835
                                                                             Victoria Benavides
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 66
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22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 67
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22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 68
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22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 69
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22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 70
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                                                                              D-1-GN-18-001835
                               D-1-GN-18-001835                                  Chloe Jimenez

  NEIL HESLIN                             §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §                459th DISTRICT COURT
  OWEN SHROYER,                           §
    Defendants                            §

                               D-1-GN-18-001842
  LEONARD POZNER AND                      §                IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                    §
    Plaintiffs                            §
                                          §               TRAVIS COUNTY, TEXAS
  VS.                                     §
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §                459th DISTRICT COURT
  AND FREE SPEECH SYSTEMS, LLC,           §
    Defendants                            §

                               D-1-GN-18-006623
  SCARLETT LEWIS                          §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  AND FREE SPEECH SYSTEMS, LLC,           §                459th DISTRICT COURT
    Defendants                            §


         PLAINTIFFS’ RESPONSE TO DEFENDANTS’ SUPPLEMENT TO
                 MOTION FOR PRO HAC VICE ADMISSION
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 71
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           Defendants have filed a supplement which discusses Mr. Randazza’s pro hac

 vice admissions this month in Maron v. The Legal Aid Society and Cheng v. Guo, both

 pending before Judge Katherine Failla of the Southern District of New York. Plaintiffs

 would not normally respond concerning these unopposed applications 1 except that

 Mr. Randazza’s statements in those applications are worrying.

           Mr. Randazza’s affidavits to Judge Failla were not forthright. Mr. Randazza

 submitted identical affidavits in both cases which stated:

                   Applicant has never been disbarred or denied admission or
                   readmission by any court, except that Applicant was denied
                   admission pro hac vice in the Connecticut Superior Court
                   while disciplinary proceedings related to the matters
                   described below were pending. 2

           This representation is misleading, as it fails to disclose that Mr. Randazza was

 twice denied admission pro hac vice in the Connecticut Superior Court in separate

 applications over a year apart under different circumstances. As Mr. Randazza had

 argued in his second application to the Lafferty court in 2020, he had “fully

 cooperated with every jurisdiction,” and “[h]aving successfully completed [his]

 Nevada discipline, it should no longer stand as a barrier to admission.” 3 Mr. Randazza

 emphasized the changed circumstances, noting that every “agency to issue a



 1 Apart from Mr. Randazza’s statements discussed herein, the admissions are not informative to this
 Court’s decision. In both cases, Mr. Randazza made unopposed applications which were granted the
 following day. “Although discretion in the matter of pro hac vice admission is formally vested in the
 trial judge, in practice admission becomes an issue primarily because the opposing party makes it
 one.” GDMULTILIT § 4:6, Denial of pro hac vice admission.

 2   Exhibit 1, Randazza’s Affidavit seeking admission in Cheng v. Guo, p. 2.
 3   Exhibit 2, Randazza’s Second Affidavit seeking admission in Lafferty v. Jones, p. 1-2.
                                                       1
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 72
                                      of 336



 determination in response to the Nevada state discipline has either declined to take

 action, stayed all proceedings, or issued a stayed suspension or probation, or has

 readmitted [him].” 4 Yet the Lafferty court also denied the second application, noting

 that “[i]n light of the applicant’s recent, serious disciplinary history, the court, even

 having considered the current circumstances as set forth in the new application and

 affidavits, declines to extend the privilege of pro hac admission to Attorney

 Randazza.” 5

        Not only did Mr. Randazza fail to disclose that he has been denied pro hac vice

 admission in Connecticut twice, but he failed to even identify the case in any way for

 the court. Without even knowing the case where his admission was denied, the court

 could not assess that denial, nor learn that there were actually two denials and an

 ongoing controversy. Mr. Randazza’s affidavits to Judge Failla were, at best,

 misleading and evasive.

                                               Respectfully submitted,

                                               KASTER LYNCH FARRAR & BALL, LLP


                                               ____________________________________
                                               MARK D. BANKSTON
                                               State Bar No. 24071066
                                               WILLIAM R. OGDEN
                                               State Bar No. 24073531
                                               1117 Herkimer
                                               Houston, Texas 77008

 4Id., p. 1
 5See Plaintiffs’ Response to Motion for Pro Hac Vice Admission, Exhibit 2, July 7, 2020 Order Denying
 Pro Hac Vice in Lafferty v. Jones.
                                                  2
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 73
                                      of 336



                                       713.221.8300 Telephone
                                       713.221.8301 Fax



                            CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2021 the forgoing document was served
 upon all counsel of record via electronic service.




                                       ____________________________________
                                       MARK D. BANKSTON




                                          3
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 74
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                            Exhibit 1
22-01023-tmd
        Case 1:20-cv-05678-KPF
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                                                                          88 Pg 75
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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

  ----------------------------------------------------------x
   LOGAN CHENG f/k/a Shuiyan Cheng, an
   individual,                                                      Case No. 1:20-cv-05678-KPF

                                             Plaintiff,
                                                                    ATTACHMENT TO MOTION
                        -against-                                   FOR ADMISSION PRO HAC
                                                                    VICE OF MARC J. RANDAZZA
    WEN GUI GUO, an individual

                                             Defendant.
  ---------------------------------------------------x

  I, Marc J. Randazza ("Applicant"), hereby state and depose as follows:

            Applicant is licensed in the following jurisdictions, including federal courts and is an active

  member in good standing in each of those jurisdictions as follows: SEE ATTACHED LIST,

   Exhibit 1.

            Applicant has never been convicted of a felony.

            Applicant is a resident of the State of Nevada and maintains an office address at:
                   RANDAZZA LEGALGROUP,PLLC
                   2764 Lake Sahara Drive, Suite 109
                   Las Vegas, Nevada 89117
            Applicant earned his J.D. in 2000 from Georgetown University Law Center, a Master of
   Arts in Mass Communications (MAMC) in 2003 from the University of Florida, and an LL.M. in

   International Intellectual Property Law in 2014 from Universita di Torino Facolta di

   Giurisprudenza. Applicant is the managing member of Randazza Legal Group and his primary

   practice areas are in First Amendment litigation, trademark and copyright matters, and

   employment disputes.

            Applicant has read and is familiar with:

            (A) the provisions of the Judicial Code (Title 28, U.S.C.) which pertain to the jurisdiction

                  of, and practice in, the United States District Courts;
             (B) the Federal Rules of Civil Procedure;

                                                                - 1-
                                         Attachment to Motion for Admission Pro Hae Vice
                                                  Case No. 1:20-cv-05678-KPF
22-01023-tmd
        Case 1:20-cv-05678-KPF
             Doc#1-13 Filed 04/18/22
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                                                                Page 2Bofcontd.
                                                                          88 Pg 76
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          (C) the Federal Rules of Criminal Procedure;

          (D) the Federal Rules of Evidence;

          (E) the Local Rules of the United States District Courts for the Southern and Eastern

               Districts of New York; and

          (F) the New York State Rules of Professional Conduct as adopted from time to time by

               the Appellate Divisions of the State of New York.

          Applicant will faithfully adhere to all rules applicable to applicant's conduct in connection

  with any activities in this Court.

          Applicant has never been disbarred or denied admission or readmission by any court,

   except that Applicant was denied admission pro hac vice in the Connecticut Superior Court while

   disciplinary proceedings related to the matters described below were pending. Applicant has been

   censured and/or suspended by the Bar or courts of certain jurisdictions in which Applicant is

   licensed, and Applicant describes such actions as follows:

          Applicant was disciplined by one jurisdiction (Nevada) and then subject to reciprocal

   discipline for conduct of nearly nine years ago. The last jurisdiction to enter reciprocal discipline

   was Florida, which instead of merely adopting the underlying Nevada stipulated discipline,

   engaged in its own full fact finding and issued a full independent opinion after a bench trial. The

   Florida Referee's decision is attached as Exhibit 2. The factfinder determined that Applicant did

   not do anything "actually adverse" to his clients. See id. at 6. And there were no "factors in

   aggravation warranting any discipline in excess of that imposed by Nevada." Id. at 8.

          In 2018, Applicant was disciplined by the Supreme Court of Nevada for conduct that

   occurred in 2012. See Exhibit 3, In re Marc J Randazza, Bar No. 12265, No. 76543 (Nev. Oct.

   10, 2018) (Order Approving Conditional Guilty Plea) and Exhibit 4 (Conditional Guilty Plea).

   The stipulated and implemented discipline was a twelve-month suspension, stayed for eighteen

   months, with certain other conditions. See Exhibits 3 & 4.




                                                      -2-
                               Attachment to Motion for Admission Pro Hae Vice
                                        Case No. 1:20-cv-05678-KPF
22-01023-tmd
        Case 1:20-cv-05678-KPF
             Doc#1-13 Filed 04/18/22
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          The Nevada discipline arose from a negotiated agreement between Applicant and the

   Southern Nevada Disciplinary Board. The stipulated facts forming the basis of the discipline are

   as set forth in the enclosed Conditional Guilty Plea.

          As set forth in the Conditional Guilty Plea, the discipline arose from a specific

  circumstance where Applicant represented a company as in-house counsel, along with its sister

   entity. Those circumstances will not repeat themselves as Applicant is not in-house counsel for

   any clients and Applicant now recognizes where he misunderstood his ethical obligations.

          Applicant fully complied with the State of Nevada discipline and completed his Nevada

  probation. See Exhibit 5, Letter from State Bar of Nevada.

          Reciprocal discipline in the nature of a probation or stayed suspension was imposed by the

   State of Arizona, the State of Florida, the Commonwealth of Massachusetts, and the State of

   California. See Exhibits 6, 2, 7 and 8. Applicant fully completed the terms of discipline in

   Arizona, California, and Massachusetts and no suspensions were imposed. See Exhibits 9 & 10.

   Among its requirements, California required Applicant to retake the MPRE, wherein he scored a

   119. See Exhibit 11.

          Reciprocal discipline of probation or a stayed suspension was imposed by the U.S. District

   Courts for the District of Massachusetts and for the Southern District of Florida (which probation

   expired before the discipline issued), and by the U.S. Patent & Trademark Office. See Exhibits
   12, 13, and 14. The District of Massachusetts terminated proceedings on June 23, 2020, without

   imposing a suspension. See Exhibit 15. The discipline imposed by the PTO expired on January

   23, 2021.

          Reciprocal discipline in the nature of a brief active suspension was imposed by the U.S.

   District Court for the District of Nevada, which expired on April 10, 2020. See Exhibit 16.

   Applicant was reinstated on June 9, 2020. See Exhibit 17.

          The U.S. Court of Appeals for the Federal Circuit stayed all proceedings pending the

   completion of the Nevada discipline and terminated proceedings on May 28, 2020 without
   imposing discipline. See Exhibit 18.
                                                      -3-
                               Attachment to Motion for Admission Pro Hae Vice
                                        Case No. 1 :20-cv-05678-KPF
22-01023-tmd
        Case 1:20-cv-05678-KPF
             Doc#1-13 Filed 04/18/22
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             Every other state court, Federal court, or Federal agency to issue a determination in
  response to the Nevada state discipline has either declined to take action, stayed all proceedings,

  or issued a stayed suspension or probation, or has readmitted Applicant.

             Applicant is aware of no other matters in which he has been sanctioned or disciplined.




             Dated: August /{) , 2021




   Sate of   Harn~                    'County of_~-------
                         wom to before me on this /~          day of August, 2021




   Notary Public
   My commission expires:H~            cl1;~~'7




                                                       -4-
                                 Attachment to Motion for Admission Pro Hae Vice
                                          Case No. 1:20-cv-05678-KPF
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 79
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                              Exhibit 2
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  DOCKET NO: UWY-CV18-6046436-S                             SUPERIOR COURT

  ERICA LAFFERTY, ET AL.,                                  COMPLEX LITIGATION DOCKET

       vs.                                                 AT WATERBURY

  ALEX EMRIC JONES, ET AL.



                     SUPPLEMENTAL AFFIDAVIT OF ATTORNEY
                  SEEKING PERMISSION TO APPEAR PRO HAC VICE
 I, Marc John Randazza, duly sworn, do depose and say:

 1.     On October 10, 2018, I was disciplined by the Supreme Court of Nevada for conduct that
        occurred in 2012. See Exhibit 1; In re MarcJ Randazza, Bar No. 12265, No. 76543 (Nev.
        Oct. 10, 2018) (Order Approving Conditional Guilty Plea) and Exhibit 2 (Conditional
        Guilty Plea). The stipulated and implemented discipline was a twelve-month suspension,
        stayed for eighteen months, with certain other conditions. See Exhibits 1 & 2.
 2.     On January 22, 2019, I previously sought to appear pro hac vice in this matter. (Doc. No.
        154.00). The Superior Court denied that application on January 30, 2019, stating, in
        relevant part, "Permission to appear pro hac vice is a privilege, not a right. In light of the
        applicant's recent disciplinary history, the court declines to extend the privilege of pro hac
        admission to Attorney Randazza." (Doc. No. 154.10).
 3.     I have since fully complied with the State of Nevada discipline and completed my
        probation. See Exhibit 3, Letter from State Bar of Nevada.
 4.     I now request that I be permitted to practice law before this Court. I recognize that
        practicing in this Court is a privilege, but denying that privilege would be detrimental to
        the interests of justice, de facto placing me on an active suspension, of unknown duration,
        beyond what the Nevada Supreme Court ordered.
 5.     The Superior Court's substantive basis for denying admission, the recent discipline, has
        been largely satisfied, as discussed below. Every other state court, Federal court, or Federal
        agency to issue a determination in response to the Nevada state discipline has either
        declined to take action, stayed all proceedings, or issued a stayed suspension or probation,
        or has readmitted me. I have fully cooperated with every jurisdiction and self-reported the
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              Nevada discipline as required. Having successfully completed my Nevada discipline, it
              should no longer stand as a barrier to admission.
        6.    Denial of admission pro hac vice is especially prejudicial to my clients. The defense of
              this matter is, admittedly, an unpopular cause in Connecticut. My firm's prior efforts to
              attempt to identify counsel for other defendants in this matter proved unsuccessful. And,
              my clients have since discharged Mr. Pattis and his colleague. It is highly improbable that
              my clients will be able to secure alternate representation in Connecticut, and they highly
              desire that I, personally, act for them.
        7.    As the Court may be aware, similar matters are pending in the State of Texas, and my
              clients also anticipate that I will be providing assistance to them with that matter.
              Coordination of overlapping discovery and argument is of keen interest to the defendants.
        8.    This case involves significant First Amendment and anti-SLAPP issues; I am well-known
              for my practice in those areas.       I earned a B.A. in journalism at the University of
              Massachusetts at Amherst, but focused my studies on media law. I have a J.D. from
              Georgetown University Law Center.                I also hold a Master's Degree in Mass
              Communications from the University of Florida, where I also focused on media and First
              Amendment law studies. Finally, I have an L.L.M. from the University of Turin, Italy.
tf
~
r./)
        9.    I am an attorney admitted and in good standing in the States of Arizona, California, Florida,
~Q)           and Nevada, and the Commonwealth of Massachusetts, and the federal district and
c..
0
0             appellate courts listed in Exhibit 4. I am in good standing to practice before all of them.
        10.   The primary focus of my practice consists of free speech and First Amendment litigation.
              I am a past-President of the First Amendment Lawyers Association.
        11.   I submitted my proposed Anti-SLAPP legislation to the Nevada Senate on March 15, 2013.
              I was called as a witness before the Nevada State Senate Judiciary committee to testify as
              an expert on First Amendment law and Anti-SLAPP laws for the benefit of the committee
              and the Senate in passing this important law. On April 22, 2013, the Nevada Senate voted
              on my proposed Anti-SLAPP Statute, and passed it unanimously. I appeared before the
              Assembly Judiciary Committee on May 6, 2013. On May 22, 2013, the Nevada Assembly
              voted on the Anti-SLAPP Statute, which passed the proposed statute unanimously. On
              May 27, 2013, Governor Brian Sandoval approved the bill.




                                                         -2-
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 12.      Like the Connecticut Anti-SLAPP statute, the Nevada Anti-SLAPP law is significantly
          influenced by the California model. It would an injustice that my clients not be able to
          continue to pursue their defenses with counsel of their choice where I successfully
          completed my Nevada discipline and I am otherwise eligible for admission.
 13.      The Nevada discipline arises from a negotiated agreement between myself and the
          Southern Nevada Disciplinary Board.                The stipulated facts forming the basis of the
          discipline are as set forth in the enclosed Conditional Guilty Plea.
 14.      As set forth in the Conditional Guilty Plea, the discipline arose from a specific
          circumstance where I represented a company as in-house counsel, along with its sister
          entity. Those circumstances will not repeat themselves as I am not in-house counsel for
          any of my clients and I now recognize where I misunderstood my ethical obligations.'
 15.      Reciprocal discipline in the nature of a probation or stayed suspension was imposed by the
          State of Arizona, the Commonwealth of Massachusetts, and the State of California. See
          Exhibits 5, 6 and 7. I fully completed the terms of discipline in Arizona, and Massachusetts
          and no suspensions were imposed. See Exhibits 8 and 9. The California probation expires
          January 10, 2021. To date, I have been in full compliance, including retaking the MPRE,
          wherein I scored a 119. See Exhibit 10.
 16.      Reciprocal discipline of probation or a stayed suspension was imposed by the U.S. District
          Courts for the District of Massachusetts and for the Southern District of Florida (which
          probation expired before the discipline issued), and by the U.S. Patent & Trademark Office.
          See Exhibits 11, 12, and 13. The District of Massachusetts terminated proceedings on June
          23, 2020, without imposing a suspension. See Exhibit 14. The discipline imposed by the
          PTO expires on January 23, 2021. To date, I have been in full compliance.
 17.      Reciprocal discipline in the nature of an active suspension was imposed by the U.S. District
          Court for the District of Nevada, which expired on April 10, 2020. See Exhibit 15. My




           In connection with my prior application, Plaintiffs previously filed an interim arbitration award regarding my
 dispute with those clients. (Doc. No. 163.00). However, a court refused to confirm it and, with the agreement of those
 clients, vacated it. See Liberty Media Holdings, LLC, et al. v. Randazza, Adv. Proc. No. 15-01193-abl (Bankr. Nev.
 Jun. 8, 2017) (denying motion to confirm); In re: Marc John Randazza, Case No. BK-S-15-14956-abl (Bankr. Nev.
 Aug. 2, 2018) (vacating and dismissing the interim arbitration award). The findings in that award, therefore, have no
 evidentiary value. And, more importantly, neither the State Bar of Nevada nor the Nevada Supreme Court, nor any
 other tribunal considering reciprocal discipline, adopted the arbitral findings .


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                               admission to the U.S. District Court for the District of Nevada was reinstated on June 9,
                               2020. See Exhibit 16.
                     18.       The U.S. Court of Appeals for the Federal Circuit stayed all proceedings pending the
                               completion of the Nevada discipline and terminated proceedings on May 28, 2020 without
                               imposing discipline. See Exhibit 17.
                     19.       Reciprocal disciplinary proceedings remain pending in the State of Florida.
                    20.        Following the filing of my Conditional Guilty Plea, I was admitted to practice before the
                               U.S. Court of Appeals for the Second Circuit. Following the imposition of the Nevada
                               discipline, the U.S. Court of Appeals for the Eleventh Circuit, taking it into consideration,
                               renewed my admission. Following the imposition of the Nevada discipline, I have also
                               been admitted to practice pro hac vice by the U.S. District Courts for the District of
                               Columbia and the Western District of Texas.
                    21.        I am aware of no other grievances pending against me or discipline.2



                    Executed on        '3    )-u{'-('          2020
                                                       (
                     County of         fsx;..x

                     State of       /Vf~hO'St-4--\ S
                     On this       3        day of ,:}u l             :J     ,2020, before me, the undersigned notary public, personally
                    appeared            Mo..rc.              ~oa.uA                      (name of document signer), proved to me through
                     satisfactory evidence of identification, which were                       USA 0:u::,pod                       , to be the person
                     who signed the preceding or attached document in my presence, and who swore or affirmed to me
                     that the contents of the document are truthful and accurate to the best of his knowledge and belief.




                                                                                             !SABELLA A. RANDAZZO
                                                                                                       Notary Public
                                                                                              Commonwealth of Massachusetts
                     My Commission Expires:                                                    My Commission Expires
                                                                                                      August20, 2021


                           2   I previously apprised the Superior Court of a "screening" in Arizona. (Doc. No. 202). To the extent that
                     constituted a "grievance", I am pleased to report that that matter was dismissed by the State Bar of Arizona at the
                     investigatory stage. See Exhibit 18.


                                                                                        -4-


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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 56427918
Status as of 8/20/2021 9:34 AM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com   8/18/2021 2:10:10 PM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted     Status

William Ogden                  bill@fbtrial.com     8/18/2021 2:10:10 PM   SENT

Bradley Reeves                 brad@brtx.law        8/18/2021 2:10:10 PM   SENT

Carmen Scott                   carmen@fbtrial.com 8/18/2021 2:10:10 PM     SENT
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 85
                                      of 336                     8/19/2021 10:51 AM
                                                                                  Velva L. Price
                                                                                 District Clerk
                                                                                 Travis County
                                                                              D-1-GN-18-001835
                               D-1-GN-18-001835                                    Daniel Smith

  NEIL HESLIN                             §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §                459th DISTRICT COURT
  OWEN SHROYER,                           §
    Defendants                            §

                               D-1-GN-18-001842
  LEONARD POZNER AND                      §                IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                    §
    Plaintiffs                            §
                                          §               TRAVIS COUNTY, TEXAS
  VS.                                     §
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §                459th DISTRICT COURT
  AND FREE SPEECH SYSTEMS, LLC,           §
    Defendants                            §

                               D-1-GN-18-006623
  SCARLETT LEWIS                          §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  AND FREE SPEECH SYSTEMS, LLC,           §                459th DISTRICT COURT
    Defendants                            §



 PLAINTIFFS’ MOTION FOR PROTECTION REGARDING IN CAMERA REVIEW




                                          1
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        Despite Texas law requiring an in camera review prior to production of mental

 health records, and despite this Court instructing the parties to confer on a protocol

 for this legally-mandated process, Defendants have unreasonably opposed any in

 camera review, insisting they are entitled to unrestricted access to Plaintiffs’ mental

 health records. Unfortunately, Plaintiffs require this Court’s intervention.

                                          FACTS

        1.     On July 6, 2021, Plaintiffs’ counsel wrote to Defendants’ counsel in

 Fontaine concerning Defendants’ discovery requests for mental health records.

 Plaintiffs’ counsel stated a desire to seek in camera review of those records:

               Plaintiff has requested his mental health treatment
               records, but he will be objecting to producing those records
               prior to an in camera review pursuant to R.K. v. Ramirez,
               887 S.W.2d 836 (Tex. 1994). Likewise, Plaintiff plans to file
               a motion seeking in camera review of those records prior
               to production. Let me know if you can agree. If you oppose,
               let me know on what basis and perhaps we can work
               something out. 1

        2.     On July 9, 2021, Plaintiffs’ counsel raised the issue with the Court in oral

 hearing, noting he was hopeful that an agreement could be reached. The Court

 instructed counsel for all the InfoWars cases to confer on creating such a protocol.

        3.     On July 12, 2021, Plaintiffs’ counsel forwarded his earlier email to

 Defendants’ attorneys in all the cases, noting that he was “writing to follow up on the

 Court’s request to provide a protocol on our agreement to confer prior to any in


 1 Exhibit 1, Email discussion between counsel regarding in camera review, July 6 email
 from Plaintiff’s counsel.
                                              2
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 camera review of contested mental health records.” 2 Plaintiffs’ counsel also proposed

 the following protocol:

               To the extent there are mental health records responsive
               to any of Defendants’ requests, the plaintiff will subpoena
               those records and respond to the request indicating that
               such records have been subpoenaed.

               Within 14 days of their receipt, or as otherwise agreed by
               the parties, the plaintiff will provide a log describing any
               document which the plaintiff seeks to withhold for reasons
               of privilege, relevance, or privacy.

               Within 14 days after receiving the log, or as otherwise
               agreed by the parties, Defendants will provide a list of any
               documents for which it challenges the basis for
               withholding.

               Upon receipt of that list, Plaintiff will provide the
               documents identified by Defendants to the Court within
               three business days, or as otherwise agreed by the parties. 3

        4.     July 13, 2021, Defendants’ counsel Eric Taube, negotiating for the

 Fontaine case, replied with several items he wanted to include in the protocol. 4 That

 same day, Plaintiffs’ counsel inserted those changes and asked if the agreement was

 complete. On July 15, 2021, Mr. Taube responded with additional terms. 5 Those items

 were added, and Mr. Taube later agreed to the protocol, which has now been filed.

        5.     Weeks later, on July 27, 2021, Defendants’ counsel Brad Reeves joined

 the conversation. Mr. Reeves doubted that “there even needs to be this process.” 6 Mr.


 2 Id., July 12, 2021 email from Plaintiff’s counsel.
 3 Id.
 4 Id., July 13, 2021 email from Defendants’ counsel Eric Taube.
 5 Id., July 15, 2021 email from Defendants’ counsel Eric Taube.
 6 Id., July 27, 2021 email from Defendants’ counsel Brad Reeves.


                                              3
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 Reeves stated he was “confused as to why you would need to subpoena any records—

 as the plaintiffs should have the unfettered ability to request and obtain their own

 records.” 7 Mr. Reeves also said that he intended to secure mental health records on

 his own with no court supervision, stating that “it is your clients’ obligations in

 discovery to produce a medical authorization allowing for Defendants to obtain these

 records, including mental health records.” 8

        6.     Consistent with the governing cases, Plaintiffs’ counsel again told Mr.

 Reeves they “would like to seek a protocol for in camera review to protect our clients’

 privacy and ensure the disclosure of records is no broader than necessary.” 9 Plaintiffs’

 counsel told Mr. Reeves that “[i]f you’re opposed to [in camera review] for the reasons

 you’ve given,” Plaintiffs would “seek any in camera review through a motion.” 10

        7.     On July 28, 2021, Mr. Reeves responded that he did not believe “your

 clients have much of a right to privacy.” 11 Mr. Reeves claimed that Defendants’

 unrestricted access to Plaintiffs’ mental health records was “fair game as far as I am

 concerned.” 12 Mr. Reeves contended that privacy is “something your clients have

 really lost the right to assert (at least as far as discovery is concerned).” 13 Despite

 being asked by the Court to confer on a protocol for in camera review, and despite



 7 Id.
 8 Id.
 9 Id., July 28, 2021 email from Plaintiffs’ counsel.
 10 Id.
 11 Id., July 28, 2021 email from Defendants’ counsel Brad Reeves.
 12 Id.
 13 Id.


                                              4
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 Texas law requiring such a review if requested, Defendants’ counsel demanded that

 Plaintiffs’ counsel further justify their request to him, apparently not satisfied with

 Plaintiffs’ citation to R.K. v. Ramirez, supra.

           8.     Plaintiffs’ counsel responded that “[i]t’s obvious you believe you should

 have unconditional access to our clients’ mental health records. We disagree and

 would like to enter a protocol for in camera review. It’s clear you are not on board

 with that idea. So as I said, we’ll seek any in camera review through a motion.” 14

 Defendants did not respond, and the negotiation ceased. Having been unable to reach

 agreement, Plaintiffs now move this Court for protection and requests a court-

 ordered protocol for in camera review of mental health records.

                                            ARGUMENT

 I.        Plaintiffs are Entitled to In Camera Review of Sensitive Mental
           Health Records.

           Plaintiffs do not dispute that the mental health injuries they suffered from

 Defendants’ conduct have been put into controversy. If mental health records are

 requested after a plaintiff puts a mental health injury into controversy, “the trial court

 must then perform an in camera inspection of the documents at issue.” R.K. v. Ramirez,

 887 S.W.2d 836, 842 (Tex. 1994). When sensitive mental health treatment is

 implicated, a trial court “abuse[s] its discretion by permitting the production of [a




 14   Id., July 28, 2021 email from Plaintiffs’ counsel.
                                                    5
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 plaintiff’s] medical records without first reviewing the records in camera.” In re

 Turney, 525 S.W.3d 832, 841 (Tex. App.—Houston [14th Dist.] 2017, no pet.).

        “[W]hen reviewing documents submitted in camera, the court must ensure

 that the production of documents ordered, if any, is no broader than necessary,

 considering the competing interests at stake.” R.K. at 843. The in camera review is

 required because “patient records should be revealed only to the extent necessary to

 provide relevant evidence relating to the condition alleged.” Id. It is crucial for the

 trial court “to avoid any unnecessary incursion into private affairs.” Id.

 II.    Defendants’ Opposition is Frivolous.

        Defendants oppose any in camera review by arguing that the Plaintiffs can

 simply rely on a Protective Order of Confidentiality. Defendants’ counsel stated,

 “What is the point of having a protective order in place if you are not going to produce

 these documents and are instead going to withhold them for in camera review?” 15

 Defendants’ counsel claimed that in camera review was not necessary because “[t]he

 protective order is for all parties’ protection…” 16 Yet Defendants’ counsel

 misunderstands the difference between a protective order and in camera review. A

 protective order exists to prevent disclosure of information to parties outside the

 litigation. Conversely, in camera review exists to prevent disclosure of information to

 a party’s adversary. A protective order does nothing to alleviate Plaintiffs’ concern



 15 Exhibit 1, Email discussion between counsel regarding in camera review, July 28 email
 from Defendants’ counsel Brad Reeves.
 16 Id.


                                              6
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 that there may be private, irrelevant, or privileged information in their mental health

 records which Mr. Jones and his attorneys should not be allowed to possess.

          Moreover, a Protective Order provides no guarantee of actual protection

 against these particular Defendants. Two weeks ago, Defendants were again

 sanctioned on August 6, 2021 when their attorneys publicly disclosed information

 from a confidential deposition of a Sandy Hook parent in Lafferty. When sanctioning

 the Defendants, the Lafferty court noted its “grave concerns” that witnesses “would

 be rightfully concerned that their confidential information, including their psychiatric

 and medical histories, would be made available to the public.” 17 For this reason,

 careful in camera review is even more vital in this case given InfoWars’ documented

 history of “cavalier actions and willful misconduct.” 18

                                         CONCLUSION

          An in camera review of mental health records is required under Texas law. Yet

 despite this Court’s instruction to confer on a protocol for this legally-mandated

 process, Defendants unreasonably opposed any review and demanded unrestricted

 access to Plaintiffs’ records, leading to this unnecessary motion. As such, Plaintiffs

 pray that this Court orders reasonable protocol for in camera review.

                                              Respectfully submitted,
                                              KASTER LYNCH FARRAR & BALL, LLP


                                              ____________________________________
                                              MARK D. BANKSTON

 17   Exhibit 2, August 6, 2021 Order in Lafferty concerning deposition disclosure.
 18   Id.
                                                 7
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                                            State Bar No. 24071066
                                            WILLIAM R. OGDEN
                                            State Bar No. 24073531
                                            1117 Herkimer
                                            Houston, TX 77008
                                            713.221.8300 Telephone
                                            713.221.8301 Fax




                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 19, 2021 the forgoing brief was served upon all counsel
 of record via electronic service.




                                            ____________________________________
                                            MARK D. BANKSTON




                               CERTIFICATE OF CONFERENCE

       I hereby certify that before filing this motion, I conferred with counsel of record, but
 counsel was opposed to the relief sought.




                                            ____________________________________
                                            MARK D. BANKSTON




                                               8
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                               D-1-GN-18-001835
  NEIL HESLIN                             §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §                459th DISTRICT COURT
  OWEN SHROYER,                           §
    Defendants                            §

                               D-1-GN-18-001842
  LEONARD POZNER AND                      §                IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                    §
    Plaintiffs                            §
                                          §               TRAVIS COUNTY, TEXAS
  VS.                                     §
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §                459th DISTRICT COURT
  AND FREE SPEECH SYSTEMS, LLC,           §
    Defendants                            §

                               D-1-GN-18-006623
  SCARLETT LEWIS                          §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  AND FREE SPEECH SYSTEMS, LLC,           §                459th DISTRICT COURT
    Defendants                            §



           ORDER REGARDING PROTOCOL FOR IN CAMERA REVIEW
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 94
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        On this day, the Court considered Plaintiff’s Motion for Protection Regarding In

 Camera Review. The Court finds that the motion should be granted. It is therefore

 ORDERED that the parties shall use the following protocol if mental health records

 are requested in discovery:

        1.     To the extent there are mental health records responsive to any of

 Defendants’ requests, Plaintiff will subpoena those records and respond to the

 request indicating that such records have been subpoenaed.

        2.     Within 14 days of their receipt, or as otherwise agreed by the parties,

 the plaintiff will provide a log describing any document which the plaintiff seeks to

 withhold for reasons of privilege, relevance, or privacy.

        3.     Within 14 days after receiving the log, or as otherwise agreed by the

 parties, Defendants will provide a list of any documents for which it challenges the

 basis for withholding.

        4.     Upon receipt of that list, Plaintiff will provide the documents identified

 by Defendants to the Court within three business days, or as otherwise agreed by the

 parties.

        Dated ___________________________, 2021.



                                                   _____________________________________
                                                   Hon. Maya Guerra Gamble
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                             Exhibit 1
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   From:            Mark Bankston
   To:              Bradley Reeves; Bill Ogden
   Cc:              Marc John Randazza
   Subject:         RE: Protocol for in camera review
   Date:            Wednesday, July 28, 2021 6:09:00 PM
   Attachments:     image001.png


  It’s obvious you believe you should have unconditional access to our clients’ mental health records.
  We disagree and would like to enter a protocol for in camera review. It’s clear you are not on board
  with that idea. So as I said, we’ll seek any in camera review through a motion.


  From: Bradley Reeves <brad@brtx.law>
  Sent: Wednesday, July 28, 2021 3:52 PM
  To: Mark Bankston <mark@fbtrial.com>; Bill Ogden <bill@fbtrial.com>
  Cc: Marc John Randazza <mjr@randazza.com>
  Subject: RE: Protocol for in camera review

  I am not trying to be difficult here, but what concerns do you have about your clients’ “privacy”
  that would not be handled by an agreed protective order? I am also not sure your clients have
  much of a right to privacy given the fact they have filed lawsuits for claims that include mental
  anguish, so that is pretty much fair game as far as I am concerned. I am also unclear as to what
  you mean by ensuring “the disclosure of records is no broader than necessary.” Who makes the
  determination of what is necessary? Based on the protocol you have proposed, it would appear
  that you want to be the one who makes that determination, which obviously raises a whole host
  of issues.
  I am just trying to understand why you want a protocol that makes you the gatekeeper of relevant
  medical and other records that we would be entitled to obtain during discovery in addition to
  having a protective order in place. So far your explanation hinges only on vague assertions of
  “privacy,” which again is something your clients have really lost the right to assert (at least as far
  as discovery is concerned) based on the claims they have made in this lawsuit.
  Best regards,

  Brad Reeves


  From: Mark Bankston <mark@fbtrial.com>
  Sent: Wednesday, July 28, 2021 9:47 AM
  To: Bradley Reeves <brad@brtx.law>; Bill Ogden <bill@fbtrial.com>
  Cc: Marc John Randazza <mjr@randazza.com>
  Subject: RE: Protocol for in camera review

  As we’ve indicated, we would like to seek a protocol for in camera review to protect our clients’
  privacy and ensure the disclosure of records is no broader than necessary. If you’re opposed to that
  idea for the reasons you’ve given, that’s your right, but there is no point in us discussing the details
  of a protocol if that’s the case. We’ll just seek any in camera review through a motion.


  From: Bradley Reeves <brad@brtx.law>
  Sent: Tuesday, July 27, 2021 4:31 PM
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 97
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  To: Mark Bankston <mark@fbtrial.com>; Bill Ogden <bill@fbtrial.com>
  Cc: Marc John Randazza <mjr@randazza.com>
  Subject: FW: Protocol for in camera review

  Mark:
  Following up on this in camera protocol, and I must admit, I do not understand why or how
  there even needs to be this process. First, your client(s) have put their mental health at issue, and
  thus they have opened the door as to their mental health records. I am also confused as to why
  you would need to subpoena any records—as the plaintiffs should have the unfettered ability to
  request and obtain their own records. Furthermore, it is your clients’ obligations in discovery to
  produce a medical authorization allowing for Defendants to obtain these records, including
  mental health records.
  Moreover, what is the point of having a protective order in place if you are not going to produce
  these documents and are instead going to withhold them for in camera review? The protective
  order is for all parties’ protection to prevent disclosure of information and documents in
  discovery without prior approval.
  While I hesitate to ask, can you help me understand why you feel this protocol is even necessary?
  Best regards,

  Brad Reeves


  From: Eric Taube <Eric.Taube@wallerlaw.com>
  Sent: Thursday, July 15, 2021 4:12 PM
  To: Mark Bankston <mark@fbtrial.com>
  Cc: Bill Ogden <bill@fbtrial.com>; Kevin Brown <Kevin.Brown@wallerlaw.com>; Bradley Reeves
  <brad@brtx.law>
  Subject: Protocol for in camera review



  Mark,


  While I am generally in agreement with the procedure discussed in the
  paragraph below as it relates to medical records that we have already
  requested or might request from Mr. Fontaine in the future, and don’t really
  care if this process applies to any other case, I am confused by the prefatory
  statement that the “Plaintiff will subpoena the records and will respond to the
  request indicating that the records have been subpoenaed.” I assume that you
  are not attempting to absolve your client from producing records that are in his
  possession or subject to his control. Such records would be subject to
  production or delineation on a privilege log consistent with the procedure and
  timing described. If we attempt to subpoena records from third parties, you are
  certainly afforded an opportunity to quash or seek a protective order if you
  believe that the documents are outside the scope and are subject to
  protection, and we can agree for this procedure to apply or not, but I am not
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  agreeing up front to limit our opportunity to subpoena third party records.
  Candidly, I am not sure what medical records would fall in to this category since
  I believe all of Mr. Fontaine’s medical records would be subject to his control,
  but perhaps that is not the case.




                       Eric Taube
                       Partner
                       o: (512) 685-6401
                       100 Congress Ave., Suite 1800
                       Austin, TX 78701
                       Bio | Email




  From: Mark Bankston <mark@fbtrial.com>
  Sent: Tuesday, July 13, 2021 2:32 PM
  To: Eric Taube <Eric.Taube@wallerlaw.com>; Kevin Brown <Kevin.Brown@wallerlaw.com>; Bradley
  Reeves <brad@brtx.law>
  Cc: Bill Ogden <bill@fbtrial.com>
  Subject: RE: Protocol for in camera review


    External Message

  First, I understand you sent some discovery already in Fontaine, but I am trying to make a generic
  protocol that can be used in all cases. If you really want to draft a separate protocol for Fontaine
  merely to indicate that a first set of discovery has already been served, we can do that, but I don’t
  see the point. Also, the way you have drafted your comments, it would apply to the discovery you
  already sent in Fontaine, but not to any future discovery you might send.

  Second, we can definitely put it a sentence saying that we will immediately produce any non-
  objectionable documents we receive.

  Otherwise, your proposal looks the same as mine, except that you have removed any timeline for
  Defendants’ identification of documents they intend to challenge, and you have removed the
  timeline for Plaintiff to submit those documents to the court once Defendants’ challenges are
  received. I’m not sure why you did that.

  So to take another stab at incorporating your response:

  To the extent there are mental health records responsive to any of Defendants’ requests, the
  plaintiff will subpoena those records and respond to the request indicating that such records have
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  been subpoenaed. The plaintiff will immediately produce any records received for which there is no
  objection. Within 14 days of their receipt, or as otherwise agreed by the parties, the plaintiff will
  provide a log describing any document which the plaintiff seeks to withhold for reasons of privilege,
  relevance, or privacy. Plaintiff’s log will describe the documents being withheld, identifying the date,
  parties to the communication, attachments, general subject matter, and the basis that they are
  being withheld so that Defendants have the opportunity to agree or disagree on particular
  documents. Within 14 days after receiving the log, or as otherwise agreed by the parties, Defendants
  will provide a list of any documents for which it challenges the basis for withholding. Upon receipt of
  that list, Plaintiff will provide the documents identified by Defendants to the Court within three
  business days, or as otherwise agreed by the parties, in connection with a hearing where the parties
  can argue why - based upon the privilege log - the documents that are identified and which the
  Court is going to review in camera, should or should not be withheld.

  If you can agree to that, I suggest this should be filed as a Rule 11 agreement.




  From: Eric Taube <Eric.Taube@wallerlaw.com>
  Sent: Tuesday, July 13, 2021 11:17 AM
  To: Mark Bankston <mark@fbtrial.com>; Kevin Brown <Kevin.Brown@wallerlaw.com>; Bradley
  Reeves <brad@brtx.law>
  Cc: Bill Ogden <bill@fbtrial.com>
  Subject: RE: Protocol for in camera review


  Mark,


  I am happy to draft an agreed order, but this is what I understood that we had
  discussed and what we can agree to:
  1. we sent the discovery to you already, and you will provide responses and
  objections as you deem appropriate;
  2 with respect to medical information, you produce what you are not trying to
  withhold - anything that you believe is responsive and not objectionable;
  3. within 14 days of the response and production of the responsive and non-
  objectionable documents, you provide a privilege log that describes the
  documents being withheld and the basis that they are being withheld so that
  we have the opportunity to agree or disagree on particular documents -
  identify by date, parties to the communication, attachments and general
  subject matter;
  4. with respect to documents that we cannot agree, you submit them to the
  Court for in camera review in connection with a hearing where we can argue
  why - based upon the privilege log - the documents that are identified and
  which the Court is going to review in camera, should be produced and not
  withheld.
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 Let me know if you would like us to prepare an order along these lines.

                      Eric Taube
                      Partner
                      o: (512) 685-6401
                      100 Congress Ave., Suite 1800
                      Austin, TX 78701
                      Bio | Email




 From: Mark Bankston <mark@fbtrial.com>
 Sent: Monday, July 12, 2021 1:38 PM
 To: Eric Taube <Eric.Taube@wallerlaw.com>; Kevin Brown <Kevin.Brown@wallerlaw.com>; Bradley
 Reeves <brad@brtx.law>
 Cc: Bill Ogden <bill@fbtrial.com>
 Subject: Protocol for in camera review


   External Message

 I am writing to follow up on the Court’s request to provide a protocol on our agreement to confer
 prior to any in camera review of contested mental health records. Elaborating on our agreement in
 the email below, I’ve drafted the following protocol:

 To the extent there are mental health records responsive to any of Defendants’ requests, the
 plaintiff will subpoena those records and respond to the request indicating that such records have
 been subpoenaed. Within 14 days of their receipt, or as otherwise agreed by the parties, the plaintiff
 will provide a log describing any document which the plaintiff seeks to withhold for reasons of
 privilege, relevance, or privacy. Within 14 days after receiving the log, or as otherwise agreed by the
 parties, Defendants will provide a list of any documents for which it challenges the basis for
 withholding. Upon receipt of that list, Plaintiff will provide the documents identified by Defendants
 to the Court within three business days, or as otherwise agreed by the parties.

 Please let me know if this protocol is adequate for both of you.


 From: Mark Bankston
 Sent: Wednesday, July 7, 2021 3:03 PM
 To: Eric Taube <Eric.Taube@wallerlaw.com>; Kevin Brown <Kevin.Brown@wallerlaw.com>
 Cc: Bill Ogden <bill@fbtrial.com>
 Subject: RE: Fontaine records

 Sure, that sounds reasonable. For any documents we receive from our subpoena that we intend to
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 have reviewed by the court, we will create a descriptive log and give it to you first. If after your
 review there are any documents on that list that we both do not agree should be withheld, then
 those can be submitted to the court and you can argue for their production. If there are any
 documents which we feel do not require review, we’ll produce them immediately upon receipt.
 Does that work?


 From: Eric Taube <Eric.Taube@wallerlaw.com>
 Sent: Wednesday, July 7, 2021 2:30 PM
 To: Mark Bankston <mark@fbtrial.com>; Kevin Brown <Kevin.Brown@wallerlaw.com>
 Cc: Bill Ogden <bill@fbtrial.com>
 Subject: RE: Fontaine records


 Mark,


 Thank you for your email on the production issue. We do not oppose in camera
 inspection by the Court, but for the purpose of preserving any appeal and
 potential error, I think that you need to provide a privilege log of the
 documents that you are going to be claiming are subject to the applicable
 privilege and will be submitting for inspection by the Court so that we can
 determine what documents are being submitted (depending on the
 description, we may agree that you can withhold identified documents) and be
 able to argue that based upon your pleadings and consistent with Ramirez,
 Groves and the exceptions in TRE 509 and 510, specific responsive documents
 should be produced. Can we agree to such a procedure?

                      Eric Taube
                      Partner
                      o: (512) 685-6401
                      100 Congress Ave., Suite 1800
                      Austin, TX 78701
                      Bio | Email




 From: Mark Bankston <mark@fbtrial.com>
 Sent: Tuesday, July 6, 2021 1:31 PM
 To: Eric Taube <Eric.Taube@wallerlaw.com>; Kevin Brown <Kevin.Brown@wallerlaw.com>
 Cc: Bill Ogden <bill@fbtrial.com>
 Subject: Fontaine records


   External Message

 Plaintiff has requested his mental health treatment records, but he will be objecting to producing
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 those records prior to an in camera review pursuant to R.K. v. Ramirez, 887 S.W.2d 836 (Tex. 1994).
 Likewise, Plaintiff plans to file a motion seeking in camera review of those records prior to
 production. Let me know if you can agree. If you oppose, let me know on what basis and perhaps we
 can work something out.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP




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                            Exhibit 2
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                                                                                          ORDER       421277
DOCKET NO: UWYCV186046436S                                  SUPERIOR COURT

LAFFERTY, ERICA Et Al                                       JUDICIAL DISTRICT OF WATERBURY
  V.                                                          AT WATERBURY
JONES, ALEX EMRIC Et Al
                                                            8/5/2021



                                                  ORDER


ORDER REGARDING:
07/06/2021 394.00 MOTION FOR ORDER

The foregoing, having been considered by the Court, is hereby:

ORDER:

By written stipulation, and unless the court orders otherwise, parties can agree to modify discovery
procedures. See Connecticut Practice Book Section 13-32. In these consolidated cases, the defendants
Alex Jones, Free Speech Systems, LLC, Infowars, LLC, Infowars Health, LLC, and Prison Planet TV,
LLC (“the Jones defendants”) did just that. Additionally, they took their agreement with the plaintiffs a
step further and asked the court to issue a protective order pursuant to Practice Book Section 13-5 and
approve their joint discovery stipulation. The Jones defendants filed no less than three versions of a
proposed protective order for the court’s approval, see entry numbers 177,181,183, and 185, asserting
that they were asking for the same discovery protection that would have been in place in federal court
had the cases not been remanded back to state court. They indicated, correctly, that discovery materials
are not filed with the court and as such are not ordinarily available to the public. The court ultimately
approved the stipulation of the parties, which complied with all relevant requirements of the Connecticut
Practice Book and which, inter alia, set forth the procedure by which sensitive confidential information
obtained through pretrial discovery would be handled and, if necessary, filed with the court. The order
provided that of all or part of a deposition transcript could be designated as confidential by counsel for
the deponent or designated party, by requesting such treatment on the record at the deposition or in
writing no later than thirty days after the date of the deposition. It set forth simple procedures by which
the designation of “confidential” could be subsequently challenged, and how confidential information
could be filed with the court. Importantly for the purposes of this motion, the protective order clearly
prohibited discovery information designated as confidential from being filed with the court until such
time that the court had ruled on the designating party’s motion under Practice Book Section 11-20A.
The Jones defendants did not oppose the plaintiffs’ June 8,2021 motion to modify the protective order,
which recited a good cause basis for the modification and which added a “Confidential- Attorneys Eyes
Only” designation to the above mentioned procedures. Based upon the written motions filed by the
plaintiffs and the Jones defendants, the court, in entering the protective orders, found good cause for
both the issuance of the original protective order and its modification. In support of the motion for
protective order, the Jones defendants identified their privacy interests in sensitive proprietary
information including proprietary business, financial, and competitive information that they maintain as
trade secrets, proprietary business and marketing plans, marketing data, web analytics, sales analytics,
and/or other web traffic data, and marketing data or analytics. They referred to the “unique” business
model that makes them competitive and successful. The plaintiffs, in support of the modification to the
protective order, identified their privacy interests in their medical histories, psychiatric records,and
private social media accounts. In the midst of taking the first deposition of a plaintiff, the defendants
Free Speech Systems LLC, Infowars LLC, Infowars Health LLC, and Prison Planet TV LLC
(Infowars),filed a motion to depose Hillary Clinton, using deposition testimony that had just been
designated as “Confidential-Attorneys Eyes Only,” and completely disregarding the court ordered
procedures. At no point prior to filing the Clinton motion did Infowars profess ignorance of the
procedures they had proposed and which were court ordered to be followed, nor have they since taken
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any steps to correct their improper filing. If Infowars was of the opinion that the plaintiffs’ designation
was unreasonable and not made in good faith, the solution was to follow the court ordered procedure to
challenge the designation, not to blatantly disregard it and make the confidential information available
on the internet by filing it in the court file. The court rejects Infowars’ baseless argument that there was
no good cause to issue the protective orders, where both sides recited, in writing, detailed justification
for a good cause basis. In short, Infowars, having advocated for a court ordered protective order, filing
no less than three versions, having recited in writing the good cause bases for the issuance of the
protective order, and having no objection to the plaintiffs’ proposed modification, now takes the absurd
position that the court ordered protective order circumvents the good cause requirements of Practice
Book 13-5, did not need to be complied with, and should not be enforced by the court. This argument is
frightening. Given the cavalier actions and willful misconduct of Infowars in filing protected deposition
information during the actual deposition, this court has grave concerns that their actions, in the future,
will have a chilling effect on the testimony of witnesses who would be rightfully concerned that their
confidential information, including their psychiatric and medical histories, would be made available to
the public. The court will address sanctions at a future hearing.

Judicial Notice (JDNO) was sent regarding this order.

                                                              421277

                                                              Judge: BARBARA N BELLIS
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court E-Services
Procedures and Technical Standards (https://jud.ct.gov/external/super/E-Services/e-standards.pdf), section 51-193c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




UWYCV186046436S              8/5/2021                                                                          Page 2 of 2
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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 56456821
Status as of 8/21/2021 4:06 PM CST

Associated Case Party: NeilHeslin

Name                 BarNumber    Email              TimestampSubmitted       Status

Mark D.Bankston                   mark@fbtrial.com   8/19/2021 10:51:47 AM    SENT



Associated Case Party: Owen Shroyer

Name                 BarNumber    Email                       TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/19/2021 10:51:47 AM     SENT



Case Contacts

Name                BarNumber    Email                TimestampSubmitted      Status

William Ogden                    bill@fbtrial.com     8/19/2021 10:51:47 AM   SENT

Bradley Reeves                   brad@brtx.law        8/19/2021 10:51:47 AM   SENT

Carmen Scott                     carmen@fbtrial.com 8/19/2021 10:51:47 AM     SENT
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                                                                                                   Velva L. Price
                                                                                                                  District Clerk
                                                                                                                  Travis County
                                      CAUSE NO. D-1-GN-18-001835                                               D-1-GN-18-001835
                                                                                                               Jonathan Sanders

    NEIL HESLIN,                                           §              IN THE DISTRICT COURT OF
                                                           §
                         Plaintiff,                        §
                                                           §
                                                           §
    v.                                                     §                   TRAVIS COUNTY, TEXAS
                                                           §
                                                           §
    ALEX E. JONES, INFOWARS, LLC,                          §
    FREE SPEECH SYSTEMS, LLC, AND                          §
    OWEN SHROYER                                           §
                                                           §                   261st JUDICIAL DISTRICT
                        Defendants,                        §

    DEFENDANTS’ RESPONSE TO PLAINTIFF’S SUPPLMENTAL BRIEF IN SUPPORT
             OF PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT1

         Defendants, Alex E. Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer

(collectively “Defendants”), file this response to Plaintiff’s Supplemental Brief in Support of

Plaintiff’s Motion for Default Judgment,2 and would show unto the Court as follows:

                                           SUMMARY OF RESPONSE

         Plaintiff’s supplemental brief is essentially a reiteration of its initial December 9, 2019

motion for sanctions and motion for default judgment, except that now Plaintiff includes “facts”

and discussions pertaining to separate cases in Connecticut as somehow constituting grounds for

this Court to grant the death penalty sanction of a default judgment against Defendants in this case.

While Plaintiff continues to make conclusory allegations that Defendants have not participated in

discovery, Plaintiff’s motion and supplemental brief lack any concrete discussion of what

documents Defendants have failed to produce and how Plaintiff has somehow been prejudiced by


1
  Plaintiff’s original motion and supplemental brief seeking a default judgment as a discovery sanction were initially
filed in Cause No. D-1-GN-004651 which has since been consolidated with this matter.
2
 Defendants further incorporate by reference herein Defendants’ Response to Plaintiff’s Motion for Sanctions and
Default Judgment and the exhibits thereto, filed December 17, 2019.


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that. Moreover, Plaintiff’s motion fails to put his motion in the proper context—Plaintiff’s

discovery concerns center on discovery that was issued as part of limited discovery based on

Defendants’ then-filed TCPA motion to dismiss. Yet, now, Plaintiff seeks a default judgment as

to liability as to the entirety of his IIED claims on the basis of these limited discovery response

issues. Finally, Plaintiff’s motion and supplement thereto fails to take into account recent

supplemental production from Defendants (of over 7,000 pages of additional responsive

documents) and otherwise fails to demonstrate how death penalty sanctions are appropriate,

particularly considering how this case is—procedurally speaking—in its initial discovery stages.

As a result, the Court should decline to implement any sort of death penalty sanctions and should

likewise deny Plaintiff’s motion.

                        RESPONSE TO MOTION FOR DEFAULT JUDGMENT

        Plaintiff’s motion and supplemental brief is fraught with inflammatory language and

sensational assertions all with the ultimate goal of having this Court enter a default judgment as to

liability on Plaintiff’s IIED claims to obviate any need for Plaintiff to actually have to prove his

case on the merits. Yet, such death penalty sanctions are in no way warranted by the circumstances

of this case. Notably, the vast majority of the complaints raised by Plaintiff’s supplemental brief—

claims that Infowars failed to adequately prepare its corporate representative; unfounded

allegations that a “massive” amount of responsive emails were withheld; that Infowars provided

“false and evasive discovery answers;” and claims that Infowars “ignored its duty to preserve and

produce evidence”—were all put at issue before Judge Jenkins back in December 2019, and all of

which were addressed in Judge Jenkins’ December 2019 order for monetary sanctions and a

finding of contempt arising from the situation surrounding the corporate representative complaints

by Plaintiff.



                                                 2
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        There is little doubt that discovery was a bit of a struggle at the inception of these cases;

the undersigned counsel was not involved in those disputes but certainly has reviewed the record

and understands where the issues were alleged to exist and what has been done to try and remedy

these discovery disputes. Yet, despite Plaintiff’s sensationalist accusations and attempts to

disparage Defendants with aspirations of biasing the Court against Defendants, the fact of the

matter is that Plaintiff’s motion and supplemental brief in support lack any sort of concrete

evidence of discovery abuses by Defendants nor that Plaintiff has been prejudiced by such alleged

abuses to such a level as to warrant a default judgment at what is essentially the beginning of the

case.

        Plaintiff’s supplemental brief first complains of Infowars’ corporate representative being

inadequately prepared to give testimony in a November 2019 deposition (granted as part of the

limited discovery pertaining to Defendants’ TCPA motion to dismiss). The Court—via Judge

Jenkins—has already considered this complaint and found Infowars in contempt and issued a $500

fine. Judge Jenkins ordered no other sanctions against Defendants nor required Defendants to take

any further action pertaining to this deposition. As such, Plaintiff’s supplemental brief is nothing

more than a veiled attempted to have this Court reconsider that ruling and implement additional

sanctions when that situation has already been addressed.

        Plaintiff’s supplemental briefing next contends that Defendants have withheld a “massive”

number of responsive emails, yet nothing could be further from the truth. Plaintiff’s only alleged

evidence to support this allegation is to point to discovery disputes in Lafferty¸which is a series of

Sandy Hook related cases pending in Connecticut state court. But what Plaintiff conveniently

omits from his briefing is that the scope of discovery in Lafferty is much wider and all-

encompassing than the discovery at issue in this case. For example, Plaintiff cites to an affidavit



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of David Jones filed in the Lafferty matter that search terms in that case yielded approximately

80,000 emails that were potentially responsive to the Lafferty Plaintiff’s discovery requests. See

Supp. Brief at 18.; see also Pl.’s Mtn for Default Judgment at 29. But that in no way supports the

idea that those emails were responsive to this Plaintiff’s limited discovery requests. Instead, all

Plaintiff has is mere conjecture and accusations—certainly not the concrete, particularized type of

evidence that would support the imposition of death penalty sanctions.

       Plaintiff then makes broad, generalized allegations that Defendants have failed to preserve

relevant evidence. Plaintiff contends that information was deleted from employees’ computers, yet

that is in no way what happened. The computers used at Free Speech Systems, LLC are connected

to portable hard drives; when those computers are repurposed or replaced, only the operating

system and computer programs were erased prior to preparing the computer for another’s use or

when replacing a computer. See Ex. 1 to Defendants’ December 17, 2019 response, affidavit of

Michael Zimmerman. Plaintiff also regurgitates its prior accusations that Defendants have failed

to preserve and search internal messaging systems. See Suppl. Brief at 27. Again, Plaintiff is

incorrect. Free Speech System utilized Slack as a messaging system, but that system has not been

used since April 2016, and that data has been preserved (and to the undersigned’s best knowledge,

has been produced). See Ex. 1 to Defendants’ December 17, 2019 Resp. to Mtn for Sanctions. Free

Speech Systems then started using Rocket.Chat on August 16, 2018, and all of that data has

likewise been preserved (and which again, to the undersigned’s best knowledge, has been

produced).

       Plaintiff’s motion and supplemental brief also includes (previously lodged) allegations that

Infowars failed to preserve its social media accounts. See Supp. Brief at 29. It is undisputed that

Infowars lost a majority of its video and social media archives because those were exclusively



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stored on those social media platforms (such as YouTube). See Ex. 1 to Defendants’ December

17, 2019 Resp. to Mtn. for Sanctions. However, many of these videos are still located on Free

Speech System’s servers and have already been produced to Plaintiff. While Plaintiff’s briefing

addresses a couple of videos he says have not been produced by Defendants, Plaintiff notably does

not provide any information to the Court as to how such videos are in any way relevant or

connected to his IIED claims in this case. Plaintiff simply makes the conclusory statement that

“Mr. Heslin has been unable to prove the extent of Infowars’ conduct,” without further explanation

to lend any support for this claim. Plaintiff’s supplemental brief also demonstrates how Defendants

did not take any action to delete or lose any such videos. Unfortunately, the social media accounts

at the heart of Plaintiff’s complaints were under the control of those third-party platform providers,

who subsequently and unilaterally banned Infowars from utilizing their sites, likewise resulting in

Defendants losing all access and control over these accounts and their content.

       But even if there was some sort of duty for Defendants to proactively take steps to preserve

these social media accounts, videos, and messages, the alleged failure to do so does not in turn

mean death penalty sanctions should occur. First, Plaintiff has failed to exhaust the discovery

mechanisms available to him to determine if this data does still exist on these platforms.

Specifically, Plaintiff has not issued third-party subpoenas to such platforms as Facebook, Twitter,

or YouTube to determine if those platforms still have the videos, data, and messages at the heart

of his complaints in his motion for default judgment. Moreover, it is clear that the more appropriate

procedural mechanism would be for Plaintiff to seek a spoliation finding related to those videos,

if warranted. But Plaintiff has decided to put all of his eggs in the death-penalty-sanctions basket,

which is simply absurd at this juncture of the case.




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       Regardless of the veracity, or lack thereof, of Plaintiff’s discovery complaints, the fact of

the matter is that Plaintiff’s requested death penalty sanctions would be unduly harsh and are not

supported by the record. The undersigned has personally been reviewing over 75,000 documents

gathered during this litigation and has recently supplemented Defendants’ production with

approximately 7,000 pages of responsive documents, with likely more to come in the next couple

of weeks. Defendants also continue to search every possible location, server, etc. for responsive

documents that may have not yet been turned over to counsel, but at the present, it appears as

though Plaintiff has already received the vast majority, it not all, of Defendants’ responsive

documents. Even if Plaintiff were to have more than just conclusory allegations that documents

had been wrongfully withheld (or other evidence lost or destroyed), death penalty sanctions would

not be supported. Rather, Plaintiff should be seeking sanctions along the lines of a spoliation

finding or instruction, not a default judgment as to liability on claims that are dubious at best and

are likely time barred under the applicable statute of limitations. A default judgment is not the right

answer in this case, and such a sanction, particularly where the undersigned and Defendants have

taken many steps to supplement production and comply with Defendants’ discovery obligations,

would be unduly harsh and a violation of Defendants’ due process rights in this case. The Court

should deny Plaintiff’s motion for default judgment.

                                  ARGUMENT AND AUTHORITIES

       Rule 215.2 allows a trial court to sanction a party for failure to comply with a discovery

order or request. See TEX. R. CIV. P. 215.2; see also Cire v. Cummings, 134 S.W.3d 835, 839 (Tex.

2004). Among the sanctions available under rule 215.2 are orders “striking out pleadings or parts

thereof,” “dismissing with or without prejudice the actions or proceedings or any part thereof,”

and “rendering a judgment by default against the disobedient party.” See TEX. R. CIV. P.



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215.2(b)(5). These sanctions, that adjudicate a claim and preclude presentation of the merits of the

case, are often referred to as “death penalty” sanctions. Cire, 134 S.W.3d at 840-41; see also

Transamerican, 811 S.W.2d at 918; see also Perez v. Murff, 972 S.W.2d 78, 81 (Tex. App.—

Texarkana 1998, pet. denied). There is no doubt that Plaintiff is seeking such death penalty

sanctions by way of a default judgment on liability.

       “Death penalty” sanctions are harsh, and generally, “courts must impose—not just

consider—lesser sanctions before resorting to the “death penalty.” Gunn, 397 S.W.3d at 366 (citing

Cire, 134 S.W.3d at 842). A trial court may not impose sanctions that are more severe than

necessary to satisfy legitimate purposes. In re RH White Oak, LLC, 442 S.W.3d 492, 501 (Tex.

App.—Houston [14th Dist.] 2014, orig. proceeding) (citing Cire, 134 S.W.3d at 839).

       In the context of discovery disputes and sanctions requests, a discovery sanction must be

just; a direct relationship must exist between the improper conduct and the sanction imposed, and

the sanction “should be no more severe than necessary to satisfy its legitimate purposes.” Gunn v.

Fuqua, 397 S.W.3d 358, 366 (Tex. App.—Dallas 2013, pet. denied) (quoting TransAmerican Nat.

Gas Corp. v. Powell, 811 S.W.2d 913, 917 (Tex. 1991) (orig. proceeding)). Discovery sanctions

serve to secure compliance with the discovery rules, deter other litigants from violating the

discovery rules, and punish those who violate the rules. Id. (citing 5 Star Diamond, LLC v. Sing,

369 S.W.3d 572, 577 (Tex. App.—Dallas 2012, no pet.)).

       Under the first prong—the direct relationship prong—such a direct relationship exists if a

trial court directs the sanction against the abuse found and it remedies the prejudice caused to the

innocent party. TransAmerican, 811 S.W.2d at 917. This means that the trial court must also at

least attempt to determine whether the offensive conduct is attributable to counsel only, or to the

party only, or to both. Id. Under the second prong, sanctions must not be excessive, and the trial



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court must have considered whether lesser sanctions were available that would have fully

promoted compliance. Id. Generally, before a sanction that prevents a decision on the merits is

justified, lesser sanctions must first be tested to determine their efficacy. In re RH White Oak, 442

S.W.3d at 502 (citing Cire, 134 S.W.3d at 840). In all but the most exceptional cases, the trial court

must actually test the lesser sanctions before striking pleadings (or rendering a default judgment).

Cire, 134 S.W.3d at 840.

       Further, the Texas Supreme Court has explained that the imposition of very severe

sanctions is not only limited by the above-referenced standards, but also by constitutional due

process:

               Discovery sanctions cannot be used to adjudicate the merits of a
               party’s claims or defenses unless a party’s hindrance of the
               discovery process justifies a presumption that its claims or defenses
               lack merit. However, if a party refuses to produce material
               evidence, despite the imposition of lesser sanctions, the court may
               presume that an asserted claim or defense lacks merit and dispose
               of it. Although punishment and deterrence are legitimate purposes
               for sanctions, they do not justify trial by sanctions. Sanctions which
               are so severe as to preclude presentation of the merits of the case
               should not be assessed absent a party’s flagrant bad faith or
               counsel’s callous disregard for the responsibilities of discovery
               under the rules.

TransAmerican, 811 S.W.2d at 918.

       This case is not the “exceptional case” warranting “death penalty” sanctions at this juncture

of the litigation. See Cire, 134 S.W.3d at 842. As Plaintiff concedes, there has only been (1) motion

to compel granted by the Court that likewise resulted in monetary sanctions being issued against

Defendants. No other sanctions have ever been issued by the Court, and Plaintiff’s conclusory

claim that lesser sanctions, if any, would be ineffective to promote further compliance with the

discovery rules has no merit.




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A.      Plaintiff’s Citations Mislead the Court as to Whether the Court Should Consider
        Alleged Discovery Violations in Other Cases.

        Plaintiff’s supplemental brief makes the argument that this Court can and should consider

discovery disputes in Lafferty (the Connecticut state court cases) and the other separate Sandy

Hook cases pending in this Court (Lewis and Pozner). See Supp. Brief at 41-44. Yet, a thorough

review of the cases cited by Plaintiff in support of this contention demonstrate Plaintiff has misled

the Court and cherry-picked phrases out of certain decisions to support its meritless position. For

example, Plaintiff cites to Buck v. Estate of Buck, 291 S.W.3d 46, 56 (Tex. App.—Corpus Christi

2009, no pet.) for the claim that “the trial court may consider action taken in another court when

that action is relevant to the case pending before the trial court.” See Supp. Brief at 42. But a review

of that decision demonstrates that (1) that quoted language came from an entirely different case

cited in Buck; and (2) the “another court” language was actually speaking to a decision made by a

trial court in a case prior to the case being consolidated and moved to another court, i.e., it was a

decision from a different trial court but in the same exact case. See Braden v. South Main Bank,

837 S.W.2d 733, 736-37 (Tex. App.—Houston [14th Dist.] 1992, writ denied).

        Notably, none of the cases cited by Plaintiff—the vast majority of which are non-Texas

cases—supports the position that the Court can consider alleged discovery violations in entirely

separate matters. In particular, none of the cases referenced by Plaintiff stand for the proposition

that discovery issues involving different plaintiffs with a much different scope of discovery (such

as the situation in Lafferty) can serve as the basis for jumping immediately to “death penalty”

sanctions. Indeed, such a consideration would actually be in violation of the “direct relationship”

standard consistently utilized by Texas courts. Plaintiff’s motion and supplemental brief do

nothing to demonstrate how Plaintiff has been prejudiced in any way by the discovery situations

in any of the other Sandy Hook cases, whether they are in Connecticut or Texas. Similarly, because


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any punishment should fit the alleged crime and should only “remedy the prejudice caused the

innocent party,” it is incumbent upon Plaintiff to explain why he should receive any sort of benefit

from the discovery orders in any of these other matters referenced throughout his briefing. See

Christus Health Gulf Coast v. Carswell, 505 S.W.3d 528, 540 (Tex. 2016).

       Plaintiff has tellingly cited no Texas case law interpreting Rule 215’s “direct relationship”

requirement to allow the imposition of sanctions based upon alleged wrongdoing in other, separate

causes of action, much less situations in lawsuits filed in entirely different states. Instead, Texas

courts seem very reluctant to allow Rule 215 to be used as a sort of score-settling mechanism for

even closely related litigation or litigants. See, e.g, Kings Park Apts. v. Nat’l Union Fire Ins. Co.,

101 S.W.3d 525, 541 (Tex. App.—Houston [1st Dist.] 2003, pet. denied). More to the point, it is

again important to remember that the alleged discovery abuses by Defendants in this case concerns

only discovery related to Defendants’ TCPA motion to dismiss—as to which only limited

discovery was permissible under TEX. CIV. PRAC. & REM. CODE § 27.006(b)—these alleged abuses

do not pertain to general discovery issued by Plaintiff which encompass the entirety of the merits

of Plaintiff’s claims. Consequently, it would be wholly inappropriate and far too excessive to grant

a default judgment to Plaintiff as to liability for the entirety of his IIED claims when the discovery

at issue was only limited as to the issues in Defendants’ TCPA motion to dismiss.

B.     A Default Judgment Would be Excessive and is Not Supported by the Record,
       Regardless of Plaintiff’s Incendiary Accusations.

       As stated above, a discovery sanction must be just; a direct relationship must exist between

the improper conduct and the sanction imposed, and the sanction “should be no more severe than

necessary to satisfy its legitimate purposes.” Gunn, 397 S.W.3d at 366 (quoting TransAmerican,

811 S.W.2d 913, 917 (Tex. 1991) (orig. proceeding)); see also Brookshire Bros., Ltd. v. Aldridge,

438 S.W.3d 9, 21 (Tex. 2014). Here, despite the discovery at issue being only that limited


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discovery available under Tex. Civ. Prac. & Rem. Code § 27.006(b), Plaintiff is seeking to

circumvent the entire litigation process by requesting death penalty sanctions as to the merits on

liability, when this case is, procedurally speaking, still at its initial stages. In essence, Plaintiff is

seeking to have the Court punish Defendants for availing themselves of the legally available right

to file a TCPA motion to dismiss and subsequently conduct an interlocutory appeal when such

motion was denied by the Court. But that is not how sanctions work, and that certainly does not

justify the imposition of death penalty sanctions.

           “Death penalty” sanctions are harsh, and generally, “courts must impose—not just

consider—lesser sanctions before resorting to the “death penalty.” Gunn, 397 S.W.3d at 366 (citing

Cire, 134 S.W.3d at 842). A trial court may not impose sanctions that are more severe than

necessary to satisfy legitimate purposes. In re RH White Oak, 442 S.W.3d at 501 (citing Cire, 134

S.W.3d at 839). While Plaintiff has provided voluminous briefing and hundreds of pages of

exhibits in support of his motion for default judgment, there are glaring omissions from Plaintiff’s

motion and supplemental brief that deem that his request for a default judgment should be denied.

Most importantly, Plaintiff in no ways discusses the extent of any alleged discovery abuses and

any direct relationship between those alleged abuses and Plaintiff’s claims, nor does Plaintiff make

any attempt to actually demonstrate that he has been prejudiced in any way. Rather, Plaintiff just

presupposed that the Court should assume he has been prejudiced based on conclusory allegations

and regurgitation of his prior arguments that have already been considered and ruled upon by Judge

Jenkins.

        Even if Plaintiff’s claims of discovery abuse are all taken as true, a default judgment

sanction would still be far too excessive, and that would go far beyond that necessary to secure

compliance with the discovery rules. See In re RH White Oak, 442 S.W.3d at 501 (citing Cire, 134



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S.W.3d at 839). In fact, no sanctions at all are necessary at this stage, as Defendants have already

taken, and continue to take, necessary steps to supplement their discovery responses to ensure

compliance with their discovery obligations. While Plaintiff discounts the initial 77,000 pages of

documents that were produced as largely containing non-responsive materials, Plaintiff truly

makes no effort to provide evidentiary support for this allegation. Moreover, Defendants have also

further supplemented their production with an additional approximately 7,000 pages of documents,

which the undersigned personally reviewed and represents to the Court are documents that are

directly responsive to Plaintiff’s discovery requests to date.

       Defendants and the undersigned also continue to take significant efforts to review

additional documents for responsiveness and will continue to supplement their production on a

timely and regular basis to ensure full compliance with their discovery obligations under the Texas

rules. This is simply not the “egregious” or “exceptional” case warranting the death penalty

sanctions sought by Plaintiff, and the “rendition of default judgment as a discovery sanction ought

to be the exception rather than the rule.” TransAmerican, 811 S.W.2d at 918-19. Because of the

current procedural posture of this case, and because Defendants have continued to take the

necessary steps to address any alleged discovery deficiencies, this Court should not allow Plaintiff

to conduct a “trial by sanction” instead of having to prove the merits of his IIED claims. Id.; see

also Altesse Healthcare Solutions v. Wilson, 540 S.W.3d 570, 572 (Tex. 2018). In fact, the lack of

any true specificity by Plaintiff as to what discovery has not been properly responded to (at least

in Plaintiff’s eyes) beyond Plaintiff’s generalized claim that Defendants have abused the discovery

process cannot serve as a legitimate basis for any death penalty sanctions. As such, the Court

should deny Plaintiff’s motion for default judgment.




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C.     Plaintiff’s Ridiculous Claims that Default Sanctions are Warranted Because Infowars
       Endangers the Parties and the Court Have No Merit and Cannot Serve as a Basis for
       Discovery-Related Sanctions.

       Plaintiff’s last-ditch argument to secure death penalty sanctions is the meritless contention

that such sanctions are warranted because Defendants have somehow “threatened the safety of

everyone involved.” See Supp. Brief at 49. Again, Plaintiff relies upon situations that purportedly

were addressed in the Lafferty case in Connecticut, while also claiming—without any real

evidence—that Plaintiff’s counsel has received death threats in this case. Unsurprisingly, Plaintiff

has not actually claimed that any of the Defendants caused these death threats to occur, to the

extent they even did occur. In addition, the fact that Defendants have at one time or another

expressed their displeasure and disagreement with the merits of any of the Sandy Hook-related

claims does not support the entering of a default judgment on liability for Plaintiff’s dubious IIED

claims. Regardless of whether any of these allegations are true, such ridiculous assertions have no

bearing on whether default judgment should be issued as a sanction for alleged discovery abuses.

They are simply a thinly veiled attempt by Plaintiff to further bias the Court against Defendants

due solely to Defendants’ exercise of their First Amended right to free speech, but that certainly

cannot be the basis for any discovery sanctions. The Court should thus deny Plaintiff’s motion for

default judgment and allow this case to proceed to a trial on its merits.

                                              Prayer

       WHEREFORE, PREMISES CONSIDERED, Defendants pray that the Court deny

Plaintiff’s motion for a default judgment as discovery sanctions, along with such other and further

relief to which Defendants may be justly entitled.

Dated: August 30, 2021.




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                                           Respectfully submitted,

                                           By:    /s/ Bradley J. Reeves            _
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                                           brad@brtx.law
                                           REEVES LAW, PLLC
                                           702 Rio Grande St., Suite 203
                                           Austin, TX 78701
                                           Telephone: (512) 827-2246
                                           Facsimile: (512) 318-2484

                                           ATTORNEY FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 30, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56762308
Status as of 8/30/2021 8:18 PM CST

Associated Case Party: NeilHeslin

Name                BarNumber   Email                TimestampSubmitted     Status

Mark D.Bankston                 mark@fbtrial.com     8/30/2021 9:06:31 AM   SENT



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Carmen Scott                      carmen@fbtrial.com                 8/30/2021 9:06:31 AM   SENT
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                                  CAUSE NO. D-1-GN-18-001835                                D-1-GN-18-001835
                                                                                            Jonathan Sanders

  NEIL HESLIN,                                   §            IN THE DISTRICT COURT OF
                                                 §
                     Plaintiff,                  §
                                                 §
                                                 §
  v.                                             §               TRAVIS COUNTY, TEXAS
                                                 §
                                                 §
  ALEX E. JONES, INFOWARS, LLC,                  §
  FREE SPEECH SYSTEMS, LLC; AND                  §
  OWEN SHROYER                                   §
                                                 §
                     Defendants,                 §                261st JUDICIAL DISTRICT

                       DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                   SECOND MOTION FOR CONTEMPT UNDER RULE 215

         Defendants, Alex E. Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer

(collectively “Defendants”), file this response to Plaintiff’s Second Motion for Contempt Under

Rule 215, and would show unto the Court as follows:

                                     SUMMARY OF RESPONSE

         Plaintiff’s motion seeks contempt sanctions related to alleged discovery abuses by

Defendants, yet his motion fails to provide any specificity as to what conduct the Court should be

sanctioning. Plaintiff’s motion—essentially verbatim to that filed by Scarlett Lewis against

Defendants in Cause No. D-1-GN-18-00623—fails to provide any pointed explanation as to what

alleged discovery abuses by Defendants are ongoing which would warrant a contempt finding

beyond making the nebulous, conclusory claims that Defendants have failed to adhere to their

discovery obligations. Indeed, Plaintiff’s motion provides no evidence to support his request for a

contempt finding except for exhibits of her past pleadings (which are not evidence), irrelevant

orders from cases in Connecticut, and an email from the undersigned acknowledging that counsel

was working to get up to speed with discovery to in all these matters to ensure discovery



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obligations had been met. Plaintiff’s motion also does not take into account the recent discovery

supplementation from Defendants wherein Defendants have produced approximately 7,000 pages

of additional, responsive documents.

       Rather than allow the undersigned sufficient time to ensure discovery obligations had been

met, or to take the necessary actions to meet Defendants’ discovery obligations—and knowing full

well that the undersigned was beginning a 2-week jury trial with Judge Meachum beginning July

12th—Plaintiff and her counsel filed this unnecessary motion for contempt fraught with incendiary

allegations and innuendo. Because Plaintiff has failed to provide the appropriate level of detail

setting out how, when, and by what means Defendants have abused the discovery process such

that a contempt finding should occur, this Court should deny Plaintiff’s motion.

       Moreover, there is simply no reason for the Court to enter any contempt finding.

Defendants have not willingly or intentionally violated any court order, and the undersigned has

been working diligently to ensure Defendants’ compliance with their discovery obligations in this

case. To wit, Defendants have produced an additional approximately 7,000 pages of documents

which are responsive to Plaintiff’s discovery requests, and the undersigned is continuing to review

additional documents to determine if further responsive documents exist necessitating further

supplementation. Given that procedurally, this case is just now in the throes of discovery in this

matter—whereas Plaintiff’s initial discovery requests were allowed as limited discovery under

TEX. CIV. PRAC. & REM. CODE § 27.006(b). Consequently, Defendants are complying with and

will continue to comply with their discovery obligations in this case, including as directed by prior

orders of the Court. As such, there is no need or meritorious basis to impose any sanctions against

Defendants, including a finding of contempt, and the Court should deny Plaintiff’s motion.




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                         RESPONSE TO SECOND MOTION FOR CONTEMPT

       Plaintiff’s motion is littered with inflammatory language and sensational assertions all with

the goal of having this Court find Defendants in contempt without Plaintiff specifying the alleged

conduct for which a contempt finding should occur beyond generalized statements alleging

Defendants’ non-compliance with discovery orders. However, Plaintiff’s motion is procedurally

improper because it fails to state whether Plaintiff is seeking a civil or criminal contempt finding

against Defendants, thus making it impossible to determine whether the legally required notice

regarding such a request for a contempt finding has actually occurred. See, e.g., In re Wal-Mart

Stores, Inc., 545 S.W.3d 626, 632 (Tex. App.—El Paso 2016, orig. proceeding) (citing In re

Moreno, 328 S.W.3d 915, 918 (Tex. App.—Eastland 2010, orig. proceeding)) (discussing how a

motion for criminal contempt requires that the alleged contemnor be personally served and that

notice given to the attorney is inadequate). Plaintiff’s motion likewise fails to point to any specific

conduct or alleged violations of any court orders beyond broad assertions of Defendants’ failures

to comply with its discovery obligations and the Court’s discovery orders. As such, Plaintiff’s

motion for contempt should be denied.

                                  ARGUMENT AND AUTHORITIES

       While it is true that punishment for contempt of court is authorized under TEX. R. CIV. P.

215.2(b)(6) for failure to obey an order regarding discovery, the burden is on Plaintiff to clearly

establish that Defendants have actually failed to obey such an order. In re Ragland, 973 S.W.2d

769, (Tex. App.—Tyler 1998, orig. proceeding). Courts use civil contempt to coerce parties to

comply with a court order, usually through a conditional penalty. Khan v. Valliani, 439 S.W.3d

528, 536 (Tex. App.—Houston [14th Dist.] 2014, no pet.). Contempt has been broadly defined by

Texas courts to mean “disobedience to or disrespect of a court by acting in opposition to its



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authority.” In re Reece, 341 S.W.3d 360, 364 (Tex. 2011) (orig. proceeding) (quoting Ex parte

Chambers, 898 S.W.2d 257, 259 (Tex, 1995) (orig. proceeding)). While contempt is an inherent

power of a court, the Texas Supreme Court has “warned it is a tool that should be exercised with

caution.” Id. (citing Herring v. Houston Nat’l Exch. Bank, 255 S.W. 1097, 1104 (Tex. 1923) (orig.

proceeding)). Contempt may occur in the presence of a court (direct contempt), or outside the

court’s presence (constructive contempt). Ex parte Gordon, 584 S.W.2d 686, 688 (Tex. 1979) (org.

proceeding). This is obviously an allegation by Plaintiff that constructive contempt has occurred.

       Contempt is further classified into ether civil or criminal contempt. In re Reece, 341

S.W.3d at 365. Civil “contempt is ‘remedial and coercive in nature’—the contemnor carries the

keys to the jail cell in his or her pocket since the confinement is conditioned on obedience with the

court’s order.” Id. (quoting Ex parte Werblud, 536 S.W.2d 542, 545 (Tex. 1979) (orig.

proceeding)). While a court has the inherent power and authority to find a party in contempt, that

ability to punish for contempt is not unfettered. Id. at 366. Rather, an act must “impede, embarrass,

or obstruct the court in the discharge of its duties in order to constitute constructive contempt.” Id.

(citing Ex parte Norton, 191 S.W.2d 713, 714 (Tex. 1946) (orig. proceeding)). “The essence of

contempt is the contemn[o]r’s conduct obstructs or tends to obstruct the proper administration of

justice.” Id. (quoting Lee v. State, 799 S.W.2d 750, 752 (Tex. Crim. App. 1990)); see also Ex parte

Gibson, 811 S.W.2d 594, 596 (Tex. Crim. App. 1991).

       The distinction between the two types of contempt is important because more procedural

safeguards are afforded to constructive contemnors than to direct contemnors. Ex parte Werblud,

536 S.W.2d at 546. Due process requires that the constructive contemnor be given “full and

complete notification” and a reasonably opportunity to meet the charges by way of defense or

explanation. Shook v. Gilmore Tatge Mfg. Co., 851 S.W.2d 887, 893 (Tex. App.—Waco 1993,



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writ denied) (citing Ex parte Edgerly, 441 S.W.2d 514, 516 (Tex. 1969) (orig. proceeding)). Here,

any alleged notice to Defendants is only by way of Plaintiff’s vague, generalized statements that

Defendants have failed to comply with the Court’s prior discovery order. Plaintiff makes no effort

to state with any relative specificity how Defendants have failed to comply with such orders,

leaving Defendants to blindly guess as to how to defend themselves against Plaintiff’s motion. The

mere fact that the undersigned asked Plaintiff’s counsel for an opportunity to get up to speed on

the file, particularly as it pertains to discovery—which is the only specific argument raised in

Plaintiff’s motion—is in no way evidence of willful or intentional disobedience of a court order

for which a contempt finding could occur. In fact, it proves the exact opposite—that Defendants

and their counsel were doing everything within their power to comply with their discovery

obligations and the Court’s prior discovery orders.

       Plaintiff’s motion should likewise be denied because he fails to adequately notify

Defendants as to whether he is seeking civil contempt, criminal contempt, or both. The distinction

is crucial because a request for criminal contempt must meet the required notice under the law,

which means Defendants must have been personally served with Plaintiff’s motion for contempt—

service on Defendants’ attorney is insufficient. In re Wal-Mart Stores, 545 S.W.3d at 632 (citing

In re Moreno, 328 S.W.3d at 918). Because it is impossible to determine what remedy Plaintiff is

seeking on the face of her pleadings, the lack of specificity and generalized allegations fail to

provide the level of notice required for the Court to enter a finding of contempt. Thus, the Court

should deny Plaintiff’s motion for contempt.

       That notwithstanding, in the context of discovery disputes and sanctions requests, a

discovery sanction must be just; a direct relationship must exist between the improper conduct and

the sanction imposed, and the sanction “should be no more severe than necessary to satisfy its



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legitimate purposes.” Gunn v. Fuqua, 397 S.W.3d 358, 366 (Tex. App.—Dallas 2013, pet. denied)

(quoting TransAmerican Nat. Gas Corp. v. Powell, 811 S.W.2d 913, 917 (Tex. 1991) (orig.

proceeding)). Discovery sanctions serve to secure compliance with the discovery rules, deter other

litigants from violating the discovery rules, and punish those who violate the rules. Id. (citing 5

Star Diamond, LLC v. Sing, 369 S.W.3d 572, 577 (Tex. App.—Dallas 2012, no pet.)).

       Under the first prong—the direct relationship prong—such a direct relationship exists if a

trial court directs the sanction against the abuse found and it remedies the prejudice caused to the

innocent party. TransAmerican, 811 S.W.2d at 917. This means that the trial court must also at

least attempt to determine whether the offensive conduct is attributable to counsel only, or to the

party only, or to both. Id. Under the second prong, sanctions must not be excessive, and the trial

court must have considered whether lesser sanctions were available that would have fully

promoted compliance. Id. Generally, before a sanction that prevents a decision on the merits is

justified, lesser sanctions must first be tested to determine their efficacy. In re RH White Oak, LLC,

442 S.W.3d 492, 502 (Tex. App.—Houston [14th Dist.] 2014, orig. proceeding) (citing Cire v.

Cummings, 134 S.W.3d 835, 840 (Tex. 2004)). These factors apply to all types of possible

discovery sanctions, including holding a party in contempt. Shook, 851 S.W.2d at 892.

       Taking these two prongs into consideration in this case, a finding of contempt against

Defendants in this context would be excessive and would not be a punishment that fits the alleged

crime. Moreover, holding Defendants in contempt when Plaintiff has failed to adequately provide

Defendants with true notice of the underlying issues at the heart of his contempt request would

violate Defendants’ due process rights. Ex parte Edgerly, 441 S.W.2d at 516. As stated above,

Plaintiff’s failure to even state in his motion whether she is seeking criminal or civil contempt

against Defendants demonstrates his motion is improper and inadequate notice has been given to



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Defendants such that any finding of contempt would be in violation of their due process rights.

       Finally, Defendants’ continued participation in the discovery process, including recent

supplementation of their production, demonstrates that Defendants are not disobeying any court

order and that no sanctions at all are necessary at this stage. Defendants have already taken, and

will continue to take, necessary steps to supplement their discovery responses to ensure

compliance with their discovery obligations. Plaintiff may discount the initial 77,000 pages of

documents that were produced as largely containing non-responsive materials, but Plaintiff truly

makes no effort to provide evidentiary support for this allegation. Moreover, Defendants have also

further supplemented their production with an additional approximately 7,000 pages of documents,

which the undersigned personally reviewed and represents to the Court are documents that are

directly responsive to Plaintiff’s discovery requests to date.

       Defendants and the undersigned also continue to take significant efforts to review

additional documents for responsiveness and will continue to supplement their production on a

timely and regular basis to ensure full compliance with their discovery obligations under the Texas

rules. This is simply not the type of situation warranting any finding of contempt. Because of the

current procedural posture of this case, and because Defendants have continued to take the

necessary steps to address any alleged discovery deficiencies, this Court should deny Plaintiff’s

motion for contempt.

                                               Prayer

       WHEREFORE, PREMISES CONSIDERED, Defendants pray that the Court deny

Plaintiff’s second motion for contempt, along with such other and further relief to which

Defendants may be justly entitled.

Dated: August 30, 2021.



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                                           Respectfully submitted,

                                           By:    /s/ Bradley J. Reeves            _
                                           Bradley J. Reeves
                                           Texas Bar No. 24068266
                                           brad@brtx.law
                                           REEVES LAW, PLLC
                                           702 Rio Grande St., Suite 203
                                           Austin, TX 78701
                                           Telephone: (512) 827-2246
                                           Facsimile: (512) 318-2484

                                           ATTORNEY FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 30, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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Bradley Reeves on behalf of Bradley Reeves
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Status as of 8/31/2021 10:13 AM CST

Associated Case Party: NeilHeslin

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Mark D.Bankston                 mark@fbtrial.com     8/30/2021 1:00:55 PM   SENT



Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted     Status

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov    8/30/2021 1:00:55 PM   SENT

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Marc Randazza                     ecf@randazza.com                   8/30/2021 1:00:55 PM   SENT

William Ogden                     bill@fbtrial.com                   8/30/2021 1:00:55 PM   SENT

Bradley Reeves                    brad@brtx.law                      8/30/2021 1:00:55 PM   SENT

Carmen Scott                      carmen@fbtrial.com                 8/30/2021 1:00:55 PM   SENT
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Associated Case Party: NeilHeslin

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Mark D.Bankston                 mark@fbtrial.com     8/31/2021 4:29:28 PM   SENT



Associated Case Party: AlexE.Jones

Name                BarNumber   Email                         TimestampSubmitted     Status

T. Wade Jefferies               twadejefferies@twj-law.com 8/31/2021 4:29:28 PM      SENT



Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted       Status

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William Ogden                     bill@fbtrial.com                   8/31/2021 4:29:28 PM     SENT

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Associated Case Party: InfoWars, LLC

Name                BarNumber   Email                         TimestampSubmitted     Status

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Associated Case Party: Free Speech, LLC
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Associated Case Party: Owen Shroyer

Name                BarNumber   Email                      TimestampSubmitted     Status

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Associated Case Party: AlexE.Jones

Name                BarNumber   Email                       TimestampSubmitted     Status

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Case Contacts

Name                 BarNumber    Email                             TimestampSubmitted      Status

Scott Weatherford                 sweatherford@jw.com               8/31/2021 4:29:28 PM    SENT

Joshua ARomero                    jromero@jw.com                    8/31/2021 4:29:28 PM    SENT

Charles L.Babcock                 cbabcock@jw.com                   8/31/2021 4:29:28 PM    SENT

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William Ogden                     bill@fbtrial.com                  8/31/2021 4:29:28 PM    SENT

Bradley Reeves                    brad@brtx.law                     8/31/2021 4:29:28 PM    SENT

Carmen Scott                      carmen@fbtrial.com                8/31/2021 4:29:28 PM    SENT



Associated Case Party: InfoWars, LLC

Name                BarNumber   Email                       TimestampSubmitted     Status

T. Wade Jefferies               twadejefferies@twj-law.com 8/31/2021 4:29:28 PM    SENT



Associated Case Party: Free Speech, LLC

Name                BarNumber   Email                       TimestampSubmitted     Status

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Associated Case Party: Owen Shroyer
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Envelope ID: 56841596
Status as of 9/7/2021 2:11 PM CST

Associated Case Party: Owen Shroyer

Name                BarNumber   Email                       TimestampSubmitted     Status

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Associated Case Party: NeilHeslin

Name                BarNumber   Email              TimestampSubmitted     Status

Mark D.Bankston                 mark@fbtrial.com   8/31/2021 4:29:28 PM   SENT
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                                                                               Travis County
                                                                            D-1-GN-18-001835
                             D-1-GN-18-001835                                    Gilberto Rios

 NEIL HESLIN                            §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 FREE SPEECH SYSTEMS, LLC, and          §                 459th DISTRICT COURT
 OWEN SHROYER,                          §
   Defendants                           §

                             D-1-GN-18-001842
 LEONARD POZNER AND                     §                IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                   §
   Plaintiffs                           §
                                        §                TRAVIS COUNTY, TEXAS
 VS.                                    §
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §                 459th DISTRICT COURT
 AND FREE SPEECH SYSTEMS, LLC,          §
   Defendants                           §

                             D-1-GN-18-006623
 SCARLETT LEWIS                         §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 AND FREE SPEECH SYSTEMS, LLC,          §                 459th DISTRICT COURT
   Defendants                           §



               PLAINTIFFS’ NOTICE OF FILING DECLARATION
                     REGARDING ATTORNEYS’ FEES



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       Come now Plaintiffs, and pursuant to the Court’s instructions at the August

31, 2021 oral hearing, hereby give notice of filing of their counsel’s declaration

regarding attorney fees, attached herein at “Exhibit 1.”

                                        Respectfully submitted,

                                        KASTER LYNCH FARRAR & BALL, LLP


                                        ____________________________________
                                        MARK D. BANKSTON
                                        State Bar No. 24071066
                                        WILLIAM R. OGDEN
                                        State Bar No. 24073531
                                        1117 Herkimer
                                        Houston, Texas 77008
                                        713.221.8300 Telephone
                                        713.221.8301 Fax




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                          CERTIFICATE OF SERVICE

      I hereby certify that on September 1, 2021 the forgoing document was served
upon all counsel of record via electronic service.




                                     ____________________________________
                                     MARK D. BANKSTON




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                        DECLARATION OF MARK BANKSTON

STATE OF TEXAS §
               §
HARRIS COUNTY §

   I, Mark Bankston, declare under penalty of perjury that the following declaration is true and

correct and based upon my personal knowledge:

   1.    My name is Mark Bankston. I am over the age of 21 and competent to make this
         declaration.

   2.    I am a partner at the law firm Kaster Lynch Farrar & Ball, LLP in Houston, Texas. My
         partners and I specialize in various areas of plaintiffs’ trial law, including products
         liability, civil rights, mass torts, and media law.

   3.    As a civil litigator, I have twelve years of experience in handling tort lawsuits. I have
         tried more than a dozen injury lawsuits to a jury. I have represented scores of clients in
         over twenty different states in connection with various product liability, civil rights,
         employment, and negligence cases in state and federal court. I have also represented
         plaintiffs in over a dozen appellate victories at the state and federal level.

   4.    Since 2017, I have served on the Steering Committee for MDL-2666, In re Bair Hugger
         Products Liability Litigation, pending in U.S. District Court for the District of
         Minnesota. I am also the Plaintiffs’ Briefing Chair for that consolidated proceeding. My
         billing is submitted to the Steering Committee at a rate of $550 per hour.

   5.    When I first began the InfoWars lawsuits cases three years ago, I valued my billing rate
         for this litigation at $450 per hour. Last year, I increased that rate, and in 2020, the
         declarations I submitted in these cases were raised to $550 per hour, due to recent events
         in my legal career.

   6.    My law firm has experienced extraordinary success over the past three years. After we
         filed these lawsuits, my firm garnered significant attention for our eight-figure trial
         verdict and multiple related settlements in Brown v. Silvi, a Pennsylvania lawsuit in
         which both a mother and her 18-month-old child suffered limb amputations due to
         corporate negligence. My firm also received attention for our $7.2 million verdict in
         Breaux v. Goodyear, a Louisiana tire defect lawsuit in which a state maintenance worker
         was killed by the concussive force of an exploding tire.

   7.    In 2019, I briefed the successful appeal in Bandemer v. Ford Motor Co., which won at
         the Minnesota Supreme Court on a hotly litigated issue on the contacts necessary to
         establish specific jurisdiction. My partner Kyle Farrar argued Bandemer to the

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               Minnesota Supreme Court. In 2020, the U.S. Supreme Court accepted certiorari. I
               worked with D.C. law firm Gupta Wessler in briefing the case to the Supreme Court,
               where we were ultimately victorious against Ford and its numerous amici. I have spoken
               to multiple legal conferences who invited me to hear about this critical victory.

       8.      In 2020, my firm was named a top five finalist for the National Law Journal’s Elite Trial
               Lawyers “Law Firm of the Year” for products liability litigation.

       9.      From 2019-2020, I received significant national attention and accolades due to my work
               in these InfoWars cases. The Plaintiffs’ fight against Mr. Jones’ persistent discovery
               abuse has attracted substantial public interest and media coverage.

       10.     Alex Jones even acknowledged the national accolades I have received, stating on his
               April 4, 2019 show, “They talk about how incredible this lawyer is, the new Perry
               Mason.” 1 I have also received significant attention simply for being the lawyer who was
               able to have Mr. Jones admit under oath that the Sandy Hook shooting really happened.

       11.     In 2020, my national profile in mass media defamation litigation increased with my
               representation of Imran Awan in his suit against Tucker Carlson’s Daily Wire and other
               fake news outlets. Mr. Awan, a Democratic Congressional aide, was smeared with
               fabricated allegations about an IT hacking scandal in Congress. Mr. Awan is the
               “mysterious Pakistani gentleman” who President Trump infamously alleged could be
               responsible for the Wikileaks DNC hack during his joint press conference with Vladimir
               Putin in Helsinki.

       12.     The InfoWars lawsuits pending in this Court require an attorney who is both capable
               and willing to handle this unusually demanding, extraordinarily high-profile litigation.
               Moreover, the gravity of the default sanctions dispute currently before the Court is
               extreme.

       13.     These motions presented complicated legal and evidentiary issues which required an
               attorney of a high level of competence.

       14.     I am personally familiar with the rates charged by other attorneys of my experience and
               professional background in this locality, as well as rates charged by attorneys in high-
               profile defamation lawsuits, and it is my opinion that $550 per hour is a reasonable rate
               for the work necessary in connection with these motions.

       15.     The following legal services were rendered since remand on June 4, 2021 concerning
               the motions pending at the Court’s August 31, 2021 hearing:



1
    See Neil Heslin’s Supplemental Brief in Support of Default Sanctions, p. 50.

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      D-1-GN-19-004651 – Heslin v. Jones
      Supplemental Brief in Support of Motion for Default Judgment, filed June 28, 2021

            This brief was 54 pages along with 1,200 pages of exhibits. However, I was able to
            build on sections of prior briefing, both from the proceedings in 2019 and from the
            appeal. There was nonetheless significant new research and briefing required.

            I spent 12 hours researching law and reviewing the record, and I spent 18 hours
            writing and editing the brief. In total, the reasonable value of this time at $550/hour
            is $16,500.


      D-1-GN-18-001835 – Heslin v. Jones
      Second Motion for Contempt Under Rule 215, filed July 6, 2021

            This motion was 12 pages with 300 pages of exhibits. This brief described the
            history of discovery problems in the defamation case, as well as developments
            following appeal. It also described InfoWars’ frivolous litigation tactics in 2021,
            including a motion to depose Hillary Clinton. Fortunately no legal research was
            required for this motion.

            I spent 3.5 hours reviewing the record for materials. I spent 8 hours writing and
            editing the brief. In total, the reasonable value of this time at $550/hour is $6,325.


      D-1-GN-18-006623 – Lewis v. Jones
      Lewis Motion for Contempt Under Rule 215, filed July 6, 2021

            This motion was 12 pages with 300 pages of exhibits. This brief was able to use
            much of the material from the similar Heslin brief, but it required a unique factual
            background section and editing of the argument.

            I spent 2 hours reviewing the record, and I spent 2 hours drafting and editing the
            brief. In total, the reasonable value of this time at $550/hour is $2,200.


      D-1-GN-18-001842 – Pozner v. Jones
      Motion to Compel and Motion for Sanctions, filed July 27, 2021

            This motion was 6 pages long with 150 pages of exhibits. The motion required a
            detailed history of discovery, appeal, and events since remand, but no legal research
            was required.

            I spent 2.5 hours reviewing the record, and I spent 3 hours writing and editing the
            brief. In total, the reasonable value of this time at $550/hour is $3,025.



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      D-1-GN-19-001835 - Heslin v. Jones
      2nd Supp Brief in Support of Motion for Default Judgment, filed August 9, 2021

            I spent one hour preparing this brief regarding the recent sanctions in Lafferty. In
            total, the reasonable value of this time at $550/hour is $550.


      All Motions - Create Presentation for Hearing

            Plaintiffs’ hearing presentation was over 80 slides, and it required thorough
            attention to detail concerning the entire history of the Sandy Hook litigation in
            Texas and Connecticut.

            I spent 12 hours creating and editing the presentation. I spent 2 hours selecting and
            editing the compilation of testimony from Mr. Jones’ November 2019 deposition.
            In total, the reasonable value of this time at $550/hour is $7,700. Divided by four,
            the reasonable value for each motion is $1,925.


      All Motions - Review of Supplemental Documents

            On the eve of the hearing, Defendants produced 7,000 pages in supplemental
            documents. Given that Defendants intended to rely on this supplemental production
            as evidence of their compliance and good faith, I had to review the documents. This
            review was not for the purpose of finding merits-based information for later use,
            but to assess the nature of the production itself. This required itemizing categories
            of documents I would otherwise ignore. For merits purposes, I will have to review
            these documents again in the future.

            I spent 6 hours reviewing the documents, making notes, and comparing prior
            production. The reasonable value of my time at $550/hour is $3,300. Divided by
            four, the reasonable value for each motion is $825.


      All Motions - Responding to Correspondence

            I have spent a combined two hours reading and responding to the many
            correspondences from Defendants’ counsel relating to discovery since remand on
            June 4, 2021. The reasonable value of this time at $550/hour is $1,100. Divided by
            four, the reasonable value for each motion is $275.




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         All Motions – Preparing for the Hearing

               I spent four hours preparing for the hearing, including practicing the presentation
               and reviewing relevant documents. The reasonable value of this time at $550/hour
               is $2,200. Divided by four, the reasonable value for each motion is $550.


         All Motions – Reviewing Defendants’ Responses

               On the day before the hearing, Defendants filed four response briefs. I spent 2.5
               hours reviewing and making notes on these responses. The reasonable value of this
               time at $550/hour is $1,375. Divided by four, the reasonable value for each motion
               is $343.75


         All Motions – Time in the Hearing

               I spent three hours attending the hearing itself. The reasonable value of this time at
               $550/hour is $1,650. Divided by four, the reasonable value for each case is $412.50


   16.     There were a variety of other incidental legal services rendered which I did not track
           and are not being sought. There were also a variety of legal services rendered by my-
           counsel Bill Ogden which are not being sought as I conservatively believe the addition
           of his work would exceed the minimum level of reasonable and necessary services.

   17.     I provided a total of 83.5 hours of legal services. At $550 per hour, the value of those
           services is $45,925.


   Executed on September 1, 2021 in Harris County, Texas.




                                              ____________________________________
                                              MARK D. BANKSTON




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Carmen Scott on behalf of Mark Bankston
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Status as of 9/8/2021 4:41 PM CST

Associated Case Party: NeilHeslin

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Mark D.Bankston                 mark@fbtrial.com   9/1/2021 1:32:09 PM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted    Status

William Ogden                  bill@fbtrial.com     9/1/2021 1:32:09 PM   SENT

Bradley Reeves                 brad@brtx.law        9/1/2021 1:32:09 PM   SENT

Carmen Scott                   carmen@fbtrial.com 9/1/2021 1:32:09 PM     SENT
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                                                                                   Velva L. Price
                                                                                  District Clerk
                                                                                  Travis County
                              CAUSE NO. D-1-GN-18-001835                       D-1-GN-18-001835
                                                                                Nancy Rodriguez

  NEIL HESLIN,                             §         IN THE DISTRICT COURT OF
                                           §
                 Plaintiff,                §
                                           §
  v.                                       §               TRAVIS COUNTY, TEXAS
                                           §
  ALEX E. JONES, INFOWARS, LLC,            §
  FREE SPEECH SYSTEMS, LLC; AND            §
  OWEN SHROYER                             §
                                           §
                 Defendants,               §               459th JUDICIAL DISTRICT


                              CAUSE NO. D-1-GN-18-006623

  SCARLETT LEWIS,                          §         IN THE DISTRICT COURT OF
                                           §
                 Plaintiff,                §
                                           §
  v.                                       §               TRAVIS COUNTY, TEXAS
                                           §
  ALEX E. JONES, INFOWARS, LLC,            §
  AND FREE SPEECH SYSTEMS, LLC,            §
                                           §
                 Defendants,               §               459th JUDICIAL DISTRICT


                              CAUSE NO. D-1-GN-18-001842

  LEONARD POZNER AND                       §        IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA,                    §
                                           §
                 Plaintiff,                §
                                           §
  v.                                       §           TRAVIS COUNTY, TEXAS
                                           §
  ALEX E. JONES, INFOWARS, LLC,            §
  AND FREE SPEECH SYSTEMS, LLC,            §
                                           §
                 Defendants,               §           459th JUDICIAL DISTRICT


         DEFENDANTS’ OBJECTIONS AND RESPONSE TO PLAINTIFFS’
              DECLARATION REGARDING ATTORNEYS’ FEES
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TO THE HONORABLE JUDGE MAYA GUERRA GAMBLE:

         Pursuant to this Court’s order, Defendants in the above-captioned matters file this, their

objections and response to Plaintiffs’ declaration regarding attorneys’ fees, and would show unto

the Court as follows:

         The notice and declaration filed by Plaintiffs’ counsel on September 1, 2021 is insufficient

under the law and does not provide the Court with any adequate evidentiary basis by which to

award any of the Plaintiffs fees.1 First, as supported by the Declaration of Bradley Reeves attached

hereto as Exhibit 1, the $550.00/hour rate sought by Plaintiffs’ counsel is not reasonable and does

not comport with the rates of other attorneys with Mr. Bankston’s experience in the Austin area.

Mr. Bankston’s declaration makes the conclusory statement that he is “personally familiar with

the rates charged by other attorneys of [his] experience and professional background in this

locality,” but he provides no factual basis to support this claim or to demonstrate how he is familiar

with rates charged in Travis County. While Mr. Bankston has cases across the nation, his primary

practice locale is Houston, Harris County, Texas—an area in which attorneys charge roughly 15%

to 20% higher than attorneys in the Austin, Travis County area. See Ex. 1.

         Because Mr. Bankston’s declaration provides no underlying evidentiary basis to support

his conclusory statements that he has personal familiarity with rates charged in cases like this in

the Austin, Travis County, Texas area, Defendants object to this portion of the declaration (see

paragraph 14 of the declaration) on that basis. Defendants ask the Court to disregard this statement

in the declaration as conclusory and determine that there is no evidentiary support as to the

reasonableness of Mr. Bankston’s rates as stated in the declaration. Indeed, a reasonable rate for

the work performed in this case in the Austin, Travis County, Texas area would be closer to


1
 Plaintiffs’ declaration also pre-supposes that each of Plaintiffs’ motions will be granted, and in the event the Court
denies any of the motions, no fees should be awarded for the denied motions.

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$425.00/hour to $450.00/hour for someone with Mr. Bankston’s credentials, not $550.00/hour. See

Ex. 1.

         Another major issue with the declaration and how it does not provide adequate evidence to

allow this Court to award fees based on the declaration under Texas law is the generalities of the

purported services rendered and the lack of any billing records to provide any particularity as to

the services Mr. Bankston claims he performed. Plaintiffs’ declaration calculates their purported

fees based on the lodestar method, i.e., calculating the fees based on “the number of hours

reasonably expended on the litigation multiplied by a reasonable hourly rate.” Rohrmoos Venture

v. UTSW DVA Healthcare, LLP, 578 S.W.3d 469, 492 (Tex. 2019) (citing Hensley v. Eckerhart,

461 U.S. 424 (1983)) (emphasis added); see also El Apple I, Ltd. v. Olivas, 370 S.W.3d 757, 760

(Tex. 2012). In El Apple, the Texas Supreme Court overturned an award of attorney’s fees based

on insufficient evidence because the testimony before the trial court did not provide evidence of

what hours were devoted to particular tasks, did not present any time records, and were based on

generalities. Rohrmoos, 578 S.W.3d at 495 (citing El Apple, 370 S.W.3d at 763). The Court held

that while that information was relevant, it:

                provide[d] none of the specificity needed for the trial court to make
                a meaningful lodestar determination. The court could not discern
                from the evidence how many hours each of the tasks required and
                whether that time was reasonable . . . [so the] court ha[d] little basis
                upon which to conduct a meaningful review of the fee award.

El Apple, 370 S.W.3d at 763. Indeed, the Texas Supreme Court has held that when the lodestar

method is utilized by a party as the method for calculating fees, generalities as to the attorney’s

experience, the total hours spent, the total amount of fees, and the reasonableness of the fees—

which may satisfy the Arthur Anderson factors (which requires actual billing records)—is “not

sufficient to support” a fee award under the lodestar method. Rohrmoos, 578 S.W.3d at 496. While

contemporaneous billing records are not required to prove that the requested fees are reasonable

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and necessary, the Texas Supreme Court has stated that such records are “strongly encouraged to

prove the reasonableness and necessity of requested fees when those elements are contested.”

Rohrmoos, 578 S.W.3d at 502.

        In this case, it is also relevant to remember that Plaintiffs are seeking these attorneys’ fees

as a sanction, and:

                   [b]efore a court may exercise its discretion to shift attorney’s fees as
                   a sanction, there must be some evidence of reasonableness because
                   without such proof a trial court cannot determine that the sanction is
                   ‘no more severe than necessary’ to fairly compensate the prevailing
                   party.

Nath v. Tex. Children’s Hosp., 576 S.W.3d 706, 709 (Tex. 2019) (quoting PR Invs. & Specialty

Retailers, Inc. v. State, 251 S.W.3d 472, 480 (Tex. 2009) (internal citations omitted)). As stated in

Nath, the Rohrmoos case explained the “necessity of presenting either billing records or other

supporting evidence when seeking to shit attorney’s fees to the losing party.” Id. at 710 (citing

Rohrmoos, 578 S.W.3d at 496). But “[c]onclusory affidavit containing mere generalities about the

fees for working . . . are legally insufficient to justify [a] sanctions award[] here.” Id. (citing Long

v. Griffin, 442 S.W.3d 253, 255 (Tex. 2014) (per curiam) (overturning an attorney’s fee award

when the affidavit supporting the fees “only offer[ed] generalities” and “no evidence accompanied

the affidavit”).

        Plaintiffs’ declaration from Mr. Bankston is not accompanied by any evidence outside of

the declaration itself, and the descriptions of work performed are all stated in generalities. For

example, regarding the Heslin v. Jones Supplemental Brief in Support of Motion for Default

Judgment, Mr. Bankston describes the length of the pleading and the 1,200 pages of exhibits, and

he then makes the general statement that he “spent 12 hours researching law and reviewing the

record, and [he] spent 18 hours writing and editing the brief. In total, the reasonable value of this

time at $550/hour is $16,500.” See Declaration of Mark Bankston at p. 3. However, the declaration

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fails to state with any particularity: (1) what research was done; (2) when the research was done;

(3) how that research was incorporated into the briefing; (4) what part of the record was reviewed;

(5) how much time was spent on reviewing the record versus conducting research; (6) how that

review of the record was incorporated into the briefing; (7) what parts of the briefing were written

and how long those parts took to write; or (8) how much of the 18 hours of “writing and editing”

was writing versus editing. The same problems exist for the declaration’s descriptions of work

performed for the other motions at issue, albeit to a lesser degree than that of the Heslin v. Jones

Supplemental Brief in Support of Motion for Default Judgment discussed above. In the interest of

brevity, the “generality” issues in the declaration for these other three (3) motions are as follows:

   -   Heslin v. Jones Second Motion for Contempt
          o The declaration describes 3.5 hours of reviewing the record for materials and 8
              hours of writing and editing the brief, yet it does not describe with any specificity
              the materials reviewed and how they were incorporated into the briefing, nor what
              portion of the 8 hours was briefing versus editing.

   -   Lewis v. Jones Motion for Contempt
          o The declaration states Mr. Bankston spent 2 hours reviewing the record and 2 hours
              drafting and editing the brief, which is too generalized as discussed above, and it is
              further unreasonable considering this motion was essentially verbatim to the Heslin
              v. Jones Second Motion for Contempt. Mr. Bankston’s declaration does not make
              any effort to state why 4 additional hours of time was required for this briefing
              when the only differences between the motions was a “unique factual background
              section” that was essentially copied and pasted from the Plaintiff’s live petition.

   -   Pozner v. Jones Motion to Compel and Motion for Sanctions
          o The declaration states it required Mr. Bankston 2.5 hours for “reviewing the record”
              and 3 hours for “writing and editing the brief” when it was a mere 6-page motion
              for which no legal research was required. It is impossible to determine what review
              of the record actually occurred and how that contributed to the drafting of the
              motion.

See Declaration at p. 3.

       Other issues in Mr. Bankston’s declaration demonstrate the hours and fees requested are

simply unreasonable. To wit, Mr. Bankston’s declaration claims that he spent fourteen (14) hours

creating and editing his powerpoint presentation for the hearing on Plaintiffs’ motions. Id. at 4.

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While the undersigned certainly agrees work went into that presentation, fourteen (14) hours seems

excessive, particularly when the declaration lacks any specifics as to what took so long to create

beyond the slide show having 80 slides. There is also no basis for Plaintiffs to recover fees for

reviewing Defendants’ supplemental document production as part of these motions; the Court

should disregard that request for $3,300.00 as having no basis or bearing on the presentation of the

motions themselves for which Plaintiffs are seeking sanctions.

       As further supported in the Declaration of Bradley Reeves attached hereto as Exhibit 1,

because Mr. Bankston’s declaration does not provide the Court with sufficient information to

“meaningfully review whether the tasks and hours were reasonable and necessary under the

lodestar method” as required by Texas law, the Court should decline to award Plaintiffs’ the fees

they are seeking. See Long, 442 S.W.3d at 255. Instead, if the Court is inclined to grant Plaintiffs

some sort of award of fees (at least in Pozner), the Court should only do so based on a significant

reduction in the hours and the rate utilized to calculate the total fees (and each should be

determined based on the individual case, not in a lump sum as set forth in Mr. Bankston’s

declaration) as set forth in the attached Declaration of Bradley Reeves. See Ex. 1.

       WHEREFORE, PREMISES CONSIDERED, Defendants request the Court sustain its

objections to the declaration of Mark Bankston, deny the vast majority of the fees sought by

Plaintiffs, and for such other and further relief to which Defendants may be justly entitled.

Dated: September 8, 2021.



                                     [Signature on next page]




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                                               Respectfully submitted,

                                               REEVES LAW, PLLC

                                               By:    /s/ Bradley J. Reeves______________
                                               Bradley J. Reeves
                                               Texas Bar No. 24068266
                                               702 Rio Grande St., Suite 203
                                               Austin, TX 78701
                                               brad@brtx.law
                                               Telephone:(512) 827-2246
                                               Facsimile: (512) 318-2484

                                               ATTORNEY FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on September 8, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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Bradley Reeves on behalf of Bradley Reeves
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Envelope ID: 57071191
Status as of 9/16/2021 9:01 AM CST

Associated Case Party: NeilHeslin

Name              BarNumber   Email              TimestampSubmitted     Status

Mark D.Bankston               mark@fbtrial.com   9/8/2021 7:50:26 PM    SENT



Case Contacts

Name              BarNumber   Email                            TimestampSubmitted    Status

Joshua ARomero                jromero@jw.com                   9/8/2021 7:50:26 PM   SENT

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William Ogden                 bill@fbtrial.com                 9/8/2021 7:50:26 PM   SENT

Bradley Reeves                brad@brtx.law                    9/8/2021 7:50:26 PM   SENT

Marc Randazza                 ecf@randazza.com                 9/8/2021 7:50:26 PM   SENT

Carmen Scott                  carmen@fbtrial.com               9/8/2021 7:50:26 PM   SENT
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                   Exhibit 1
                              CAUSE NO. D-1-GN-18-001835

  NEIL HESLIN,                             §         IN THE DISTRICT COURT OF
                                           §
                 Plaintiff,                §
                                           §
  v.                                       §               TRAVIS COUNTY, TEXAS
                                           §
  ALEX E. JONES, INFOWARS, LLC,            §
  FREE SPEECH SYSTEMS, LLC; AND            §
  OWEN SHROYER                             §
                                           §
                 Defendants,               §               459th JUDICIAL DISTRICT


                              CAUSE NO. D-1-GN-18-006623

  SCARLETT LEWIS,                          §         IN THE DISTRICT COURT OF
                                           §
                 Plaintiff,                §
                                           §
  v.                                       §               TRAVIS COUNTY, TEXAS
                                           §
  ALEX E. JONES, INFOWARS, LLC,            §
  AND FREE SPEECH SYSTEMS, LLC,            §
                                           §
                 Defendants,               §               459th JUDICIAL DISTRICT


                              CAUSE NO. D-1-GN-18-001842

  LEONARD POZNER AND                       §        IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA,                    §
                                           §
                 Plaintiff,                §
                                           §
  v.                                       §           TRAVIS COUNTY, TEXAS
                                           §
  ALEX E. JONES, INFOWARS, LLC,            §
  AND FREE SPEECH SYSTEMS, LLC,            §
                                           §
                 Defendants,               §           459th JUDICIAL DISTRICT


                    DECLARATION OF BRADLEY J. REEVES
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1. I am an attorney at law duly admitted and licensed to practice before the courts of the State of
   Texas, the Southern District of Texas, the Western District of Texas, the Fifth Circuit Court of
   Appeals, and the United States Supreme Court. I was licensed in Texas in November 2010.
   My practice is based out of the Austin, Texas area, including Harris County, Travis County,
   Brazoria County, and Fort Bend County, but also encompasses cases across the nation and a
   few cases internationally. During that time, I have reviewed billing statements for dozens of
   law firm related to a wide variety of litigation, including disputes involving claims similar to
   the type involved in this matter.

2. I am counsel of record for Defendants in the above-captioned matters.

3. This declaration is based upon examination of the appropriate rules of professional conduct and
   case law related to the recovery of attorneys’ fees and costs under Texas law.

4. My opinions in this declaration are based on my personal involvement in all aspects of this
   litigation, and the entirety of the work performed on this case was done by me. My opinions
   expressed in this declaration are in rebuttal to the declaration of Mark Bankston, filed
   September 1, 2021, seeking attorneys’ fees related to several motions filed in the above-
   captioned matters.

5. Having practiced extensively in Harris and Travis County over the last ten (10) years as an
   attorney with an AmLaw 100 firm and now a solo attorney in Austin, I am intimately familiar
   with the rates charged in the Harris County and Travis County areas and how the rates in the
   Houston, Harris County area are generally 15% to 20% higher than those rates in the Austin,
   Travis County area for the same legal services, simply due to market conditions.

6. The declaration from Mr. Bankston does not set forth the basis by which he claims he is
   familiar with the rates charged for services in like cases here in Austin, Travis County, Texas
   beyond a mere conclusory statement that he is somehow “personally familiar” with that
   information. However, based on my own personal knowledge and experience and the fact that
   I have primarily practiced in Travis County courts since I have become a solo attorney, it is
   my opinion that an hourly rate of $550.00/hour for these matters as requested by Mr. Bankston
   is not reasonable and in fact that such a rate is 15% to 20% higher than what a reasonable rate
   in this area would be. To that end, it is my opinion that a reasonable rate for an attorney of Mr.
   Bankston’s credentials in the Austin, Travis County, Texas area is closer to $425.00/hour and
   no more than $450.00/hour.

7. In addition, as outlined below, it is my opinion that the lack of specific information and
   particular descriptions of the work performed by Mr. Bankston on his various motions for
   Plaintiffs makes it extremely difficult, if not impossible, to determine whether the hours he has
   set forth in his declaration are reasonable and necessary in the context of these motions.

8. As rebuttal to the declaration of Mark Bankston, in the event the Court does award certain fees
   to Plaintiffs, it is my opinion that Mr. Bankston’s declaration improperly lumps these separate
   matters together instead of properly segregating the fees as required under Texas law, and thus
   the Court does not have sufficient evidence to award any fees on any particular matter.



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9. Moreover, as to the breakdown of services and fees set forth in Mr. Bankston’s declaration,
   my opinions as to the reasonableness and necessity of the hours allegedly expended (albeit
   without sufficient detail or description) and rates that would be appropriate for such work are
   as follows:

   D-1-GN-19-004651 – Heslin v. Jones
   Supplemental Brief in Support of Motion for Default Judgment, filed June 28, 2021

   -   It is my opinion that despite the length of the brief, much of it simply reiterated the prior
       motion for sanctions and default judgment filed by the Plaintiff in this case. Without
       knowing in greater detail what research and review of the record Mr. Bankston performed
       or why it took him such an extended period of time to draft this supplemental briefing, it
       is my opinion that this work should have at most required a total of three (3) hours for
       “researching and reviewing the record” and no more than eight (8) hours for “writing and
       editing: the extremely (and unnecessarily) lengthy brief. At a more reasonable rate of
       $450.00/hour, the total value of this time for this briefing should be no more than
       $4,950.00.

   D-1-GN-18-001835 – Heslin v. Jones
   Second Motion for Contempt Under Rule 215, filed July 6, 2021

   -   The briefing at issue here essentially took the description of the discovery issues in these
       cases from the supplemental brief discussed above, and in my opinion, this work should
       have taken at most two (2) hours for reviewing the record and four (4) hours writing and
       editing the motion. At a reasonable rate of $450.00/hour, the total value of the time for this
       motion should be no more than $2,700.00.

   D-1-GN-18-006623 – Lewis v. Jones
   Motion for Contempt Under Rule 215, filed July 6, 2021

   -   This motion is essentially verbatim to the Second Motion for Contempt filed in the Heslin
       matter, with only minor changes related to the facts of this particular Plaintiff’s case which
       was drawn from Plaintiff’s live petition in this matter. This motion should have required
       little to no “review” of the record, but for the benefit of the doubt, my opinion is that one
       (.5) hours for review of the record and one (1) hour for drafting the motion is reasonable
       and necessary under the circumstances. At a reasonable rate of $450.00/hour, the total
       value of the time for this motion should be no more than $675.00.

   D-1-GN-18-001842 – Pozner v. Jones
   Motion to Compel and Motion for Sanctions, filed July 27, 2021

   -   This motion was a very simple 6-page motion and required no legal research as indicated
       in Mr. Bankston’s declaration. However, it in no way should have required 2.5 hours of
       reviewing the record, but instead should have required at maximum one (1) hour for that
       task. I concur with Mr. Bankston that three (3) hours writing and editing this motion is
       reasonable considering the circumstances. At a reasonable rate of $450.00/hour, the total
       value of the time for this motion should be no more than $1,800.00.

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   D-1-GN-19-004651– Heslin v. Jones
   Second Supplemental Brief in Support of Motion for Default Judgment, filed August 9,
   2021

   -   This briefing had absolutely nothing to do with the motion before the Court and was simply
       intended to further bias the Court against Defendants. It also contained no substantive
       arguments other than to bring something to the Court’s attention. It is my opinion that it
       would be unreasonable and improper to consider this second supplemental brief and the
       time associated with it (which should have been at most .25 hours) as part of Plaintiffs’ fee
       request.

   All Motions – Create Presentation for Hearing

   -   It is my opinion that while Mr. Bankston clearly put work into creating the slide
       presentation for the hearings on these motions, the amount of time he has attributed to the
       presentation is excessive and unreasonable. Based on my review of the slide show at the
       hearing, a reasonable amount of time that could be attributed to the presentation would be
       half of the hours Mr. Bankston claims, or seven (7) hours total. At a reasonable rate of
       $450.00/hour, the total value of the time for this work should be no more than $3,150.00.
       Divided by four (4)—which I believe is not proper considering the slide show was not
       delineated and divided equally amongst the four (4) motions—but nevertheless, dividing
       that by four (4), the reasonable value for each motion attributable to the powerpoint
       presentation is $787.50.

   All Motions – Review of Supplemental Documents

   -   It is my opinion that review of Defendants’ supplemental production is part of Mr.
       Bankston’s job and is not something he can attribute to these motions and seek to recover
       as sanctions. Therefore, it is my opinion that no fees should be awarded to Plaintiffs for
       Mr. Bankston’s review of Defendants’ supplemental document production.

   All Motions – Responding to Correspondence

   -   I concur with Mr. Bankston’s declaration that two (2) hours can be attributed to
       communications between counsel regarding discovery issues in these cases. At a
       reasonable rate of $450.00/hour, the total value of time for this work should be $900.00,
       and divided by four (4), the reasonable value of this for each motion would be $225.00 for
       each motion.

   All Motions – Preparing for the Hearing

   -   I concur with Mr. Bankston that four (4) hours is reasonable for time for preparation for
       the hearing on these motions. However, the rate he has attributed is not reasonable, and at
       a reasonable rate of $450.00/hour, the reasonable value of this time is $1,800.00, and
       divided by four (4), the reasonable value of time is $450.00 per motion.



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   All Motions – Reviewing Defendants’ Responses

   -     I concur with Mr. Bankston that 2.5 hours to review Defendants’ responses to the various
         motions is reasonable, but again, the rate he seeks is not reasonable. At a reasonable rate
         of $450.00/hour, the total value of this time is $1,125.00, and divided by four (4), the
         reasonable value of this time is $281.25 for each motion.

   All Motions – Time in the Hearing

   -     I concur with Mr. Bankston that the hearing lasted three (3) hours. At the reasonable rate
         of $450.00/hour, the value of this time is $1,350.00, and divided by four (4), the reasonable
         value of this time is $337.50 for each motion.

10. I disagree completely with Mr. Bankston’s declaration improperly lumping all time and fees
    requested into a singular amount, instead of properly segregating the time and fees between
    each motion. Moreover, while I do not believe Plaintiffs should be awarded any fees based on
    the inadequate declaration from Mr. Bankston and the lack of particularities and specificity as
    to the services provided and the actual tasks performed, that notwithstanding, it is my opinion
    that if the Court is inclined to grant some portion of Plaintiffs’ fee requests, the reasonable
    amount of hours, rate, and total fees should be as follows:

   -     D-1-GN-19-004651 – Heslin v. Jones
            o 15.625 hours at $450.00/hour = $7,031.25

   -     D-1-GN-18-001835 – Heslin v. Jones
            o 10.625 hours at $450.00/hour = $4,781.25

   -     D-1-GN-006623 – Lewis v. Jones
            o 6.125 hours at $450.00/hour = $2,756.25

   -     D-1-GN-001842 – Pozner v. Jones
            o 8.625 hours at $450.00/hour = $3,881.25

11. My name is Bradley Reeves. My date of birth is February 4, 1986, and my address is 702 Rio
    Grande St., Suite 203, Austin, Texas 78701.

       Signed on this the 8th day of September, 2021.




                                                        __________________________________
                                                        Bradley J. Reeves



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                                                                            D-1-GN-18-001835
                             D-1-GN-18-001835                                Nancy Rodriguez

 NEIL HESLIN                            §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 FREE SPEECH SYSTEMS, LLC, and          §                 459th DISTRICT COURT
 OWEN SHROYER,                          §
   Defendants                           §

                             D-1-GN-18-001842
 LEONARD POZNER AND                     §                IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                   §
   Plaintiffs                           §
                                        §                TRAVIS COUNTY, TEXAS
 VS.                                    §
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §                 459th DISTRICT COURT
 AND FREE SPEECH SYSTEMS, LLC,          §
   Defendants                           §

                             D-1-GN-18-006623
 SCARLETT LEWIS                         §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 AND FREE SPEECH SYSTEMS, LLC,          §                 459th DISTRICT COURT
   Defendants                           §



        PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO
             DECLARATION REGARDING ATTORNEYS’ FEES
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      On multiple occasions, both this Court and the Court of Appeals awarded fees

to these Plaintiffs based on substantially similar declarations. Indeed, during the

December 19, 2019 sanctions hearing in this Court, Defendants presented purported

expert testimony on attorney’s fees and made the same arguments they are making

now. While those arguments are no more compelling today than in yesteryear,

Plaintiffs will provide a brief response.

I.    Defendants’ Specificity Complaint is Baseless.

      To establish fees, all that is required is testimony as to the services performed,

who performed those services, approximately when the services were performed, the

amount of time required to perform the services, and the hourly rate. Rohrmoos

Venture v. UTSW DVA Healthcare, LLP, 578 S.W.3d 469, 502 (Tex. 2019). Here, the

declaration goes even farther, as it not only describes each service rendered, but

itemizes different tasks involved in each service. Instead of a mere hourly statement

on each motion or service, Plaintiffs’ counsel also itemized the time spent on different

sub-tasks such as research of materials versus drafting. Yet Defendants demand that

Plaintiff’s counsel drill down even farther, claiming the declaration must split hairs

between “writing” and “editing.” Defendants demand details never contained within

a fee request, such as “what parts of the briefing were written and how long those

parts took to write” or “how [counsel’s] research was incorporated into the briefing.”

None of this is required. Defendants’ comparison of this case to El Apple is absurd,

since in that case “neither attorney indicated how the 890 hours they spent in the



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aggregate were devoted to any particular task or category of tasks.” El Apple I, Ltd. v.

Olivas, 370 S.W.3d 757, 763 (Tex. 2012). All that is needed is “at least some indication

of the time spent on various parts of the case.” Id. Here, the particular services are

itemized, and even sub-itemized.

II.   Defendants’ Complaints About Fee Amounts are Baseless.

      Defendants make incorrect assertions about how much time was needed to

complete these motions. For instance, Defendants claim the Lewis contempt motion

required no real work because the only unique parts were “essentially copied and

pasted from the Plaintiff’s live petition.” In truth, Ms. Lewis’ motion for contempt

incorporated material from the Court of Appeals opinion, two separate discovery

orders, a prior motion for sanctions, a prior reply filed in 2019, a hearing transcript

in 2019, and three additional appellate opinions in other cases, all of which were

quoted and/or included as exhibits. Plaintiffs’ counsel located and assembled these

two-year-old materials in two hours, and he drafted five pages of briefing and edited

the remainder of the motion in two hours. Under the circumstances, these tasks were

performed with great haste, yet Defendants still complain. In truth, a “reasonable” fee

may well be higher than what Plaintiffs have submitted.

      Consider also the Pozner motion, which begins with a four-page procedural

summary of the case and the parties’ correspondence. Defendants claim it was

excessive to spend 2.5 hours reviewing the record in that case, arguing that “[i]t is

impossible to determine what review of the record actually occurred and how that



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contributed to the drafting of the motion.” It should be apparent that the review of

the record was necessary to generate the procedural history and narrative of the

discovery problems. Yet it is truly ironic for Defendants to complain that Plaintiff’s

counsel spent a mere 2.5 hours reviewing the record when Defendants’ counsel spent

no time at all reviewing the record, not even recognizing that discovery needed to be

answered.

      Defendants’ other complaints about the declaration are equally baseless:

         • Defendants claim that time spent reviewing their eleventh-document
           dump had no “bearing on the presentation of the motions themselves,”
           but Defendants argued the delivery of those documents provided good
           cause to deny the motions.

         • Defendants complain about fees for preparing the hearing presentation
           even though Mr. Bankston expended less than two work-days in time
           preparing an 80-slide PowerPoint that recounted the entire history of
           the litigation, Plaintiffs’ motions, and Defendants’ late-filed responses.

         • Defendants claim that a reasonable rate is $450/hour for the Austin area
           but do not account for the extraordinarily unique circumstances of this
           litigation.

         • Defendants assert that Mr. Bankston’s “primary practice locale is
           Houston, Harris County,” but Mr. Bankston recently filed his first case in
           Harris County in many years.

      After waiving their ability to cross-examine Mr. Bankston at the hearing,

Defendants have now provided unsupported assertions, legal arguments which were

rejected long ago, and complaints about billing figures that are conservative under

the circumstances. As such, Defendants’ objections should be overruled.




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                                     Respectfully submitted,

                                     KASTER LYNCH FARRAR & BALL, LLP


                                     ____________________________________
                                     MARK D. BANKSTON
                                     State Bar No. 24071066
                                     WILLIAM R. OGDEN
                                     State Bar No. 24073531
                                     1117 Herkimer
                                     Houston, Texas 77008
                                     713.221.8300 Telephone
                                     713.221.8301 Fax




                          CERTIFICATE OF SERVICE

      I hereby certify that on September 10, 2021 the forgoing document was served
upon all counsel of record via electronic service.




                                     ____________________________________
                                     MARK D. BANKSTON




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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 57140219
Status as of 9/16/2021 2:10 PM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted     Status

Mark D.Bankston                 mark@fbtrial.com   9/10/2021 2:02:00 PM   SENT



Case Contacts

Name              BarNumber    Email               TimestampSubmitted     Status

Marc Randazza                  ecf@randazza.com    9/10/2021 2:02:00 PM   SENT

William Ogden                  bill@fbtrial.com    9/10/2021 2:02:00 PM   SENT

Carmen Scott                   carmen@fbtrial.com 9/10/2021 2:02:00 PM    SENT
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                                                                                    Travis County
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                               D-1-GN-18-001835                                      Lisa Guerrero

 NEIL HESLIN                               §                 IN DISTRICT COURT OF
   Plaintiff                               §
                                           §
 VS.                                       §
                                           §                TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,             §
 FREE SPEECH SYSTEMS, LLC, and             §
 OWEN SHROYER,                             §
   Defendants                              §                 459th DISTRICT COURT

                               D-1-GN-18-001842
 LEONARD POZNER AND                        §                 IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                      §
   Plaintiffs                              §
                                           §
 VS.                                       §                TRAVIS COUNTY, TEXAS
                                           §
 ALEX E. JONES, INFOWARS, LLC,             §
 AND FREE SPEECH SYSTEMS, LLC,             §
   Defendants                              §                 459th DISTRICT COURT


       PLAINTIFFS’ UNOPPOSED MOTION FOR PROTECTIVE ORDER OF
                          CONFIDENTIALITY


       Plaintiffs file this Unopposed Motion for Protective Order of Confidentiality,

and would show the Court as follows:

       1.    In January 2019, Defendants moved this Court to enter a Protective

Order of Confidentiality under Tex. R. Civ. P. 192.6 in the Lewis case. After modifying

certain sections, this Court entered a Protective Order on February 25, 2019, a copy

of which is attached as “Exhibit 1.”




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      2.     Plaintiffs have proposed that the same protective order be entered in the

Heslin and Pozner cases, and Defendants are unopposed.

      3.     Just as in Lewis, there is good cause for a protective order because the

parties may produce sensitive documents. Specifically, Plaintiffs anticipate producing

medical records which include private mental health information.

      4.     As such, Plaintiffs ask that this Court enter an order adopting the Lewis

Protective Order in the Heslin and Pozner cases.

                                       Respectfully submitted,

                                       KASTER LYNCH FARRAR & BALL, LLP


                                       ____________________________________
                                       MARK D. BANKSTON
                                       State Bar No. 24071066
                                       WILLIAM R. OGDEN
                                       State Bar No. 24073531
                                       1117 Herkimer
                                       Houston, Texas 77008
                                       713.221.8300 Telephone
                                       713.221.8301 Fax




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                        CERTIFICATE OF CONFERENCE

      I hereby certify that I conferred with counsel of record about this motion, and
they are unopposed to the entry of the Lewis Protective Order in these cases.




                                       ____________________________________
                                       MARK D. BANKSTON




                           CERTIFICATE OF SERVICE

      I hereby certify that on September 15, 2021 the forgoing document was served
upon all counsel of record via electronic service.




                                       ____________________________________
                                       MARK D. BANKSTON




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 NEIL HESLIN                                 §                    IN DISTRICT COURT OF
   Plaintiff                                 §
                                             §
 VS.                                         §
                                             §                   TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,               §
 FREE SPEECH SYSTEMS, LLC, and               §
 OWEN SHROYER,                               §
   Defendants                                §                    459th DISTRICT COURT

                                 D-1-GN-18-001842
 LEONARD POZNER AND                          §                    IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                        §
   Plaintiffs                                §
                                             §
 VS.                                         §                   TRAVIS COUNTY, TEXAS
                                             §
 ALEX E. JONES, INFOWARS, LLC,               §
 AND FREE SPEECH SYSTEMS, LLC,               §
   Defendants                                §                    459th DISTRICT COURT


   ORDER ON MOTION FOR PROTECTIVE ORDER OF CONFIDENTIALITY


       On this day, the Court considered Plaintiffs’ Unopposed Motion for Protective

Order of Confidentiality. The Court finds there is good cause to grant the Motion, and

hereby ORDERS that the February 25, 2019 Protective Order entered in the Lewis

matter shall apply to the Heslin and Pozner cases.

       Dated ___________________________, 2021.


                                                  _____________________________________
                                                  Hon. Maya Guerra Gamble
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                       Exhibit 1
                    Lewis Protective
                        Order
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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 57252762
Status as of 9/17/2021 2:30 PM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com   9/15/2021 8:10:33 AM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted     Status

William Ogden                  bill@fbtrial.com     9/15/2021 8:10:33 AM   SENT

Bradley Reeves                 brad@brtx.law        9/15/2021 8:10:33 AM   SENT

Carmen Scott                   carmen@fbtrial.com 9/15/2021 8:10:33 AM     SENT
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                                                                                   District Clerk
                                                                                   Travis County
                                                                                D-1-GN-18-001835
                              D-1-GN-18-001835                                      Lisa Guerrero


 NEIL HESLIN                              §               IN DISTRICT COURT OF
   Plaintiff                              §
                                          §
 VS.                                      §               TRAVIS COUNTY, TEXAS
                                          §
 ALEX E. JONES, INFOWARS, LLC,            §
 FREE SPEECH SYSTEMS, LLC, and            §                459th DISTRICT COURT
 OWEN SHROYER,                            §
   Defendants                             §


       PLAINTIFF’S MOTION TO COMPEL RESPONSES TO SECOND SET OF
            DISCOVERY REQUESTS AND MOTION FOR SANCTIONS


        Comes now Plaintiff Neil Heslin, who moves this Court for an Order compelling

full and fair responses to his Second Set of Interrogatories and Requests for

Production, and an Order assessing sanctions for discovery obstruction.

                                   BACKGROUND

        On July 13, 2021, following remand, Plaintiff served his Second Set of

Interrogatories and Requests for Production. This discovery was very limited, and it

was primarily aimed at issues relating to damages, such as the total viewership of the

challenged videos and the places where those videos appeared, as well as other basic

information such as the individuals involved in those videos and the identity of

former employees.

        On August 13, 2021, Defendants provided their responses. Defendants

provided no meaningful information and claimed an inability to answer most of the



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requests. On August 18, 2021, Plaintiffs wrote to Defendants to confer about their

deficient discovery responses. Plaintiffs detailed the problems with Defendants’

evasive responses. Plaintiffs demanded that Defendants “provide full responsive

answers to the above requests and produce responsive documents to all of the

requests before August 30th, or [Plaintiffs] will file additional motions under Rule

215.” 1 Defendants refused to provide supplemental responses.

          The following day, at the Court’s oral hearing on August 31, 2021, Defendants

claimed they would be supplementing discovery in 14 days. As a result, Plaintiff

refrained from the filing the instant motion and awaited to review those

supplemental responses. No responses were provided. Plaintiff now seeks an order

compelling production and appropriate sanctions.

                                            ARGUMENT

I.        Discovery Answers from Alex Jones Should be Compelled.

          In his responses, Alex Jones refused to fairly answer the interrogatories posed

to him. The Court should compel responses to these interrogatories:

INTERROGATORY NO. 1:

                 Identify by name and last known contact information of
                 any individual who you chose to employ at Free Speech
                 Systems between December 14, 2012 and July 1, 2021 with
                 duties that involved writing, researching, editing, filming,
                 hosting, or producing InfoWars media content and who is
                 no longer employed by the company.




1   Exhibit 1, August 18, 2021 Email to Defendants.


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       Mr. Jones lodged several frivolous objections. In addition, Mr. Jones claimed

that he “is unable to answer this interrogatory at this time to the extent those

individual(s) may be relevant to the claims in this lawsuit.” 2 Mr. Jones claimed he

would “supplement this answer with such information once determined in

accordance with the Texas Rules of Civil Procedure.” 3 To date, he has not done so.

With reasonable diligence, Mr. Jones should be able to identify employees in

production roles who have been terminated or resigned.

INTERROGATORY NO. 2:

               Identify by name and any known contact information of
               any individual not employed by Free Speech Systems, LLC
               with whom you have communicated about this lawsuit or
               the allegations in this lawsuit since April 16, 2018.

       Mr. Jones lodged frivolous objections, then claimed that he “does not

personally have the requisite information to appropriately respond to this

interrogatory. 4” Mr. Jones claimed he would “further supplement this answer as

necessary in accordance with the Texas Rules of Civil Procedure.” 5 To date, he has not

done so. Obviously, Mr. Jones should know the people outside the company with

whom he discussed this case, or he could find out with a reasonable diligence.

INTERROGATORY NO. 3:

               Identify the date and description of the circumstances for
               any occasions in which you have made public oral or
               written statements that were not published by Free Speech

2 Exhibit 2, Alex Jones Interrogatory Responses.
3 Id.
4 Id.
5 Id.




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                Systems, LLC concerning the Sandy Hook shooting, any
                relatives of the victims, any lawsuits brought by relatives
                of the victims, or the allegations in those lawsuits.

          After his standard objections, Mr. Jones claimed he “is unable to adequately

respond to this interrogatory as phrased by Plaintiff and what Plaintiff means by

statements ‘not published by Free Speech Systems, LLC’ as opposed to Defendant’s

individual right to protected free speech.” 6 Here, it appears Mr. Jones made no efforts

to identify occasions he has made statements about Sandy Hook outside InfoWars.

For example, Mr. Jones obviously knows he appeared on Megyn Kelly’s show to

discuss Sandy Hook. Mr. Jones makes few media appearances, so any other

appearances should be well-documented. A full answer should be compelled.

II.       Discovery Answers from Free Speech Systems, LLC Should be Compelled.

          In its responses, Free Speech Systems, LLC refused to fairly answer the

interrogatories posed to it. The Court should compel responses to these requests:

INTERROGATORY NO. 1:

                State the total number of viewers and/or listeners for the
                June 26, 2017 video entitled “Zero Hedge Discovers
                Anomaly in Alex Jones Hit Piece,” the June 25, 2017 episode
                of The Alex Jones Show from which the June 26th video was
                taken, and the July 20, 2017 episode of The Alex Jones Show
                in which the June 26th video was featured.

          Free Speech Systems’ answer begins with the objection that there is no

“relevancy between [Heslin’s] claims in this lawsuit and the listed video,” which is a




6   Id.


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baffling objection since the listed videos are the Challenged Statements in this lawsuit.

After making frivolous objections, Free Speech Systems claimed it “is currently unable

to answer this interrogatory with the necessary information of total viewers.” 7

Defendants claimed they were “continuing to work diligently to obtain this

information but it is currently difficult to establish given the removal of the

referenced clips from various platforms on the internet.” 8 This answer is insufficient.

As Plaintiffs made clear in their conferral letter, the number of views occurring on

InfoWars.com for these videos are obviously within InfoWars’ possession, and they

have no excuse for failing to answer. With regard to evidence InfoWars distributed on

third party video platforms such as YouTube, it is now clear that evidence has been

spoliated.

INTERROGATORY NO. 2:

                 Identify every way in which the June 26, 2017 video
                 entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit
                 Piece,” the June 25, 2017 episode of The Alex Jones Show,
                 the July 20, 2017 episode of The Alex Jones Show, or any
                 portions of the foregoing, were disseminated to the public,
                 whether by radio, television, internet video, or any other
                 publication or broadcast, whether by Free Speech Systems
                 or by any other authorized entity or person.

          After making baseless objections, Free Speech Systems refused to fully answer,

claiming it “is currently unable to determine which of these platforms were actually

utilized to simulcast the particular broadcasts referenced in Plaintiff’s interrogatory.”



7   Exhibit 3, Free Speech Systems Answers to Interrogatories.
8   Id.


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This response not only failed to identify all web-based methods of disseminating

InfoWars videos, but it also failed to identify the various radio distribution

agreements and television/cable broadcasting agreements by which Defendants’

videos are distributed. Yet Defendants refuse to supplement their answer.

INTERROGATORY NO. 3:

                 Identify every individual at Free Speech Systems, LLC who
                 was aware of the Zero Hedge blog post “Megyn Kelly Fails
                 to Fact Check Sandy Hook Father’s Contradictory Claim in
                 the Alex Jones Hit Piece” prior to Owen Shroyer discussing
                 that blog post on the Alex Jones Show.

          After making baseless objections, Free Speech Systems claims it “has no

information responsive to this interrogatory.” Due to Defendants’ failure to secure

evidence and identify persons with knowledge of relevant facts at the outset of this

case, Defendants now claim they unable to identify the employees involved in

creating the Challenged Video. This answer is plainly insufficient and shows a lack of

reasonable inquiry.

REQUEST FOR PRODUCTION NO. 3:

                 All master-level or overview reports created to summarize
                 product sales performance from December 14, 2012 to the
                 present day.

          Free Speech Systems objected to this request, claiming that it violated § 41.005

of the TEX. CIV. PRAC. & REM. CODE by seeking “net worth” information. 9 Yet that

section only applies to information which reveals a party’s net worth, such as financial


9   Exhibit 4, Free Speech Systems Responses to Requests for Production.


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balances or tax returns. Mere sales data is not prohibited as net worth evidence. Free

Speech Systems also objected to the terms “master-level,” “overview reports,” and

“product sales performance,” but as Plaintiff pointed out, Defendants defined these

terms by agreement in Lafferty when faced with requests using those terms. A full

response should be compelled.

REQUESTS FOR PRODUCTION NO. 4:

             All documents you relied on in answering Plaintiff’s Second
             Set of Interrogatories.

       Free Speech Systems objected to this request to the extent it seeks “documents

regarding Defendants’ net worth,” but otherwise promised that it would “produce

relevant responsive documents to the extent it has not already done so.” No

documents have been provided, which is to be expected since the interrogatories

have been evasively answered. A full response should be compelled.

III.   Discovery Answers from Owen Shroyer Should be Compelled.

       In his responses, Owen Shroyer refused to fairly answer the interrogatories

posed to him. The Court should compel responses to these requests:

INTERROGATORY NO. 1:

             Identify by name and address every employer you have had
             since June 26, 2012 and every job title you have held during
             that period.




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          Mr. Shroyer did not identify any former employers. He claimed he would

“supplement this answer.” 10 He has not done so.

INTERROGATORY NO. 4:

                 Identify by date any occasions in which you have made
                 public oral or written statements concerning the Sandy
                 Hook shooting, any relatives of the victims, any lawsuits
                 brought by relatives of the victims, or the allegations in
                 those lawsuits. If those statements were orally made on an
                 InfoWars show, state the show and the episode title. If
                 those statements were made on the InfoWars website,
                 identify the title of the webpage and URL. If those
                 statements were made elsewhere, describe the
                 circumstances of the statements.

          Mr. Shroyer claimed in his answer that he “does not have the requisite

information to respond to this interrogatory.” It does not appear that Mr. Shroyer has

done anything to exercise diligence in answering this request.

REQUEST FOR PRODUCTION NO. 1:

                 All communications you sent or received concerning the
                 Sandy Hook shooting, any relatives of the victims, any
                 lawsuits brought by relatives of the victims, or the
                 allegations in those lawsuits since the start of your
                 employment at Free Speech Systems, LLC.

          Mr. Shroyer frivolously objected “this request as it assumes facts not in

evidence as to whether Defendant was employed by Free Speech Systems, LLC.” 11

Further, Mr. Shroyer claimed he was not in possession of documents “beyond those

which may be in the possession, custody, or control of Free Speech Systems, LLC.” Yet



10   Exhibit 5, Owen Shroyer Responses to Interrogatories.
11   Exhibit 6, Owen Shroyer Responses to Request for Production.


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Defendants have not produced any documents responsive to this request, whether

from Shroyer or documents held by Free Speech Systems on this topic.

                                   CONCLUSION

      Defendants’ continuing discovery obstruction cannot be defended. As such,

Plaintiffs ask this Court to compel responses, award costs, and assess any appropriate

sanctions under Rule 215.

                                       Respectfully submitted,

                                       KASTER LYNCH FARRAR & BALL, LLP


                                       ____________________________________
                                       MARK D. BANKSTON
                                       State Bar No. 24071066
                                       WILLIAM R. OGDEN
                                       State Bar No. 24073531
                                       1117 Herkimer
                                       Houston, Texas 77008
                                       713.221.8300 Telephone
                                       713.221.8301 Fax




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                        CERTIFICATE OF CONFERENCE

      I hereby certify that I conferred with opposing counsel about this Motion, and
they are opposed.




                                      ____________________________________
                                      MARK D. BANKSTON




                           CERTIFICATE OF SERVICE

      I hereby certify that on September 15, 2021, the forgoing document was served
upon all counsel of record via electronic service.




                                      ____________________________________
                                      MARK D. BANKSTON




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                                 D-1-GN-18-001835
 NEIL HESLIN                                   §                  IN DISTRICT COURT OF
   Plaintiff                                   §
                                               §
 VS.                                           §                 TRAVIS COUNTY, TEXAS
                                               §
 ALEX E. JONES, INFOWARS, LLC,                 §
 FREE SPEECH SYSTEMS, LLC, and                 §                   459th DISTRICT COURT
 OWEN SHROYER,                                 §
   Defendants                                  §


       ORDER ON MOTION TO COMPEL RESPONSES TO SECOND SET OF
           DISCOVERY REQUESTS AND MOTION FOR SANCTIONS


       On this day, the Court considered Plaintiffs’ Motion to Compel Responses to

Second Set of Discovery Requests and Motion for Sanctions. The Court finds there is

good cause to grant the Motion.

       It hereby ORDERED that Defendants must provide full and fair responses to the

requests within 14 days.

       It is further ORDERED that Defendants shall pay Plaintiff’s reasonable

attorneys fees in connection with this Motion.

       It is further ORDERED that the following additional remedies under Rule 215

shall be assessed: ___________________________________________________________________________

________________________________________________________________________________________________

       Dated ___________________________, 2021.

                                                    _____________________________________
                                                    Hon. Maya Guerra Gamble
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 From:            Mark Bankston
 To:              "Bradley Reeves"
 Cc:              Bill Ogden
 Subject:         Recent Discovery Responses in Heslin and Lewis
 Date:            Wednesday, August 18, 2021 1:20:00 PM


 I write to confer about your recent discovery responses in Heslin and Lewis. Your responses are
 plainly deficient. In particular, I would draw your attention to the following:

 Discovery to Free Speech Systems in Heslin

        Regarding Interrogatory No. 1, we are baffled by your statement that there is no “relevancy
        between his claims in this lawsuit and the listed video.” The listed videos are the Challenged
        Statements in this lawsuit. Moreover, the number of views occurring on InfoWars.com for the
        June 25, 2017 and July 20, 2017 episodes of the Alex Jones Show are obviously within your
        clients’ possession, and you have no excuse for failing to answer. With regard to evidence
        your client maintained on video platforms such as YouTube which your client claims to no
        longer possess, we consider that evidence spoliated if not produced.

        Regarding Interrogatory No. 2, you failed to even attempt to provide a responsive answer.
        First, you failed to identify all web-based methods of disseminating InfoWars videos while
        noting there are “others.” Second, as noted in the request, your client disseminates his videos
        beyond the web. Your client has radio agreements as well as broadcasting agreements by
        which InfoWars is carried on certain television content packages, which your response
        ignored. The total reach of your clients’ statements is relevant to Plaintiffs’ damages.

        Regarding Request for Production No. 3, we are entitled to discovery of product sales
        performance to show motive for making the malicious false statements. Sales information
        does not constitute net worth evidence and is not prohibited by § 41.005. In addition, your
        client knows the meaning of the terms “master-level,” “overview reports,” and “product sales
        performance” because your client negotiated the meanings of those terms in Lafferty.

 Discovery to Alex Jones in Heslin

        Regarding Interrogatory No. 1, your client clearly has the ability to identify former employees
        and their contact information. You have no excuse for refusing to answer this question.

        Regarding Interrogatory No. 2, it makes no sense that your client would not have the
        information about who he has communicated with about the lawsuit since it began. The rules
        require your client to perform a reasonable search for this information, which he obviously
        has not done.

        Regarding Interrogatory No. 3, your client made no efforts to identify occasions he has made
        statements about Sandy Hook on platforms other than InfoWars. For example, Mr. Jones
        obviously knows he appeared on Megyn Kelly’s show to discuss Sandy Hook. Mr. Jones makes
        few media appearances, so any other appearances should be well-documented.
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       Regarding Request for Production No. 3, it is Plaintiffs’ contention that your client’s
       motivations in spreading his false information is to undermine civil order and foster mayhem
       and revolt. We believe his communications relating to January 6 would support this motive
       and Plaintiff’s punitive damages claim.

 Discovery to Owen Shroyer in Heslin

       Regarding Interrogatory No. 1, your client failed to answer. He did not provide the name or
       address of any employer. There is no excuse for his refusal to answer.

       Regarding Interrogatory No. 4, we are entitled to know if Mr. Shroyer has previously made
       comments about Sandy Hook. It does not appear he even tried to answer this question.

       Regarding Request for Production No. 1, it is not credible that Mr. Shroyer is unable to
       determine if he has sent or received responsive communications.

 Discovery to Free Speech Systems in Lewis

       Regarding Interrogatory No. 1, you have clearly not reviewed the parties’ pleadings or your
       clients’ videos, as you obviously do not understand how the videos are created and
       disseminated. The overwhelming majority of the videos identified in Plaintiffs’ petition are
       YouTube videos. Those videos were created by editing a clip out of a full episode of the Alex
       Jones Show. For example, we discovered in litigation that the video that defamed Mr. Heslin,
       uploaded to YouTube on June 26, 2017 as “Zero Hedge Discovers Anomaly in Alex Jones Hit
       Piece,” was taken from the June 25, 2017 episode of the Alex Jones Show, which was entitled
       “Exclusive Feds Plan to Drop Russia Investigation Left Plans to Riot.” Throughout this litigation,
       your clients have argued that Plaintiffs were unable to offer the full episodes, did not offer
       evidence of the date of actual publication, and did not offer evidence of the entire
       publication. (See, e.g., Heslin Appellants’ Brief, p. 30). Each of the YouTube videos in the
       Plaintiffs’ petition originated in a full episode, and we are entitled to learn what those
       episodes are. Your response doesn’t even try to answer the question.

       Regarding Interrogatory No. 2, the number of views occurring on InfoWars.com for your
       clients’ videos is obviously within your clients’ possession, and you have no excuse for failing
       to answer. With regard to evidence your client maintained on video platforms such as
       YouTube which your client claims to no longer possess, we consider that evidence spoliated if
       not produced.

       Regarding Request for Production No. 2, your client produced similar marketing and web
       traffic information in Lafferty. During that case, your client arrived at working definitions for
       “marketing data” and “web traffic data.” Moreover, mere sales data does not constitute net
       worth evidence. This information is plainly relevant. You say you are working to “finalize
       gathering these documents,” but you have no justification for failing to timely respond.
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       Regarding Request for Production No. 3, you refuse to provide the documents you used to
       answer the Interrogatories, claiming you “will produce relevant responsive documents” at
       some point in the future. However, you answered the Interrogatories, so you are clearly in
       possession of the documents you used when answering. You have no excuse for failing to
       produce these documents.

 We demand that you provide full responsive answers to the above requests and produce responsive
 documents to all of the requests before August 30th, or we will file additional motions under Rule
 215.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP
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                                 CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                                TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                 261st JUDICIAL DISTRICT
              Defendants,           §

  DEFEENDANT, ALEX JONES’S, OBJECTIONS AND ANSWERS TO PLAINTIFF’S
                 SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Alex Jones (“Defendant”),

hereby provides its objections and answers to the Second Set of Interrogatories propounded by

Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these objections and

responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 13, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves            _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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                  DEFENDANT, ALEX JONES’S, OBJECTIONS AND ANSWERS TO
                      PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify by name and last known contact information of any
individual who you chose to employ at Free Speech Systems between December 14, 2012 and July
1, 2021 with duties that involved writing, researching, editing, filming, hosting, or producing
InfoWars media content and who is no longer employed by the company.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Plaintiff has not identified any relevancy between his claims in this lawsuit and the
information requested in this interrogatory. Defendant further objects to the harassing and
burdensome nature of this interrogatory as it would encompass essentially every former employee
of Free Speech Systems during that entire time period, very few of which would have any
relevancy or connection to the claims at issue in this lawsuit. Defendant further objects to this
interrogatory as it is not reasonably calculated to lead to the discovery of admissible evidence.

ANSWER:

Subject and without waiving the foregoing objections, in addition to the undue burden and
prejudicial nature of this interrogatory, Defendant is unable to answer this interrogatory at this
time to the extent those individual(s) may be relevant to the claims in this lawsuit. Defendant
personally does not have the requisite information and knowledge to respond to this interrogatory,
but Defendant and his counsel are continuing to work diligently to obtain this information and will
supplement this answer with such information once determined in accordance with the Texas Rules
of Civil Procedure.


INTERROGATORY NO. 2: Identify by name and any known contact information of any
individual not employed by Free Speech Systems, LLC with whom you have communicated about
this lawsuit or the allegations in this lawsuit since April 16, 2018.

OBJECTIONS:

Defendant objects to this interrogatory as harassing and not reasonably calculated to lead to the
discovery of admissible evidence. Defendant further objects to the extent this interrogatory violates
the attorney-client, work-product, and/or reporter’s privilege. Defendant further objects to this
interrogatory as unduly burdensome and seeking information not relevant to Plaintiff’s claims in
this lawsuit.

RESPONSE:

Subject to and without waiving the foregoing objections, Defendant does not personally have the
requisite information to appropriately respond to this interrogatory. Defendant will further
supplement this answer as necessary in accordance with the Texas Rules of Civil Procedure.

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INTERROGATORY NO. 3: Identify the date and description of the circumstances for any
occasions in which you have made public oral or written statements that were not published by
Free Speech Systems, LLC concerning the Sandy Hook shooting, any relatives of the victims, any
lawsuits brought by relatives of the victims, or the allegations in those lawsuits.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, not narrowly tailored in scope of subject
or time, and unduly burdensome. Defendant further objects to this interrogatory as an improper
compound interrogatory in violation of the Texas Rules. Defendant also objects to the extent this
interrogatory seeks information in violation of the attorney-client and/or work-product privileges.
Defendant further objects to the extent this interrogatory seeks an impermissible narrative that
cannot be adequately confined as an answer to an interrogatory. Defendant further objects to this
interrogatory as vague in its reference to “not published by Free Speech Systems, LLC.”

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to adequately
respond to this interrogatory as phrased by Plaintiff and what Plaintiff means by statements “not
published by Free Speech Systems, LLC” as opposed to Defendant’s individual right to protected
free speech.




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                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                261st JUDICIAL DISTRICT
              Defendants,           §

DEFEENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND ANSWERS TO
           PLAINTIFF’S SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Free Speech Systems, LLC

(“Defendant”), hereby provides its objections and answers to the Second Set of Interrogatories

propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these

objections and responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 12, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves           _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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         DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND ANSWERS TO
                     PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: State the total number of viewers and/or listeners for the June 26,
2017 video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece,” the June 25, 2017
episode of The Alex Jones Show from which the June 26th video was taken, and the July 20, 2017
episode of The Alex Jones Show in which the June 26th video was featured.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Plaintiff has not identified any relevancy between his claims in this lawsuit and the
listed video. Defendant also objects to this interrogatory as not reasonably calculated to lead to the
discovery of admissible evidence.

ANSWER:

Subject and without waiving the foregoing objections, Defendant is currently unable to answer
this interrogatory with the necessary information of total viewers. Defendant and its counsel are
continuing to work diligently to obtain this information but it is currently difficult to establish
given the removal of the referenced clips from various platforms on the internet. In particular,
Defendant does not have requisite information which may be in the possession of third-party
platforms which Defendant is no longer able to utilize. Defendant will further supplement this
answer as necessary in accordance with the Texas Rules of Civil Procedure.


INTERROGATORY NO. 2: Identify every way in which the June 26, 2017 video entitled “Zero
Hedge Discovers Anomaly in Alex Jones Hit Piece,” the June 25, 2017 episode of The Alex Jones
Show, the July 20, 2017 episode of The Alex Jones Show, or any portions of the foregoing, were
disseminated to the public, whether by radio, television, internet video, or any other publication or
broadcast, whether by Free Speech Systems or by any other authorized entity or person.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, particularly in light of the fact that InfoWars broadcasting occurs across several
platforms simultaneously. Defendant also objects to this interrogatory as vague in its use of the
terms “any other authorized entity or person.”

RESPONSE:

Subject to and without waiving the foregoing objections, at the time referenced in Plaintiff’s
interrogatory, InfoWars-related broadcasts, posts, videos, etc., in particular The Alex Jones Show,
were simulcast across multiple platforms, including Twitter, Facebook, YouTube, and others, most
of which are no longer available to FSS. As such, Defendant is currently unable to determine which
of these platforms were actually utilized to simulcast the particular broadcasts referenced in

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Plaintiff’s interrogatory. Defendant will further supplement this answer as necessary in accordance
with the Texas Rules of Civil Procedure.


INTERROGATORY NO. 3: Identify every individual at Free Speech Systems, LLC who was
aware of the Zero Hedge blog post “Megyn Kelly Fails to Fact Check Sandy Hook Father’s
Contradictory Claim in the Alex Jones Hit Piece” prior to Owen Shroyer discussing that blog post
on the Alex Jones Show.

OBJECTIONS:

Defendant objects to this interrogatory as vague in its use of the term “aware.” Defendant further
objects to this interrogatory as unduly burdensome and not reasonably calculated to lead to the
discovery of admissible evidence.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant has no information responsive
to this interrogatory. Defendant will further supplement this answer as necessary in accordance
with the Texas Rules of Civil Procedure.




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                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.

Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56274306
Status as of 8/13/2021 12:01 AM CST

Case Contacts

Name                BarNumber Email                   TimestampSubmitted      Status

Marc Randazza                    ecf@randazza.com     8/13/2021 12:00:28 AM   SENT

Bradley Reeves                   brad@brtx.law        8/13/2021 12:00:28 AM   SENT

Carmen Scott                     carmen@fbtrial.com   8/13/2021 12:00:28 AM   SENT



Associated Case Party: NeilHeslin

Name                 BarNumber    Email               TimestampSubmitted      Status

Mark D.Bankston                   mark@fbtrial.com 8/13/2021 12:00:28 AM      SENT



Associated Case Party: AlexE.Jones

Name                 BarNumber Email                          TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/13/2021 12:00:28 AM SENT
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                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                261st JUDICIAL DISTRICT
              Defendants,           §

 DEFEENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND RESPONSES
         TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Free Speech Systems, LLC

(“Defendant”), hereby provides its objections and responses to the Second Requests for Production

propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these

objections and responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 12, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves           _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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        DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND RESPONSES TO
                   PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents concerning Neil Heslin.

OBJECTIONS:

Defendant objects to this request as overly broad on its face because it is not sufficiently narrowed
in scope of time. Defendant also objects to this request to the extent it seeks documents that are
protected by the work-product and/or attorney-client privileges. Defendant further objects to this
request as vague in its use of the broad term “concerning.” Subject to and without waiving the
foregoing objections,

RESPONSE:

Responsive documents have previously been produced to the extent such documents are in the
possession, custody, or control of Defendant. Moreover, Defendant is continuing to supplement
its production and continues to search for responsive documents to further supplement his
production as necessary in accordance with the Texas Rules of Civil Procedure, expect to the extent
such documents are protected from production by the applicable privileges cited above.


REQUEST FOR PRODUCTION NO. 2: All financial statements between 2012-2018,
including but not limited to, profit and loss statements, general ledger, trial balance statements,
cash flow statements, and equity draws.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to the extent this request seeks documents in violation
of the accountant-client privilege. Defendant also objects to this request as vague in its use of the
terms “financial statements.”

RESPONSE:

Defendant believes such documents are not relevant to Plaintiff’s claims and this request violates
§ 41.005 of the Texas Civil Practices and Remedies Code regarding net worth discovery.
Defendant will further supplement this response as necessary if the necessary Court order is
entered regarding the production of such documents and if a mutually agreeable protective and
confidentiality order is also entered by the Court.




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REQUEST FOR PRODUCTION NO. 3: All master-level or overview reports created to
summarize product sales performance from December 14, 2012 to the present day.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to the extent this request seeks documents in violation
of the accountant-client privilege. Defendant also objects to this request as vague in its use of the
terms “master-level,” “overview reports,” and “product sales performance.” Defendant further
objects to the extent this request seeks documents pertaining to protected confidential trade secrets
and financial information to which Plaintiff is not entitled absent a court order.

RESPONSE:

Defendant believes such documents are not relevant to Plaintiff’s claims and this request violates
§ 41.005 of the Texas Civil Practices and Remedies Code regarding net worth discovery, along
with this request impermissibly seeking protected trade secrets and financial information of
Defendant. Defendant will further supplement this response as necessary if the necessary Court
order is entered regarding the production of such documents and if a mutually agreeable protective
and confidentiality order is also entered by the Court.


REQUESTS FOR PRODUCTION NO. 4: All documents you relied on in answering
Plaintiff’s Second Set of Interrogatories.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to this request as vague in its broad reference to the
“videos in Plaintiffs’ petition” without further specifying same in Plaintiff’s request.

RESPONSE:

Subject to and without waiving the foregoing objections, Defendant will produce relevant
responsive documents to the extent it has not already done so, except to the extent such requests
seek net worth-related documents without the necessary court order for same.




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56274306
Status as of 8/13/2021 12:01 AM CST

Associated Case Party: AlexE.Jones

Name                 BarNumber Email                          TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/13/2021 12:00:28 AM SENT



Associated Case Party: NeilHeslin

Name                 BarNumber    Email               TimestampSubmitted      Status

Mark D.Bankston                   mark@fbtrial.com 8/13/2021 12:00:28 AM      SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted      Status

Marc Randazza                    ecf@randazza.com     8/13/2021 12:00:28 AM   SENT

Bradley Reeves                   brad@brtx.law        8/13/2021 12:00:28 AM   SENT

Carmen Scott                     carmen@fbtrial.com   8/13/2021 12:00:28 AM   SENT
22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                 CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                                TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                 261st JUDICIAL DISTRICT
              Defendants,           §

       DEFEENDANT, OWEN SHROYER’S, OBJECTIONS AND ANSWERS TO
             PLAINTIFF’S SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Owen Shroyer (“Defendant”),

hereby provides his objections and answers to the Second Set of Interrogatories propounded by

Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these objections and

responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 12, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves            _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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                DEFENDANT, OWEN SHROYER’S, OBJECTIONS AND ANSWERS TO
                      PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify by name and address every employer you have had since
June 26, 2012 and every job title you have held during that period.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Defendant’s employment history has no bearing on the issues in this lawsuit.
Defendant further objects to this interrogatory as not seeking information relevant to this lawsuit
or Plaintiff’s claims in any way.

ANSWER:

Subject and without waiving the foregoing objections, Defendant has been a free-lance reporter,
podcaster, political activist, and commentator for a number of years. Defendant will further
supplement this answer as necessary in accordance with the Texas Rules of Civil Proceedure.


INTERROGATORY NO. 2: Identify every individual you communicated with on June 25, 2017
between the time you first saw the Zero Hedge blog post “Megyn Kelly Fails to Fact Check Sandy
Hook Father’s Contradictory Claim in Alex Jones Hit Piece” and the time you discussed that blog
post on the Alex Jones Show.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad and unduly burdensome and not reasonable
calculated to lead to the discovery of admissible evidence. Defendant further objects to the extent
this interrogatory seeks information that is private and otherwise has nothing to do with Plaintiff’s
claims in his lawsuit. Defendant further objects to this interrogatory as vague in it fails to specify
any real period of time but only states “when you first saw” the blog post.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to answer this
interrogatory because Defendant cannot remember that time period with enough specificity to
remember and list all individuals he may have communicated with during that vague period of
time referenced in Plaintiff’s interrogatory from when Defendant “first saw” the blog post and
when it was discussed on the Alex Jones Show. Defendant will further supplement this answer as
necessary in accordance with the Texas Rules of Civil Procedure if and when additional
information responsive to this interrogatory is learned/determined by Defendant.




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INTERROGATORY NO. 3: Describe how and at what time you became aware of the Zero
Hedge blog post “Megyn Kelly Fails to Fact Check Sandy Hook Father’s Contradictory Claim in
Alex Jones Hit Piece” on June 25, 2017.

OBJECTIONS:

Defendant objects to this interrogatory as vague in its use of the term “you became aware” without
further explaining what level of “aware” Defendant would be required to have to actually know of
the blog post’s existence and contents of that blog post.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to respond to this
interrogatory and provide a specific time as to when Defendant “became aware” of this blog post.
Defendant will further supplement this answer as necessary in accordance with the Texas Rules of
Civil Procedure if and when more information responsive to this interrogatory becomes available
to Defendant.


INTERROGATORY NO. 4: Identify by date any occasions in which you have made public oral
or written statements concerning the Sandy Hook shooting, any relatives of the victims, any
lawsuits brought by relatives of the victims, or the allegations in those lawsuits. If those statements
were orally made on an InfoWars show, state the show and the episode title. If those statements
were made on the InfoWars website, identify the title of the webpage and URL. If those statements
were made elsewhere, describe the circumstances of the statements.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, not narrowly tailored in scope of subject
or time, and unduly burdensome. Defendant further objects to this interrogatory as an improper
compound interrogatory in violation of the Texas Rules. Defendant also objects to the extent this
interrogatory seeks information in violation of the attorney-client and/or work-product privileges.
Defendant further objects to the extent this interrogatory seeks an impermissible narrative that
cannot be adequately confined as an answer to an interrogatory.

ANSWER:

Subject to and without waiving the foregoing objections, Plaintiff is seeking to have Defendant go
through years of his comments, appearances, political activism, posts, and the like for at last the
last almost nine (9) years—which occur on a regular and almost daily basis—from the time when
the Sandy Hook shooting occurred (December 14, 2012) to the present—when Defendant is a
reporter, host, and activist who makes a living off of providing news-worthy content to the public.
Defendant is simply unable to state with any specificity the “occasions” on which Defendant has
made any comments or statements of any sort which Plaintiff would somehow deem responsive to
this interrogatory. As such, Defendant at this time does not have the requisite information to
respond to this interrogatory as currently phrased by Plaintiff and it would force Defendant an

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undue hardship and burden to have to do so without further clarification and appropriate
boundaries on this interrogatory from Plaintiff.




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56274306
Status as of 8/13/2021 12:01 AM CST

Associated Case Party: NeilHeslin

Name                 BarNumber    Email               TimestampSubmitted      Status

Mark D.Bankston                   mark@fbtrial.com 8/13/2021 12:00:28 AM      SENT



Associated Case Party: AlexE.Jones

Name                 BarNumber Email                          TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/13/2021 12:00:28 AM SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted      Status

Marc Randazza                    ecf@randazza.com     8/13/2021 12:00:28 AM   SENT

Bradley Reeves                   brad@brtx.law        8/13/2021 12:00:28 AM   SENT

Carmen Scott                     carmen@fbtrial.com   8/13/2021 12:00:28 AM   SENT
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                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                261st JUDICIAL DISTRICT
              Defendants,           §

      DEFEENDANT, OWEN SHROYER’S, OBJECTIONS AND RESPONSES TO
            PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Owen Shroyer (“Defendant”),

hereby provides his objections and responses to the Second Requests for Production propounded

by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these objections

and responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 12, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves           _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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               DEFENDANT, OWEN SHROYER’S, OBJECTIONS AND RESPONSES TO
                    PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All communications you sent or received concerning
the Sandy Hook shooting, any relatives of the victims, any lawsuits brought by relatives of the
victims, or the allegations in those lawsuits since the start of your employment at Free Speech
Systems, LLC.

OBJECTIONS:

Defendant objects to this request as overly broad on its face because it is not sufficiently narrowed
in scope of time. Defendant also objects to this request to the extent it seeks documents that are
protected by the work-product and/or attorney-client privileges. Defendant further objects to this
request as vague in its use of the broad term “concerning.” Defendant also objects to this request
as it assumes facts not in evidence as to whether Defendant was employed by Free Speech Systems,
LLC. Defendant further objects to the extent this request seeks to have Defendant prematurely
marshal all evidence and documents in his defense in this case. Subject to and without waiving the
foregoing objections,

RESPONSE:

Subject to and without waiving the foregoing objections, Defendant is not currently in possession,
custody, or control of documents responsive to this request beyond those which may be in the
possession, custody, or control of Free Speech Systems, LLC. Defendant is continuing to diligently
search to determine if any documents responsive to this request are indeed in his care, possession,
custody, or control, and will further supplement his production with the same as necessary in
accordance with the Texas Rules of Civil Procedure, expect to the extent such documents are
protected from production by the applicable privileges cited above.




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REQUEST FOR PRODUCTION NO. 2: All communications you sent or received concerning
a “false flag” since the start of your employment at Free Speech Systems, LLC.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant further objects to this request as not sufficiently tailored in scope
of time or subject matter in that it seeks documents that have nothing to do with the underlying
Sandy Hook tragedy at issue in this case. Defendant further objects to this request to the extent it
seeks documents in violation of the attorney-client and/or work-product privileges.

RESPONSE:

Subject to and without waiving the foregoing objections, Defendant is not currently in possession,
custody, or control of documents responsive to this request beyond those which may be in the
possession, custody, or control of Free Speech Systems, LLC. Defendant is continuing to diligently
search to determine if any documents responsive to this request are indeed in his care, possession,
custody, or control, and will further supplement his production with the same as necessary in
accordance with the Texas Rules of Civil Procedure, expect to the extent such documents are
protected from production by the applicable privileges cited above.




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56274306
Status as of 8/13/2021 12:01 AM CST

Associated Case Party: AlexE.Jones

Name                 BarNumber Email                          TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/13/2021 12:00:28 AM SENT



Associated Case Party: NeilHeslin

Name                 BarNumber    Email               TimestampSubmitted      Status

Mark D.Bankston                   mark@fbtrial.com 8/13/2021 12:00:28 AM      SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted      Status

Marc Randazza                    ecf@randazza.com     8/13/2021 12:00:28 AM   SENT

Bradley Reeves                   brad@brtx.law        8/13/2021 12:00:28 AM   SENT

Carmen Scott                     carmen@fbtrial.com   8/13/2021 12:00:28 AM   SENT
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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 57253182
Status as of 9/17/2021 2:56 PM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email               TimestampSubmitted     Status

Mark D.Bankston                 mark@fbtrial.com 9/15/2021 8:25:02 AM      SENT



Case Contacts

Name              BarNumber Email                   TimestampSubmitted     Status

William Ogden                  bill@fbtrial.com     9/15/2021 8:25:02 AM   SENT

Bradley Reeves                 brad@brtx.law        9/15/2021 8:25:02 AM   SENT

Carmen Scott                   carmen@fbtrial.com   9/15/2021 8:25:02 AM   SENT
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                              D-1-GN-18-001835
 NEIL HESLIN                              §               IN DISTRICT COURT OF
   Plaintiff                              §
                                          §
 VS.                                      §               TRAVIS COUNTY, TEXAS
                                          §
 ALEX E. JONES, INFOWARS, LLC,            §
 FREE SPEECH SYSTEMS, LLC, and            §                459th DISTRICT COURT
 OWEN SHROYER,                            §
   Defendants                             §


       PLAINTIFF’S MOTION TO COMPEL RESPONSES TO SECOND SET OF
            DISCOVERY REQUESTS AND MOTION FOR SANCTIONS


        Comes now Plaintiff Neil Heslin, who moves this Court for an Order compelling

full and fair responses to his Second Set of Interrogatories and Requests for

Production, and an Order assessing sanctions for discovery obstruction.

                                   BACKGROUND

        On July 13, 2021, following remand, Plaintiff served his Second Set of

Interrogatories and Requests for Production. This discovery was very limited, and it

was primarily aimed at issues relating to damages, such as the total viewership of the

challenged videos and the places where those videos appeared, as well as other basic

information such as the individuals involved in those videos and the identity of

former employees.

        On August 13, 2021, Defendants provided their responses. Defendants

provided no meaningful information and claimed an inability to answer most of the



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requests. On August 18, 2021, Plaintiffs wrote to Defendants to confer about their

deficient discovery responses. Plaintiffs detailed the problems with Defendants’

evasive responses. Plaintiffs demanded that Defendants “provide full responsive

answers to the above requests and produce responsive documents to all of the

requests before August 30th, or [Plaintiffs] will file additional motions under Rule

215.” 1 Defendants refused to provide supplemental responses.

          The following day, at the Court’s oral hearing on August 31, 2021, Defendants

claimed they would be supplementing discovery in 14 days. As a result, Plaintiff

refrained from the filing the instant motion and awaited to review those

supplemental responses. No responses were provided. Plaintiff now seeks an order

compelling production and appropriate sanctions.

                                            ARGUMENT

I.        Discovery Answers from Alex Jones Should be Compelled.

          In his responses, Alex Jones refused to fairly answer the interrogatories posed

to him. The Court should compel responses to these interrogatories:

INTERROGATORY NO. 1:

                 Identify by name and last known contact information of
                 any individual who you chose to employ at Free Speech
                 Systems between December 14, 2012 and July 1, 2021 with
                 duties that involved writing, researching, editing, filming,
                 hosting, or producing InfoWars media content and who is
                 no longer employed by the company.




1   Exhibit 1, August 18, 2021 Email to Defendants.


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       Mr. Jones lodged several frivolous objections. In addition, Mr. Jones claimed

that he “is unable to answer this interrogatory at this time to the extent those

individual(s) may be relevant to the claims in this lawsuit.” 2 Mr. Jones claimed he

would “supplement this answer with such information once determined in

accordance with the Texas Rules of Civil Procedure.” 3 To date, he has not done so.

With reasonable diligence, Mr. Jones should be able to identify employees in

production roles who have been terminated or resigned.

INTERROGATORY NO. 2:

               Identify by name and any known contact information of
               any individual not employed by Free Speech Systems, LLC
               with whom you have communicated about this lawsuit or
               the allegations in this lawsuit since April 16, 2018.

       Mr. Jones lodged frivolous objections, then claimed that he “does not

personally have the requisite information to appropriately respond to this

interrogatory. 4” Mr. Jones claimed he would “further supplement this answer as

necessary in accordance with the Texas Rules of Civil Procedure.” 5 To date, he has not

done so. Obviously, Mr. Jones should know the people outside the company with

whom he discussed this case, or he could find out with a reasonable diligence.

INTERROGATORY NO. 3:

               Identify the date and description of the circumstances for
               any occasions in which you have made public oral or
               written statements that were not published by Free Speech

2 Exhibit 2, Alex Jones Interrogatory Responses.
3 Id.
4 Id.
5 Id.




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                Systems, LLC concerning the Sandy Hook shooting, any
                relatives of the victims, any lawsuits brought by relatives
                of the victims, or the allegations in those lawsuits.

          After his standard objections, Mr. Jones claimed he “is unable to adequately

respond to this interrogatory as phrased by Plaintiff and what Plaintiff means by

statements ‘not published by Free Speech Systems, LLC’ as opposed to Defendant’s

individual right to protected free speech.” 6 Here, it appears Mr. Jones made no efforts

to identify occasions he has made statements about Sandy Hook outside InfoWars.

For example, Mr. Jones obviously knows he appeared on Megyn Kelly’s show to

discuss Sandy Hook. Mr. Jones makes few media appearances, so any other

appearances should be well-documented. A full answer should be compelled.

II.       Discovery Answers from Free Speech Systems, LLC Should be Compelled.

          In its responses, Free Speech Systems, LLC refused to fairly answer the

interrogatories posed to it. The Court should compel responses to these requests:

INTERROGATORY NO. 1:

                State the total number of viewers and/or listeners for the
                June 26, 2017 video entitled “Zero Hedge Discovers
                Anomaly in Alex Jones Hit Piece,” the June 25, 2017 episode
                of The Alex Jones Show from which the June 26th video was
                taken, and the July 20, 2017 episode of The Alex Jones Show
                in which the June 26th video was featured.

          Free Speech Systems’ answer begins with the objection that there is no

“relevancy between [Heslin’s] claims in this lawsuit and the listed video,” which is a




6   Id.


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baffling objection since the listed videos are the Challenged Statements in this lawsuit.

After making frivolous objections, Free Speech Systems claimed it “is currently unable

to answer this interrogatory with the necessary information of total viewers.” 7

Defendants claimed they were “continuing to work diligently to obtain this

information but it is currently difficult to establish given the removal of the

referenced clips from various platforms on the internet.” 8 This answer is insufficient.

As Plaintiffs made clear in their conferral letter, the number of views occurring on

InfoWars.com for these videos are obviously within InfoWars’ possession, and they

have no excuse for failing to answer. With regard to evidence InfoWars distributed on

third party video platforms such as YouTube, it is now clear that evidence has been

spoliated.

INTERROGATORY NO. 2:

                 Identify every way in which the June 26, 2017 video
                 entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit
                 Piece,” the June 25, 2017 episode of The Alex Jones Show,
                 the July 20, 2017 episode of The Alex Jones Show, or any
                 portions of the foregoing, were disseminated to the public,
                 whether by radio, television, internet video, or any other
                 publication or broadcast, whether by Free Speech Systems
                 or by any other authorized entity or person.

          After making baseless objections, Free Speech Systems refused to fully answer,

claiming it “is currently unable to determine which of these platforms were actually

utilized to simulcast the particular broadcasts referenced in Plaintiff’s interrogatory.”



7   Exhibit 3, Free Speech Systems Answers to Interrogatories.
8   Id.


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This response not only failed to identify all web-based methods of disseminating

InfoWars videos, but it also failed to identify the various radio distribution

agreements and television/cable broadcasting agreements by which Defendants’

videos are distributed. Yet Defendants refuse to supplement their answer.

INTERROGATORY NO. 3:

                 Identify every individual at Free Speech Systems, LLC who
                 was aware of the Zero Hedge blog post “Megyn Kelly Fails
                 to Fact Check Sandy Hook Father’s Contradictory Claim in
                 the Alex Jones Hit Piece” prior to Owen Shroyer discussing
                 that blog post on the Alex Jones Show.

          After making baseless objections, Free Speech Systems claims it “has no

information responsive to this interrogatory.” Due to Defendants’ failure to secure

evidence and identify persons with knowledge of relevant facts at the outset of this

case, Defendants now claim they unable to identify the employees involved in

creating the Challenged Video. This answer is plainly insufficient and shows a lack of

reasonable inquiry.

REQUEST FOR PRODUCTION NO. 3:

                 All master-level or overview reports created to summarize
                 product sales performance from December 14, 2012 to the
                 present day.

          Free Speech Systems objected to this request, claiming that it violated § 41.005

of the TEX. CIV. PRAC. & REM. CODE by seeking “net worth” information. 9 Yet that

section only applies to information which reveals a party’s net worth, such as financial


9   Exhibit 4, Free Speech Systems Responses to Requests for Production.


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balances or tax returns. Mere sales data is not prohibited as net worth evidence. Free

Speech Systems also objected to the terms “master-level,” “overview reports,” and

“product sales performance,” but as Plaintiff pointed out, Defendants defined these

terms by agreement in Lafferty when faced with requests using those terms. A full

response should be compelled.

REQUESTS FOR PRODUCTION NO. 4:

             All documents you relied on in answering Plaintiff’s Second
             Set of Interrogatories.

       Free Speech Systems objected to this request to the extent it seeks “documents

regarding Defendants’ net worth,” but otherwise promised that it would “produce

relevant responsive documents to the extent it has not already done so.” No

documents have been provided, which is to be expected since the interrogatories

have been evasively answered. A full response should be compelled.

III.   Discovery Answers from Owen Shroyer Should be Compelled.

       In his responses, Owen Shroyer refused to fairly answer the interrogatories

posed to him. The Court should compel responses to these requests:

INTERROGATORY NO. 1:

             Identify by name and address every employer you have had
             since June 26, 2012 and every job title you have held during
             that period.




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          Mr. Shroyer did not identify any former employers. He claimed he would

“supplement this answer.” 10 He has not done so.

INTERROGATORY NO. 4:

                 Identify by date any occasions in which you have made
                 public oral or written statements concerning the Sandy
                 Hook shooting, any relatives of the victims, any lawsuits
                 brought by relatives of the victims, or the allegations in
                 those lawsuits. If those statements were orally made on an
                 InfoWars show, state the show and the episode title. If
                 those statements were made on the InfoWars website,
                 identify the title of the webpage and URL. If those
                 statements were made elsewhere, describe the
                 circumstances of the statements.

          Mr. Shroyer claimed in his answer that he “does not have the requisite

information to respond to this interrogatory.” It does not appear that Mr. Shroyer has

done anything to exercise diligence in answering this request.

REQUEST FOR PRODUCTION NO. 1:

                 All communications you sent or received concerning the
                 Sandy Hook shooting, any relatives of the victims, any
                 lawsuits brought by relatives of the victims, or the
                 allegations in those lawsuits since the start of your
                 employment at Free Speech Systems, LLC.

          Mr. Shroyer frivolously objected “this request as it assumes facts not in

evidence as to whether Defendant was employed by Free Speech Systems, LLC.” 11

Further, Mr. Shroyer claimed he was not in possession of documents “beyond those

which may be in the possession, custody, or control of Free Speech Systems, LLC.” Yet



10   Exhibit 5, Owen Shroyer Responses to Interrogatories.
11   Exhibit 6, Owen Shroyer Responses to Request for Production.


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Defendants have not produced any documents responsive to this request, whether

from Shroyer or documents held by Free Speech Systems on this topic.

                                   CONCLUSION

      Defendants’ continuing discovery obstruction cannot be defended. As such,

Plaintiffs ask this Court to compel responses, award costs, and assess any appropriate

sanctions under Rule 215.

                                       Respectfully submitted,

                                       KASTER LYNCH FARRAR & BALL, LLP


                                       ____________________________________
                                       MARK D. BANKSTON
                                       State Bar No. 24071066
                                       WILLIAM R. OGDEN
                                       State Bar No. 24073531
                                       1117 Herkimer
                                       Houston, Texas 77008
                                       713.221.8300 Telephone
                                       713.221.8301 Fax




                                          9
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                        CERTIFICATE OF CONFERENCE

      I hereby certify that I conferred with opposing counsel about this Motion, and
they are opposed.




                                      ____________________________________
                                      MARK D. BANKSTON




                           CERTIFICATE OF SERVICE

      I hereby certify that on September 15, 2021, the forgoing document was served
upon all counsel of record via electronic service.




                                      ____________________________________
                                      MARK D. BANKSTON




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                                 D-1-GN-18-001835
 NEIL HESLIN                                   §                  IN DISTRICT COURT OF
   Plaintiff                                   §
                                               §
 VS.                                           §                 TRAVIS COUNTY, TEXAS
                                               §
 ALEX E. JONES, INFOWARS, LLC,                 §
 FREE SPEECH SYSTEMS, LLC, and                 §                   459th DISTRICT COURT
 OWEN SHROYER,                                 §
   Defendants                                  §


       ORDER ON MOTION TO COMPEL RESPONSES TO SECOND SET OF
           DISCOVERY REQUESTS AND MOTION FOR SANCTIONS


       On this day, the Court considered Plaintiffs’ Motion to Compel Responses to

Second Set of Discovery Requests and Motion for Sanctions. The Court finds there is

good cause to grant the Motion.

       It hereby ORDERED that Defendants must provide full and fair responses to the

requests within 14 days.

       It is further ORDERED that Defendants shall pay Plaintiff’s reasonable

attorneys fees in connection with this Motion.

       It is further ORDERED that the following additional remedies under Rule 215

shall be assessed: ___________________________________________________________________________

________________________________________________________________________________________________

       Dated ___________________________, 2021.

                                                    _____________________________________
                                                    Hon. Maya Guerra Gamble
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 From:            Mark Bankston
 To:              "Bradley Reeves"
 Cc:              Bill Ogden
 Subject:         Recent Discovery Responses in Heslin and Lewis
 Date:            Wednesday, August 18, 2021 1:20:00 PM


 I write to confer about your recent discovery responses in Heslin and Lewis. Your responses are
 plainly deficient. In particular, I would draw your attention to the following:

 Discovery to Free Speech Systems in Heslin

        Regarding Interrogatory No. 1, we are baffled by your statement that there is no “relevancy
        between his claims in this lawsuit and the listed video.” The listed videos are the Challenged
        Statements in this lawsuit. Moreover, the number of views occurring on InfoWars.com for the
        June 25, 2017 and July 20, 2017 episodes of the Alex Jones Show are obviously within your
        clients’ possession, and you have no excuse for failing to answer. With regard to evidence
        your client maintained on video platforms such as YouTube which your client claims to no
        longer possess, we consider that evidence spoliated if not produced.

        Regarding Interrogatory No. 2, you failed to even attempt to provide a responsive answer.
        First, you failed to identify all web-based methods of disseminating InfoWars videos while
        noting there are “others.” Second, as noted in the request, your client disseminates his videos
        beyond the web. Your client has radio agreements as well as broadcasting agreements by
        which InfoWars is carried on certain television content packages, which your response
        ignored. The total reach of your clients’ statements is relevant to Plaintiffs’ damages.

        Regarding Request for Production No. 3, we are entitled to discovery of product sales
        performance to show motive for making the malicious false statements. Sales information
        does not constitute net worth evidence and is not prohibited by § 41.005. In addition, your
        client knows the meaning of the terms “master-level,” “overview reports,” and “product sales
        performance” because your client negotiated the meanings of those terms in Lafferty.

 Discovery to Alex Jones in Heslin

        Regarding Interrogatory No. 1, your client clearly has the ability to identify former employees
        and their contact information. You have no excuse for refusing to answer this question.

        Regarding Interrogatory No. 2, it makes no sense that your client would not have the
        information about who he has communicated with about the lawsuit since it began. The rules
        require your client to perform a reasonable search for this information, which he obviously
        has not done.

        Regarding Interrogatory No. 3, your client made no efforts to identify occasions he has made
        statements about Sandy Hook on platforms other than InfoWars. For example, Mr. Jones
        obviously knows he appeared on Megyn Kelly’s show to discuss Sandy Hook. Mr. Jones makes
        few media appearances, so any other appearances should be well-documented.
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       Regarding Request for Production No. 3, it is Plaintiffs’ contention that your client’s
       motivations in spreading his false information is to undermine civil order and foster mayhem
       and revolt. We believe his communications relating to January 6 would support this motive
       and Plaintiff’s punitive damages claim.

 Discovery to Owen Shroyer in Heslin

       Regarding Interrogatory No. 1, your client failed to answer. He did not provide the name or
       address of any employer. There is no excuse for his refusal to answer.

       Regarding Interrogatory No. 4, we are entitled to know if Mr. Shroyer has previously made
       comments about Sandy Hook. It does not appear he even tried to answer this question.

       Regarding Request for Production No. 1, it is not credible that Mr. Shroyer is unable to
       determine if he has sent or received responsive communications.

 Discovery to Free Speech Systems in Lewis

       Regarding Interrogatory No. 1, you have clearly not reviewed the parties’ pleadings or your
       clients’ videos, as you obviously do not understand how the videos are created and
       disseminated. The overwhelming majority of the videos identified in Plaintiffs’ petition are
       YouTube videos. Those videos were created by editing a clip out of a full episode of the Alex
       Jones Show. For example, we discovered in litigation that the video that defamed Mr. Heslin,
       uploaded to YouTube on June 26, 2017 as “Zero Hedge Discovers Anomaly in Alex Jones Hit
       Piece,” was taken from the June 25, 2017 episode of the Alex Jones Show, which was entitled
       “Exclusive Feds Plan to Drop Russia Investigation Left Plans to Riot.” Throughout this litigation,
       your clients have argued that Plaintiffs were unable to offer the full episodes, did not offer
       evidence of the date of actual publication, and did not offer evidence of the entire
       publication. (See, e.g., Heslin Appellants’ Brief, p. 30). Each of the YouTube videos in the
       Plaintiffs’ petition originated in a full episode, and we are entitled to learn what those
       episodes are. Your response doesn’t even try to answer the question.

       Regarding Interrogatory No. 2, the number of views occurring on InfoWars.com for your
       clients’ videos is obviously within your clients’ possession, and you have no excuse for failing
       to answer. With regard to evidence your client maintained on video platforms such as
       YouTube which your client claims to no longer possess, we consider that evidence spoliated if
       not produced.

       Regarding Request for Production No. 2, your client produced similar marketing and web
       traffic information in Lafferty. During that case, your client arrived at working definitions for
       “marketing data” and “web traffic data.” Moreover, mere sales data does not constitute net
       worth evidence. This information is plainly relevant. You say you are working to “finalize
       gathering these documents,” but you have no justification for failing to timely respond.
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       Regarding Request for Production No. 3, you refuse to provide the documents you used to
       answer the Interrogatories, claiming you “will produce relevant responsive documents” at
       some point in the future. However, you answered the Interrogatories, so you are clearly in
       possession of the documents you used when answering. You have no excuse for failing to
       produce these documents.

 We demand that you provide full responsive answers to the above requests and produce responsive
 documents to all of the requests before August 30th, or we will file additional motions under Rule
 215.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP
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                                 CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                                TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                 261st JUDICIAL DISTRICT
              Defendants,           §

  DEFEENDANT, ALEX JONES’S, OBJECTIONS AND ANSWERS TO PLAINTIFF’S
                 SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Alex Jones (“Defendant”),

hereby provides its objections and answers to the Second Set of Interrogatories propounded by

Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these objections and

responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 13, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves            _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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                  DEFENDANT, ALEX JONES’S, OBJECTIONS AND ANSWERS TO
                      PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify by name and last known contact information of any
individual who you chose to employ at Free Speech Systems between December 14, 2012 and July
1, 2021 with duties that involved writing, researching, editing, filming, hosting, or producing
InfoWars media content and who is no longer employed by the company.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Plaintiff has not identified any relevancy between his claims in this lawsuit and the
information requested in this interrogatory. Defendant further objects to the harassing and
burdensome nature of this interrogatory as it would encompass essentially every former employee
of Free Speech Systems during that entire time period, very few of which would have any
relevancy or connection to the claims at issue in this lawsuit. Defendant further objects to this
interrogatory as it is not reasonably calculated to lead to the discovery of admissible evidence.

ANSWER:

Subject and without waiving the foregoing objections, in addition to the undue burden and
prejudicial nature of this interrogatory, Defendant is unable to answer this interrogatory at this
time to the extent those individual(s) may be relevant to the claims in this lawsuit. Defendant
personally does not have the requisite information and knowledge to respond to this interrogatory,
but Defendant and his counsel are continuing to work diligently to obtain this information and will
supplement this answer with such information once determined in accordance with the Texas Rules
of Civil Procedure.


INTERROGATORY NO. 2: Identify by name and any known contact information of any
individual not employed by Free Speech Systems, LLC with whom you have communicated about
this lawsuit or the allegations in this lawsuit since April 16, 2018.

OBJECTIONS:

Defendant objects to this interrogatory as harassing and not reasonably calculated to lead to the
discovery of admissible evidence. Defendant further objects to the extent this interrogatory violates
the attorney-client, work-product, and/or reporter’s privilege. Defendant further objects to this
interrogatory as unduly burdensome and seeking information not relevant to Plaintiff’s claims in
this lawsuit.

RESPONSE:

Subject to and without waiving the foregoing objections, Defendant does not personally have the
requisite information to appropriately respond to this interrogatory. Defendant will further
supplement this answer as necessary in accordance with the Texas Rules of Civil Procedure.

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INTERROGATORY NO. 3: Identify the date and description of the circumstances for any
occasions in which you have made public oral or written statements that were not published by
Free Speech Systems, LLC concerning the Sandy Hook shooting, any relatives of the victims, any
lawsuits brought by relatives of the victims, or the allegations in those lawsuits.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, not narrowly tailored in scope of subject
or time, and unduly burdensome. Defendant further objects to this interrogatory as an improper
compound interrogatory in violation of the Texas Rules. Defendant also objects to the extent this
interrogatory seeks information in violation of the attorney-client and/or work-product privileges.
Defendant further objects to the extent this interrogatory seeks an impermissible narrative that
cannot be adequately confined as an answer to an interrogatory. Defendant further objects to this
interrogatory as vague in its reference to “not published by Free Speech Systems, LLC.”

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to adequately
respond to this interrogatory as phrased by Plaintiff and what Plaintiff means by statements “not
published by Free Speech Systems, LLC” as opposed to Defendant’s individual right to protected
free speech.




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                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                261st JUDICIAL DISTRICT
              Defendants,           §

DEFEENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND ANSWERS TO
           PLAINTIFF’S SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Free Speech Systems, LLC

(“Defendant”), hereby provides its objections and answers to the Second Set of Interrogatories

propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these

objections and responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 12, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves           _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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         DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND ANSWERS TO
                     PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: State the total number of viewers and/or listeners for the June 26,
2017 video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece,” the June 25, 2017
episode of The Alex Jones Show from which the June 26th video was taken, and the July 20, 2017
episode of The Alex Jones Show in which the June 26th video was featured.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Plaintiff has not identified any relevancy between his claims in this lawsuit and the
listed video. Defendant also objects to this interrogatory as not reasonably calculated to lead to the
discovery of admissible evidence.

ANSWER:

Subject and without waiving the foregoing objections, Defendant is currently unable to answer
this interrogatory with the necessary information of total viewers. Defendant and its counsel are
continuing to work diligently to obtain this information but it is currently difficult to establish
given the removal of the referenced clips from various platforms on the internet. In particular,
Defendant does not have requisite information which may be in the possession of third-party
platforms which Defendant is no longer able to utilize. Defendant will further supplement this
answer as necessary in accordance with the Texas Rules of Civil Procedure.


INTERROGATORY NO. 2: Identify every way in which the June 26, 2017 video entitled “Zero
Hedge Discovers Anomaly in Alex Jones Hit Piece,” the June 25, 2017 episode of The Alex Jones
Show, the July 20, 2017 episode of The Alex Jones Show, or any portions of the foregoing, were
disseminated to the public, whether by radio, television, internet video, or any other publication or
broadcast, whether by Free Speech Systems or by any other authorized entity or person.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, particularly in light of the fact that InfoWars broadcasting occurs across several
platforms simultaneously. Defendant also objects to this interrogatory as vague in its use of the
terms “any other authorized entity or person.”

RESPONSE:

Subject to and without waiving the foregoing objections, at the time referenced in Plaintiff’s
interrogatory, InfoWars-related broadcasts, posts, videos, etc., in particular The Alex Jones Show,
were simulcast across multiple platforms, including Twitter, Facebook, YouTube, and others, most
of which are no longer available to FSS. As such, Defendant is currently unable to determine which
of these platforms were actually utilized to simulcast the particular broadcasts referenced in

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Plaintiff’s interrogatory. Defendant will further supplement this answer as necessary in accordance
with the Texas Rules of Civil Procedure.


INTERROGATORY NO. 3: Identify every individual at Free Speech Systems, LLC who was
aware of the Zero Hedge blog post “Megyn Kelly Fails to Fact Check Sandy Hook Father’s
Contradictory Claim in the Alex Jones Hit Piece” prior to Owen Shroyer discussing that blog post
on the Alex Jones Show.

OBJECTIONS:

Defendant objects to this interrogatory as vague in its use of the term “aware.” Defendant further
objects to this interrogatory as unduly burdensome and not reasonably calculated to lead to the
discovery of admissible evidence.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant has no information responsive
to this interrogatory. Defendant will further supplement this answer as necessary in accordance
with the Texas Rules of Civil Procedure.




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                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.

Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56274306
Status as of 8/13/2021 12:01 AM CST

Case Contacts

Name                BarNumber Email                   TimestampSubmitted      Status

Marc Randazza                    ecf@randazza.com     8/13/2021 12:00:28 AM   SENT

Bradley Reeves                   brad@brtx.law        8/13/2021 12:00:28 AM   SENT

Carmen Scott                     carmen@fbtrial.com   8/13/2021 12:00:28 AM   SENT



Associated Case Party: NeilHeslin

Name                 BarNumber    Email               TimestampSubmitted      Status

Mark D.Bankston                   mark@fbtrial.com 8/13/2021 12:00:28 AM      SENT



Associated Case Party: AlexE.Jones

Name                 BarNumber Email                          TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/13/2021 12:00:28 AM SENT
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                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                261st JUDICIAL DISTRICT
              Defendants,           §

 DEFEENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND RESPONSES
         TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Free Speech Systems, LLC

(“Defendant”), hereby provides its objections and responses to the Second Requests for Production

propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these

objections and responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 12, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves           _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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        DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND RESPONSES TO
                   PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents concerning Neil Heslin.

OBJECTIONS:

Defendant objects to this request as overly broad on its face because it is not sufficiently narrowed
in scope of time. Defendant also objects to this request to the extent it seeks documents that are
protected by the work-product and/or attorney-client privileges. Defendant further objects to this
request as vague in its use of the broad term “concerning.” Subject to and without waiving the
foregoing objections,

RESPONSE:

Responsive documents have previously been produced to the extent such documents are in the
possession, custody, or control of Defendant. Moreover, Defendant is continuing to supplement
its production and continues to search for responsive documents to further supplement his
production as necessary in accordance with the Texas Rules of Civil Procedure, expect to the extent
such documents are protected from production by the applicable privileges cited above.


REQUEST FOR PRODUCTION NO. 2: All financial statements between 2012-2018,
including but not limited to, profit and loss statements, general ledger, trial balance statements,
cash flow statements, and equity draws.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to the extent this request seeks documents in violation
of the accountant-client privilege. Defendant also objects to this request as vague in its use of the
terms “financial statements.”

RESPONSE:

Defendant believes such documents are not relevant to Plaintiff’s claims and this request violates
§ 41.005 of the Texas Civil Practices and Remedies Code regarding net worth discovery.
Defendant will further supplement this response as necessary if the necessary Court order is
entered regarding the production of such documents and if a mutually agreeable protective and
confidentiality order is also entered by the Court.




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REQUEST FOR PRODUCTION NO. 3: All master-level or overview reports created to
summarize product sales performance from December 14, 2012 to the present day.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to the extent this request seeks documents in violation
of the accountant-client privilege. Defendant also objects to this request as vague in its use of the
terms “master-level,” “overview reports,” and “product sales performance.” Defendant further
objects to the extent this request seeks documents pertaining to protected confidential trade secrets
and financial information to which Plaintiff is not entitled absent a court order.

RESPONSE:

Defendant believes such documents are not relevant to Plaintiff’s claims and this request violates
§ 41.005 of the Texas Civil Practices and Remedies Code regarding net worth discovery, along
with this request impermissibly seeking protected trade secrets and financial information of
Defendant. Defendant will further supplement this response as necessary if the necessary Court
order is entered regarding the production of such documents and if a mutually agreeable protective
and confidentiality order is also entered by the Court.


REQUESTS FOR PRODUCTION NO. 4: All documents you relied on in answering
Plaintiff’s Second Set of Interrogatories.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to this request as vague in its broad reference to the
“videos in Plaintiffs’ petition” without further specifying same in Plaintiff’s request.

RESPONSE:

Subject to and without waiving the foregoing objections, Defendant will produce relevant
responsive documents to the extent it has not already done so, except to the extent such requests
seek net worth-related documents without the necessary court order for same.




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56274306
Status as of 8/13/2021 12:01 AM CST

Associated Case Party: AlexE.Jones

Name                 BarNumber Email                          TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/13/2021 12:00:28 AM SENT



Associated Case Party: NeilHeslin

Name                 BarNumber    Email               TimestampSubmitted      Status

Mark D.Bankston                   mark@fbtrial.com 8/13/2021 12:00:28 AM      SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted      Status

Marc Randazza                    ecf@randazza.com     8/13/2021 12:00:28 AM   SENT

Bradley Reeves                   brad@brtx.law        8/13/2021 12:00:28 AM   SENT

Carmen Scott                     carmen@fbtrial.com   8/13/2021 12:00:28 AM   SENT
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                                 CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                                TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                 261st JUDICIAL DISTRICT
              Defendants,           §

       DEFEENDANT, OWEN SHROYER’S, OBJECTIONS AND ANSWERS TO
             PLAINTIFF’S SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Owen Shroyer (“Defendant”),

hereby provides his objections and answers to the Second Set of Interrogatories propounded by

Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these objections and

responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 12, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves            _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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                DEFENDANT, OWEN SHROYER’S, OBJECTIONS AND ANSWERS TO
                      PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify by name and address every employer you have had since
June 26, 2012 and every job title you have held during that period.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Defendant’s employment history has no bearing on the issues in this lawsuit.
Defendant further objects to this interrogatory as not seeking information relevant to this lawsuit
or Plaintiff’s claims in any way.

ANSWER:

Subject and without waiving the foregoing objections, Defendant has been a free-lance reporter,
podcaster, political activist, and commentator for a number of years. Defendant will further
supplement this answer as necessary in accordance with the Texas Rules of Civil Proceedure.


INTERROGATORY NO. 2: Identify every individual you communicated with on June 25, 2017
between the time you first saw the Zero Hedge blog post “Megyn Kelly Fails to Fact Check Sandy
Hook Father’s Contradictory Claim in Alex Jones Hit Piece” and the time you discussed that blog
post on the Alex Jones Show.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad and unduly burdensome and not reasonable
calculated to lead to the discovery of admissible evidence. Defendant further objects to the extent
this interrogatory seeks information that is private and otherwise has nothing to do with Plaintiff’s
claims in his lawsuit. Defendant further objects to this interrogatory as vague in it fails to specify
any real period of time but only states “when you first saw” the blog post.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to answer this
interrogatory because Defendant cannot remember that time period with enough specificity to
remember and list all individuals he may have communicated with during that vague period of
time referenced in Plaintiff’s interrogatory from when Defendant “first saw” the blog post and
when it was discussed on the Alex Jones Show. Defendant will further supplement this answer as
necessary in accordance with the Texas Rules of Civil Procedure if and when additional
information responsive to this interrogatory is learned/determined by Defendant.




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INTERROGATORY NO. 3: Describe how and at what time you became aware of the Zero
Hedge blog post “Megyn Kelly Fails to Fact Check Sandy Hook Father’s Contradictory Claim in
Alex Jones Hit Piece” on June 25, 2017.

OBJECTIONS:

Defendant objects to this interrogatory as vague in its use of the term “you became aware” without
further explaining what level of “aware” Defendant would be required to have to actually know of
the blog post’s existence and contents of that blog post.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to respond to this
interrogatory and provide a specific time as to when Defendant “became aware” of this blog post.
Defendant will further supplement this answer as necessary in accordance with the Texas Rules of
Civil Procedure if and when more information responsive to this interrogatory becomes available
to Defendant.


INTERROGATORY NO. 4: Identify by date any occasions in which you have made public oral
or written statements concerning the Sandy Hook shooting, any relatives of the victims, any
lawsuits brought by relatives of the victims, or the allegations in those lawsuits. If those statements
were orally made on an InfoWars show, state the show and the episode title. If those statements
were made on the InfoWars website, identify the title of the webpage and URL. If those statements
were made elsewhere, describe the circumstances of the statements.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, not narrowly tailored in scope of subject
or time, and unduly burdensome. Defendant further objects to this interrogatory as an improper
compound interrogatory in violation of the Texas Rules. Defendant also objects to the extent this
interrogatory seeks information in violation of the attorney-client and/or work-product privileges.
Defendant further objects to the extent this interrogatory seeks an impermissible narrative that
cannot be adequately confined as an answer to an interrogatory.

ANSWER:

Subject to and without waiving the foregoing objections, Plaintiff is seeking to have Defendant go
through years of his comments, appearances, political activism, posts, and the like for at last the
last almost nine (9) years—which occur on a regular and almost daily basis—from the time when
the Sandy Hook shooting occurred (December 14, 2012) to the present—when Defendant is a
reporter, host, and activist who makes a living off of providing news-worthy content to the public.
Defendant is simply unable to state with any specificity the “occasions” on which Defendant has
made any comments or statements of any sort which Plaintiff would somehow deem responsive to
this interrogatory. As such, Defendant at this time does not have the requisite information to
respond to this interrogatory as currently phrased by Plaintiff and it would force Defendant an

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undue hardship and burden to have to do so without further clarification and appropriate
boundaries on this interrogatory from Plaintiff.




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56274306
Status as of 8/13/2021 12:01 AM CST

Associated Case Party: NeilHeslin

Name                 BarNumber    Email               TimestampSubmitted      Status

Mark D.Bankston                   mark@fbtrial.com 8/13/2021 12:00:28 AM      SENT



Associated Case Party: AlexE.Jones

Name                 BarNumber Email                          TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/13/2021 12:00:28 AM SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted      Status

Marc Randazza                    ecf@randazza.com     8/13/2021 12:00:28 AM   SENT

Bradley Reeves                   brad@brtx.law        8/13/2021 12:00:28 AM   SENT

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                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                261st JUDICIAL DISTRICT
              Defendants,           §

      DEFEENDANT, OWEN SHROYER’S, OBJECTIONS AND RESPONSES TO
            PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Owen Shroyer (“Defendant”),

hereby provides his objections and responses to the Second Requests for Production propounded

by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these objections

and responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: August 12, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves           _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
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                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on August 12, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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               DEFENDANT, OWEN SHROYER’S, OBJECTIONS AND RESPONSES TO
                    PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All communications you sent or received concerning
the Sandy Hook shooting, any relatives of the victims, any lawsuits brought by relatives of the
victims, or the allegations in those lawsuits since the start of your employment at Free Speech
Systems, LLC.

OBJECTIONS:

Defendant objects to this request as overly broad on its face because it is not sufficiently narrowed
in scope of time. Defendant also objects to this request to the extent it seeks documents that are
protected by the work-product and/or attorney-client privileges. Defendant further objects to this
request as vague in its use of the broad term “concerning.” Defendant also objects to this request
as it assumes facts not in evidence as to whether Defendant was employed by Free Speech Systems,
LLC. Defendant further objects to the extent this request seeks to have Defendant prematurely
marshal all evidence and documents in his defense in this case. Subject to and without waiving the
foregoing objections,

RESPONSE:

Subject to and without waiving the foregoing objections, Defendant is not currently in possession,
custody, or control of documents responsive to this request beyond those which may be in the
possession, custody, or control of Free Speech Systems, LLC. Defendant is continuing to diligently
search to determine if any documents responsive to this request are indeed in his care, possession,
custody, or control, and will further supplement his production with the same as necessary in
accordance with the Texas Rules of Civil Procedure, expect to the extent such documents are
protected from production by the applicable privileges cited above.




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REQUEST FOR PRODUCTION NO. 2: All communications you sent or received concerning
a “false flag” since the start of your employment at Free Speech Systems, LLC.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant further objects to this request as not sufficiently tailored in scope
of time or subject matter in that it seeks documents that have nothing to do with the underlying
Sandy Hook tragedy at issue in this case. Defendant further objects to this request to the extent it
seeks documents in violation of the attorney-client and/or work-product privileges.

RESPONSE:

Subject to and without waiving the foregoing objections, Defendant is not currently in possession,
custody, or control of documents responsive to this request beyond those which may be in the
possession, custody, or control of Free Speech Systems, LLC. Defendant is continuing to diligently
search to determine if any documents responsive to this request are indeed in his care, possession,
custody, or control, and will further supplement his production with the same as necessary in
accordance with the Texas Rules of Civil Procedure, expect to the extent such documents are
protected from production by the applicable privileges cited above.




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 56274306
Status as of 8/13/2021 12:01 AM CST

Associated Case Party: AlexE.Jones

Name                 BarNumber Email                          TimestampSubmitted       Status

T. Wade Jefferies                 twadejefferies@twj-law.com 8/13/2021 12:00:28 AM SENT



Associated Case Party: NeilHeslin

Name                 BarNumber    Email               TimestampSubmitted      Status

Mark D.Bankston                   mark@fbtrial.com 8/13/2021 12:00:28 AM      SENT



Case Contacts

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Carmen Scott                     carmen@fbtrial.com   8/13/2021 12:00:28 AM   SENT
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                                                                                Velva L. Price
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                                                                               Travis County
                                                                            D-1-GN-18-001835
                             D-1-GN-18-001835                                   Lisa Guerrero

 NEIL HESLIN                            §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 FREE SPEECH SYSTEMS, LLC, and          §                 459th DISTRICT COURT
 OWEN SHROYER,                          §
   Defendants                           §

                             D-1-GN-18-001842
 LEONARD POZNER AND                     §                IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                   §
   Plaintiffs                           §
                                        §                TRAVIS COUNTY, TEXAS
 VS.                                    §
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §                 459th DISTRICT COURT
 AND FREE SPEECH SYSTEMS, LLC,          §
   Defendants                           §

                             D-1-GN-18-006623
 SCARLETT LEWIS                         §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 AND FREE SPEECH SYSTEMS, LLC,          §                 459th DISTRICT COURT
   Defendants                           §



 PLAINTIFFS’ MOTION FOR PROTECTION REGARDING MARC RANDAZZA




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      Plaintiffs file this Motion for Protection to prohibit Defendants from allowing

out-of-state attorney Marc Randazza or any member of his staff access to confidential

documents, testimony, expert reports, or any witnesses in this litigation. For good

cause, Plaintiffs show as follows:

                                      SUMMARY

      On September 10, 2021, Plaintiffs learned that for the previous two months,

Mr. Randazza failed to disclose that he has been in possession of confidential

settlement documents in the Lafferty case. Two months ago, Mr. Randazza was sent

these documents by frequent InfoWars guest and former Lafferty defendant Wolfgang

Halbig. Mr. Halbig, who had entered a confidential settlement, sent these documents

in obvious violation of contractual obligations. During the two months Mr. Randazza

was secretly in possession of the documents, the court in Lafferty entered multiple

orders regarding the confidential settlement in which it ruled that the materials were

inappropriate for discovery and could not be inquired about. During this time, Mr.

Randazza and his junior attorney did not inform the court they were secretly in

possession of those settlement documents. After two months of concealing his

possession of the confidential documents, essentially wasting the court’s time, Mr.

Randazza then instructed his junior attorney to make a public filing describing

aspects of the agreement’s contents in an unredacted pleading.

      Mr. Randazza has been acting behind-the-scenes coordinating the Sandy Hook

litigation from the beginning, a fact he revealed in his recent application to appear pro



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hac vice. During those three years, the litigation in both forums has been a non-stop

catastrophe. Plaintiffs do not desire to proceed in this case unprotected from Mr.

Randazza’s future antics. Plaintiffs’ need for protection is especially acute given the

events of the past several months.

      Prior to this latest event, a lack of respect for confidentiality orders by Mr.

Randazza and his junior attorney Mr. Wolman was already demonstrated when

protected deposition information was filed this summer in the Lafferty case. Indeed,

the Lafferty court described the “baseless argument” concerning confidentiality

duties put forth by Mr. Wolman as “frightening.” Moreover, there is a record of Mr.

Randazza trafficking in wrongfully obtained information from litigation adversaries

in the past, and there is also a record showing Mr. Randazza has threatened and

intimidated participants in litigation, including a witness who gave testimony in this

case. In short, any access to confidential materials or witnesses by Mr. Randazza poses

risks to legitimate interests and virtually guarantees more collateral distractions.

      For all of these reasons, Plaintiffs have brought this Motion for Protection as it

concerns Mr. Randazza specifically. Plaintiffs ask the court to an enter an order

prohibiting Defendants from allowing Mr. Randazza or his law office access to any

confidential discovery documents, confidential expert reports, or confidential

testimony in this litigation. Plaintiffs also ask the Court to prohibit Defendants from

having Mr. Randazza make any manner of contact with any potential witness in this

case given his prior conduct. Finally, Plaintiffs ask this Court to prohibit any contact



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between Mr. Randazza and any of Defendants’ expert witnesses who review

confidential material.

                                 LEGAL STANDARD

      While this Court cannot prevent Mr. Jones from soliciting the legal advice of

out-of-state counsel, it can limit access to discovery and witnesses. These powers

arise under Rule 192.6 and under the Court’s inherent powers to safeguard the

proceedings. Under Rule 192.6, this Court may enter an order protecting any person

from whom discovery is sought. Such an order can be used “[t]o protect the movant

from undue burden, unnecessary expense, harassment, annoyance, or invasion of

personal, constitutional, or property rights.” Tex. R. Civ. P. 192.6(b). The Rule also

authorizes the Court to “make any order in the interest of justice.” Id. Further, under

the Government Code, all courts have the inherent power to “require that proceedings

be conducted with dignity and in an orderly and expeditious manner and control the

proceedings so that justice is done.” Tex. Govt. Code Sec. 21.001(b).

                                     ARGUMENT

I.    There is Good Cause for Protection Given that Mr. Randazza Concealed his
      Possession of Confidential Settlement Documents Specifically Referenced
      in Court Orders.

      In the Lafferty case, Mr. Randazza has caused another significant controversy

when he failed to disclose his possession of confidential documents at the heart of

court orders for two months and then filed a public notice describing aspects of the

agreement. The problem was explained in a Motion to Seal by the Lafferty plaintiffs:



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              This Court barred the Jones defendants from obtaining or
              inquiring into matters related to settlement. See Dkt. 378.10
              (ordering that “no inquiry may be made regarding any
              settlement between the plaintiffs and Halbig, including but
              not limited to the terms or value of those settlements, nor
              may any testimony be offered in that regard”); Dkt. 389.00
              (barring Jones defendants from seeking information related
              to settlement and ruling it “not a proper line of inquiry”). In
              their filing of Thursday, September 2, Dkt. 454.00, they
              indicated that, for the past 55 days, they have been in
              possession of documents covered by these orders.

              Instead of advising the plaintiffs or the Court of this fact in a
              non-public forum, they gratuitously described aspects of
              those materials’ contents in a public filing. These materials
              were provided to the Jones defendants in violation of a
              binding contractual agreement. This Court has repeatedly
              ruled that the Jones defendants are not entitled to them and
              ordered that they may not inquire into them. Nonetheless, in
              the 55 days since receiving the materials, the Jones
              defendants failed to advise the plaintiffs or the Court that
              these materials were in their possession.

              The plaintiffs have requested that the Jones defendants treat
              the materials as Highly Confidential – Attorneys Eyes Only
              under the Protective Order. They have refused this request.
              Additionally, they have refused the plaintiffs’ requests that
              they provide the plaintiffs with the materials and destroy
              any copies of them wrongfully in their possession. 1

       The Lafferty court’s orders denying discovery of the agreement were entered

on July 2, 2021 and July 21, 2021. 2 Yet Mr. Randazza gained possession of the

confidential documents on July 9th, and concealed his possession for two months until

mid-September. 3 All while the Court and the parties were litigating the issue, Mr.


1 Exhibit 1, Lafferty Plaintiffs’ Motion to Seal, p. 1-2.
2 See Lafferty Dkt. 378.10; 389.00. Available at:
http://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S
3
  Exhibit 2, Lafferty Defendants’ Notice of Receipt of Settlement Documents (Redacted), p. 2.


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Randazza kept his possession of the documents a secret from the Court. In their

publicly filed notice, Defendants claimed that that Mr. Randazza “determined that

Defendants had no obligation to make this disclosure,” but that “Attorney Randazza

opined that making the disclosure [in a public unredacted filing] would be the most

honorable course of action.” 4 In the exhibit attached to this Motion, Plaintiffs have

redacted the portions of Defendants’ Notice which describe the agreement since that

Notice is currently subject to a Motion to Seal in Lafferty.

          Separate and apart from the issue of whether a party must inform its adversary

when it has acquired its confidential documents through another’s misdeed, Mr.

Randazza’s handling of this situation is alarming. Defendants’ public unredacted

notice was clearly inappropriate, and Mr. Randazza’s lack of candor for two months

while discovery orders were being litigated is also extremely concerning. These

events, and Mr. Randazza’s past conduct discussed below, provide good cause for

specific protection. Such an order will help avoid further collateral litigation.

II.       There is Good Cause for Protection Because InfoWars Recently Violated
          the Lafferty Protective Order.

          Mr. Randazza, through his junior attorney Jay Wolman, is overseeing litigation

in Lafferty, where they are joined by a local attorney. Mr. Wolman, an employee of

Randazza Legal Group, is licensed in Connecticut, so the Lafferty court did not have

the option of preventing his appearance. As part of the many shenanigans in that case,




4   Exhibit 2, Lafferty Defendants’ Notice of Receipt of Settlement Documents (Redacted), p. 2.


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the Lafferty attorneys were recently found to have violated a protective order after

having argued they had no duty to comply with the order. In an order on August 6,

2021, the Lafferty court described these events and the “frightening” arguments of

Mr. Randazza’s junior attorney:

                In the midst of taking the first deposition of a plaintiff, the
                defendants Free Speech Systems LLC, Infowars LLC, Infowars
                Health LLC, and Prison Planet TV LLC (Infowars), filed a motion
                to depose Hillary Clinton, using deposition testimony that had
                just been designated as “Confidential-Attorneys Eyes Only,”
                and completely disregarding the court ordered procedures…

                In short, Infowars, having advocated for a court ordered
                protective order, filing no less than three versions, having
                recited in writing the good cause bases for the issuance of the
                protective order, and having no objection to the plaintiffs’
                proposed modification, now takes the absurd position that the
                court ordered protective order circumvents the good cause
                requirements of Practice Book 13-5, did not need to be
                complied with, and should not be enforced by the court. This
                argument is frightening. Given the cavalier actions and willful
                misconduct of Infowars in filing protected deposition
                information during the actual deposition, this court has grave
                concerns that their actions, in the future, will have a chilling
                effect on the testimony of witnesses who would be rightfully
                concerned that their confidential information, including their
                psychiatric and medical histories, would be made available to
                the public. 5

          In this case, Plaintiffs will be at greatly increased risk of injury if Defendants

are permitted to allow Mr. Randazza and his firm access to confidential documents,

testimony, and expert reports. Plaintiffs cannot show good cause to designate the

entirety of confidential discovery as “Attorneys Eyes Only,” nor is such a solution


5   Exhibit 3, August 6, 2021 Order in Lafferty.


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workable. But the record does show good cause for an order prohibiting any access

by Mr. Randazza or his law firm specifically, given their prior conduct.

III.   There is Good Cause for Protection Because Mr. Randazza has Previously
       Trafficked in Wrongfully Obtained Confidential Information.

       Good cause for specific protection is further supported by evidence of Mr.

Randazza’s history of trafficking in illegitimate confidential information. One such

episode occurred when Mr. Randazza was pursuing a file-sharing company. During

that lawsuit, Mr. Randazza acquired pilfered confidential information about his

opponent’s business from a photographer named James Grady who assisted in

Randazza’s case against the file-sharing company.

       In an email, Grady told Randazza that he “pay[s] a guy – call him a forensic

investigator” who was able to gain access to confidential information from the target

company, including “corporate papers” and “emails.” 6 Grady made it clear the

information was not legitimately obtained, telling Randazza that his source “didn’t get

the info at Walmart in the course of normal commerce.” 7 In a later email, Randazza

asked Grady to testify, but told him, “I need you to consider what happens if the judge

wants to know where you got your information.” 8 While Randazza wanted Grady to

have an answer ready for the judge, Randazza didn’t care if the information was

obtained in violation of ethical rules. Randazza told Grady that if the information



6 Exhibit 4, Emails between Randazza and James Grady filed in in Randazza v Excelsior, U.S.
Bankruptcy Court for the District of Nevada, No. 15-01193-ABL, Doc. 144-10, p. 1.
7 Id.
8 Id, p. 3.




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came from a “disgruntled Oron employee” or a “jilted lover” with access to the

company’s confidential documents, he felt that was “great.” 9

        Likewise, the findings from the Excelsior/Liberty Arbitration confirm Mr.

Randazza trafficking in pilfered information. During that trial, the Arbitrator found

evidence of “Mr. Randazza's assisting Datatech, including via forwarding fruits of a

disclosed (unnamed) computer hacker.” 10 In doing so, Mr. Randazza was

“[k]nowingly forwarding illegally ‘hacked’ computer data to counsel for another

company.” 11 These events provide good cause to limit his access in this litigation.

IV.     There is Good Cause for Protection Because Mr. Randazza has Already
        Intimidated a Witness in this Case.

        As the Court may recall, Plaintiffs’ brief opposing Mr. Randazza’s pro hac vice

motion included declarations from Alexandrea Merrell and Mike Postle discussing an

abusive phone call they had with Mr. Randazza. In the week after the filing of those

declarations, Mr. Randazza began repeatedly contacting Mr. Postle by email, issuing

menacing threats about lawsuit and perjury.

        First, on July 29, 2021, Mr. Randazza emailed Mr. Postle stating, “It is my

intention to file a lawsuit against you for violation of Cal. Penal Code § 637.2.” 12 Mr.

Randazza threatened this lawsuit due to Mr. Postle allegedly recording Mr.

Randazza’s abusive call. This was a strange threat because Mr. Randazza should have



9 Id.
10 Exhibit 5, Interim Arbitration Award in Randazza v. Exclesior Media Corp., et al., p. 18.
11 Id., p. 8.
12 Exhibit 6, Declaration of Mike Postle, p. 3.




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been overjoyed that the call was recorded, since it would have proved his alleged

innocence. Instead, Mr. Randazza was angry and threatened Mr. Postle with a lawsuit,

stating, “I am willing to grant you 24 hours in which to try to resolve this without

filing suit against you.” 13

          Mr. Postle responded by denying that he had recorded any calls, and asked Mr.

Randazza to leave him alone, stating that he “[didn’t] see a reason for you to contact

me.” 14 When Mr. Randazza learned that the call was not recorded, he switched tactics,

now claiming Mr. Postle had committed perjury. In his next email, Mr. Randazza

stated, “Well, you both lied in claiming that I called her a ‘cunt.’”15 Mr. Randazza told

Mr. Postle, “So, how do you want to handle your perjury?” 16 Mr. Postle responded

again, clearly upset by Mr. Randazza’s accusation and his threat. Mr. Postle again

asked Mr. Randazza to cease contact:

                 As I have said before, I find you beyond unprofessional and
                 yet again, there’s no need to have contact with you unless
                 it is specifically for court business. These threats are NOT
                 court business. 17

          Mr. Postle also stated, “I didn’t lie, you did say that.” 18 Mr. Postle expressed his

dismay that Mr. Randazza was “coming at me out of personal anger with a clear

vendetta.” 19 Mr. Postle then repeated his request that Mr. Randazza cease contact:


13 Id.
14 Id., p. 4
15 Id., p. 5.
16 Id.
17 Id., p. 6.
18 Id.
19 Id.




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                  There’s really no reason to contact me other than to
                  continue harassing and threatening me. You’ve admitted
                  that “because things have been made personal” and that
                  “it’s a big mistake on my part,” it’s very clear why you’re
                  still coming at me. 20

         Mr. Randazza refused to honor Mr. Postle’s second demand to cease

communicating with him about his declaration. Instead, Mr. Randazza again wrote to

Mr. Postle, demanding that Mr. Postle “send a letter to the court” recanting his

testimony. 21 Otherwise, Mr. Randazza pledged “to take action” and stated that he was

“not going to let that rest.” 22 Mr. Randazza also added:

                  Indeed, I did say “fucking liar” – I will never deny that. But,
                  I certainly did not call her a “fucking bitch” nor a “fucking
                  cunt” (There is a non zero chance that I thought those
                  things, but they never came out of my mouth) 23

         Mr. Randazza insisted that “I won’t let this go.” 24 Mr. Randazza then told Mr.

Postle, “So, your move.” 25 Mr. Randazza closed by threatening Mr. Postle, stating, “You

can dig in…and enjoy the ‘effect’ as you put it.” 26 As Mr. Postle noted in his email, Mr.

Randazza had previously emailed Mr. Postle on June 15, 2021, telling Postle, “You

decided to make it personal with me. That wasn’t smart.” A copy of that email was

also attached to Postle’s declaration. 27




20 Id.
21 Id., p. 7-8.
22 Id.
23 Id., p. 8.
24 Id.
25 Id.
26 Id.
27 Id., p. 11.




                                                11
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      In addition, a few weeks after Mr. Postle gave Plaintiffs’ counsel his March 2021

declaration about his call with Mr. Randazza, Mr. Postle was harassed again when Mr.

Randazza posted a public message to Mr. Postle on Twitter which included a court

document with his home address and phone number along with a link to a video of a

group of mafiosos beating up a man in a bar. 28

      There actions are consistent by those described by Florida attorney Paul

Berger, who testified that “Mr. Randazza screamed, threatened, and berated the

undersigned and my client without provocation.” 29 Mr. Berger testified that Mr.

Randazza “threatened to beat me up and send [his Jewish client] to the Gaza Strip.” 30

Mr. Randazza admits that he later taunted the client using Hebrew. 31

                                    CONCLUSION

      The record described above provides good cause for protection. Mr. Randazza

and his junior attorney are not appearing before this court, and Plaintiffs share the

Lafferty court’s “grave concerns that their actions, in the future, will have a chilling

effect on the testimony of witnesses.” 32 To safeguard against future injury, and to

ensure an unambiguous record for future sanctions if necessary, Plaintiffs ask the

Court to an enter an order prohibiting Defendants from allowing Mr. Randazza or his

law office access to any confidential discovery documents, confidential expert



28 See https://twitter.com/marcorandazza/status/1378069741055660040
29 Exhibit 7, Declaration of Paul Berger, p. 7.
30 Id.
31 Id.
32 Exhibit 3, August 6, 2021 Order in Lafferty.




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reports, or confidential testimony in this litigation. Plaintiffs also ask the Court to

prohibit Defendants from having Mr. Randazza make any manner of contact with any

potential witness in this case given his prior conduct. Finally, Plaintiffs ask this Court

to prohibit any contact between Mr. Randazza and any of Defendants’ expert

witnesses who review confidential material.

                                         Respectfully submitted,

                                         KASTER LYNCH FARRAR & BALL, LLP


                                         ____________________________________
                                         MARK D. BANKSTON
                                         State Bar No. 24071066
                                         WILLIAM R. OGDEN
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                         CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with opposing counsel concerning this motion,
but I have been unable to confirm whether Defendants are opposed.




                                       ____________________________________
                                       MARK D. BANKSTON




                           CERTIFICATE OF SERVICE

      I hereby certify that on September 15, 2021 the forgoing document was served
upon all counsel of record via electronic service.




                                       ____________________________________
                                       MARK D. BANKSTON




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                             D-1-GN-18-001835
 NEIL HESLIN                            §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 FREE SPEECH SYSTEMS, LLC, and          §                 459th DISTRICT COURT
 OWEN SHROYER,                          §
   Defendants                           §

                             D-1-GN-18-001842
 LEONARD POZNER AND                     §                IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                   §
   Plaintiffs                           §
                                        §                TRAVIS COUNTY, TEXAS
 VS.                                    §
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §                 459th DISTRICT COURT
 AND FREE SPEECH SYSTEMS, LLC,          §
   Defendants                           §

                             D-1-GN-18-006623
 SCARLETT LEWIS                         §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 AND FREE SPEECH SYSTEMS, LLC,          §                 459th DISTRICT COURT
   Defendants                           §



            ORDER ON PLAINTIFFS’ MOTION FOR PROTECTION
                    REGARDING MARC RANDAZZA




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      On this day, the Court considered Plaintiffs’ Motion for Protection Regarding

Marc Randazza.

      Given the evidence and arguments in Plaintiffs’ Motion, including problems

with confidentiality in the similar Lafferty lawsuit in Connecticut as well as Mr.

Randazza’s questionable prior conduct with respect to confidential materials, this

Court finds there is good cause to grant the relief requested as it concerns confidential

documents, testimony, or expert reports. The Court therefore ORDERS that

Defendants are prohibited from allowing Mr. Randazza or his law office access to any

discovery documents, expert reports, or testimony which is designated as

confidential in this litigation. Likewise, the Court ORDERS that Defendants are

prohibited from allowing any contact between Mr. Randazza and any of Defendants’

expert witnesses who review confidential material.

      In addition, the Court finds that given evidence in the record relating to Mr.

Randazza’s past behavior, including his intimidating behavior towards a witness who

gave testimony in this case, there is good cause to grant the relief requested as it

concerns contact with witnesses. The Court therefore ORDERS that Defendants are

prohibited from having Mr. Randazza make any manner of contact with any potential

witness in this case, other than employees of the Defendants

      Dated ___________________________, 2021.



                                                 _____________________________________
                                                 Hon. Maya Guerra Gamble


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NO.    X06-UWY-CV-XX-XXXXXXX-S                :       SUPERIOR COURT

ERICA LAFFERTY, ET AL.                        :       COMPLEX LITIGATION DOCKET

V.                                            :       AT WATERBURY

ALEX EMRIC JONES, ET AL.            :     SEPTEMBER 3, 2021
____________________________________________________________________________

NO.    X-06-UWY-CV18-6046437-S                :       SUPERIOR COURT

WILLIAM SHERLACH                              :       COMPLEX LITIGATION DOCKET

V.                                            :       AT WATERBURY

ALEX EMRIC JONES, ET AL.            :     SEPTEMBER 3, 2021
_____________________________________________________________________________

NO.    X06-UWY-CV-XX-XXXXXXX-S                :       SUPERIOR COURT

WILLIAM SHERLACH, ET AL.                      :       COMPLEX LITIGATION DOCKET

V.                                            :       AT WATERBURY

ALEX EMRIC JONES, ET AL.                      :       SEPTEMBER 3, 2021

             MOTION FOR ORDER REGARDING AND TO SEAL THE
         JONES DEFENDANTS’ NOTICE OF POSSESSION OF DOCUMENTS

       This Court barred the Jones defendants from obtaining or inquiring into matters related to

settlement. See Dkt. 378.10 (ordering that “no inquiry may be made regarding any settlement

between the plaintiffs and Halbig, including but not limited to the terms or value of those

settlements, nor may any testimony be offered in that regard”); Dkt. 389.00 (barring Jones

defendants from seeking information related to settlement and ruling it “not a proper line of

inquiry”). In their filing of Thursday, September 2, Dkt. 454.00, they indicated that, for the past

55 days, they have been in possession of documents covered by these orders.

       Instead of advising the plaintiffs or the Court of this fact in a non-public forum, they

gratuitously described aspects of those materials’ contents in a public filing. These materials were


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provided to the Jones defendants in violation of a binding contractual agreement. This Court has

repeatedly ruled that the Jones defendants are not entitled to them and ordered that they may not

inquire into them. Nonetheless, in the 55 days since receiving the materials, the Jones defendants

failed to advise the plaintiffs or the Court that these materials were in their possession.

       The plaintiffs have requested that the Jones defendants treat the materials as Highly

Confidential – Attorneys Eyes Only under the Protective Order. They have refused this request.

Additionally, they have refused the plaintiffs’ requests that they provide the plaintiffs with the

materials and destroy any copies of them wrongfully in their possession. To protect these materials

and their interests, the plaintiffs therefore move for a court order designating that these materials

be treated as Highly Confidential – Attorneys Eyes Only while the plaintiffs consider further

appropriate relief.

       Additionally, the plaintiffs move that the Jones defendants’ filing advertising these

materials, Dkt. 454.00, be sealed. Under Conn. Practice Book § 11-20A(c), a filing or document

may “be sealed . . . if the judicial authority concludes that such order is necessary to preserve an

interest which is determined to override the public’s interest in viewing such materials.” In doing

so, the court “shall first consider reasonable alternatives to any such order and any such order shall

be no broader than necessary to protect such overriding interest.” Id. The traditional presumption

in favor of public access “applies only to ‘judicial documents.’” Rosado v. Bridgeport Roman

Cath. Diocesan Corp., 292 Conn. 1, 42 (2009). A “judicial document” is a filing on which the

court could “rely on in support of its adjudicatory function.” Id. at 46.

       Because the Jones defendants’ Notice is “not marked in support of any motion or other

determination of the court and, therefore, could not have been relied upon in the course of

adjudicatory action,” it is not a “judicial document,” and the presumption of public access does



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not apply. Id. at 51–52 (holding same for certain documents). The public has no legitimate interest

in viewing information that this Court has already found is “not proper inquiry” and “literally . . .

a fishing expedition,” and therefore cannot be material to any adjudication in the case. 7/2/21 Hrg.

Tr. 49–51, Dkt. 398.00, July 7, 2021. Moreover, there is an overriding interest in preserving the

confidentiality of information obtained in violation of a binding contract, and whose revelation

would constitute a flouting of the Court’s own determination that it may not be sought or obtained

in the case. In the alternative, the Court could seal the Notice and order the filing of a version in

which any description of the materials referenced is redacted.

       For all the foregoing reasons, the plaintiffs’ motion should be granted.

                                                      THE PLAINTIFFS,

                                              By:     /s/ Matthew S. Blumenthal
                                                      CHRISTOPHER M. MATTEI
                                                      ALINOR C. STERLING
                                                      MATTHEW S. BLUMENTHAL
                                                      KOSKOFF KOSKOFF & BIEDER
                                                      350 FAIRFIELD AVENUE
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                                                      JURIS #32250




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                                       CERTIFICATION

       This is to certify that a copy of the foregoing has been emailed and/or mailed, this day,
postage prepaid, to all counsel and pro se appearances as follows:

For Alex Emric Jones, Infowars, LLC, Free Speech Systems, LLC, Infowars Health, LLC and
Prison Planet TV, LLC:
Jay Marshall Wolman, Esq.
100 Pearl Street, 14th Floor
Hartford, CT 06103
jmw@randazza.com
P: 702-420-2001

Norman A. Pattis, Esq.
Kevin Smith, Esq.
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For Genesis Communications Network, Inc.
Mario Kenneth Cerame, Esq. (and via USPS)
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                                                     /s/ Matthew S. Blumenthal
                                                     CHRISTOPHER M. MATTEI
                                                     ALINOR C. STERLING
                                                     MATTHEW S. BLUMENTHAL




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                                                                      DOCKET NO: UWY-CV-XX-XXXXXXX-S :                :       SUPERIOR COURT
                                                                                                                      :
                                                                      ERICA LAFFERTY, ET AL.,                         :       COMPLEX LITIGATION DOCKET
                                                                                                                      :
                                                                            VS.                                       :       AT WATERBURY
                                                                                                                      :
                                                                      ALEX EMRIC JONES, ET AL.                        :       SEPTEMBER 2, 2021

                                                                      DOCKET NO: UWY-CV-XX-XXXXXXX-S :                :       SUPERIOR COURT
                                                                                                                      :
                                                                      WILLIAM SHERLACH,                               :       COMPLEX LITIGATION DOCKET
                                                                                                                      :
                                                                            VS.                                       :       AT WATERBURY
100 Pearl Street, 14th Floor, Hartford, CT 06103 Tel: 702-420-2001




                                                                                                                      :
                                                                      ALEX EMRIC JONES, ET AL.                        :       SEPTEMBER 2, 2021

                                                                      DOCKET NO: UWY-CV-XX-XXXXXXX-S :                :       SUPERIOR COURT
                                                                                                                      :
                                                                      WILLIAM SHERLACH, ET AL.,                       :       COMPLEX LITIGATION DOCKET
                   Randazza Legal Group, PLLC




                                                                                                                      :
                                                                            VS.                                       :       AT WATERBURY
                                                                                                                      :
                                                                      ALEX EMRIC JONES, ET AL.                        :       SEPTEMBER 2, 2021



                                                                                      NOTICE OF RECEIPT OF SETTLEMENT DOCUMENTS

                                                                            On July 2, 2021, the Court issued an Order (Lafferty Entry No. 389.00) as to whether the

                                                                     defendants could inquire, inter alia, as to the plaintiffs’ settlement with former defendant,

                                                                     Wolfgang Halbig. The Court ruled it was “not a proper line of inquiry”, without prejudice to re-

                                                                     briefing the issues in writing.

                                                                            On July 21, 2021, the Court issued an order allowing the commission for the deposition of

                                                                     Mr. Halbig (Lafferty Entry No. 378.10) stating that “no inquiry may be made regarding any

                                                                     settlement between the plaintiffs and Halbig, including but not limited to the terms or value of

                                                                     those settlements, nor may any testimony be offered in that regard”.

                                                                            Although Defendants Alex Jones, Free Speech Systems, LLC, Infowars, LLC, Infowars

                                                                     Health, LLC, and Prison Planet TV, LLC, have endeavored to abide the foregoing rulings, and
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                                                                                       have done so, without prejudice to their position that such information is discoverable, Mr. Halbig

                                                                                       has apparently not felt so bound.

                                                                                               Unsolicited, on July 9, 2021, Mr. Halbig transmitted to Defendants’ counsel eight

                                                                                       documents purporting to be the Covenant Not to Sue & Settlement Agreeement [sic]



                                                                                                                                                                    . By their terms,
100 Pearl Street, 14th Floor, Hartford, CT 06103 Tel: 702-420-2001 Fax: 305-437-7662




                                                                                               Why Mr. Halbig decided to send these unsolicited documents to Defendants’ counsel is

                                                                                       unknown, and Plaintiffs may fully explore his motive at his upcoming deposition. Plaintiffs’
                              Randazza Legal Group, PLLC




                                                                                       counsel should be well familiar with Mr. Halbig’s penchant for sending unsolicited emails. But,

                                                                                       upon receipt, Defendants’ counsel sought the advice of ethics counsel as to how to handle these

                                                                                       documents, considering the effect of the Court’s order and undersigned counsel’s ethical

                                                                                       obligations to Defendants and Plaintiffs.

                                                                                               To avoid any question of impropriety, ethics counsel has now advised the undersigned to

                                                                                       file the instant notice. Ethics counsel, the undersigned, and Attorney Marc Randazza (consistent

                                                                                       with Rule 5.1 of the Rules of Professional Conduct) determined that Defendants had no obligation

                                                                                       to make this disclosure. Attorney Randazza opined that making the disclosure would be the most

                                                                                       honorable course of action. Defendants have determined that the disclosure is appropriate to avoid

                                                                                       any possible prejudice or surprise to Plaintiffs.



                                                                                               Dated: September 2, 2021                             Respectfully submitted,
                                                                                                                                                    ALEX EMRIC JONES, INFOWARS, LLC,
                                                                                                                                                    FREE SPEECH SYSTEMS, LLC,


                                                                                       1
                                                                                         As the Court is aware, the Bankruptcy Court determined that Ms. Lafferty’s settlements with Mr. Halbig and Midas
                                                                                       Resources are void. The Bankruptcy Court further ordered that the settlement funds be deposited with the Clerk of
                                                                                       this Court.


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                                                                                                                                    INFOWARS HEALTH, LLC, PRISON
                                                                                                                                    PLANET TV, LLC

                                                                                                                                    By: /s/ Jay M. Wolman
                                                                                                                                    Jay M. Wolman – Juris #433791 of
                                                                                                                                    Randazza Legal Group, PLLC
                                                                                                                                    100 Pearl Street, 14th Floor
                                                                                                                                    Hartford, CT 06103
                                                                                                                                    P: 702-420-2001
                                                                                                                                    F: 305-437-7662
100 Pearl Street, 14th Floor, Hartford, CT 06103 Tel: 702-420-2001 Fax: 305-437-7662




                                                                                                                                    jmw@randazza.com
                                                                                                                                    Counsel for Defendants Alex E. Jones, Free
                                                                                                                                    Speech Systems, LLC, Infowars, LLC,
                                                                                                                                    Infowars Health, LLC, and Prison Planet TV,
                                                                                                                                    LLC

                                                                                                                                    And

                                                                                                                                    /s/Norman A. Pattis
                              Randazza Legal Group, PLLC




                                                                                                                                    Norman A. Pattis
                                                                                                                                    PATTIS & SMITH, LLC
                                                                                                                                    Juris No. 423934
                                                                                                                                    383 Orange Street
                                                                                                                                    New Haven, CT 06511
                                                                                                                                    V: 203-393-3017
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                                                                                                                                    npattis@pattisandsmith.com
                                                                                                                                    Counsel for Defendants Free Speech
                                                                                                                                    Systems, LLC, Infowars, LLC, Infowars
                                                                                                                                    Health, LLC, and Prison Planet TV, LLC




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                                                                                                                              CERTIFICATION
                                                                                               I hereby certify that a copy of the above was mailed or electronically delivered on this 2nd
                                                                                       day of September 2021 to all counsel and pro se parties of record and that written consent for
                                                                                       electronic delivery was received from all counsel and pro se parties of record who were
                                                                                       electronically served including:

                                                                                       Alinor C. Sterling                               Mario Cerame, Esq.
                                                                                       Christopher M. Mattei                            Brignole, Bush & Lewis
                                                                                       Matthew S. Blumenthal                            73 Wadsworth Street
100 Pearl Street, 14th Floor, Hartford, CT 06103 Tel: 702-420-2001 Fax: 305-437-7662




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                                                                                       Bridgeport, CT 06604                             Attorneys for Defendant
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                                                                                       <cmattei@koskoff.com>
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                                                                                       Attorneys for Plaintiffs
                              Randazza Legal Group, PLLC




                                                                                                                                            /s/ Jay M. Woman 433791
                                                                                                                                            Jay M. Wolman




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                                                                                          ORDER       421277
DOCKET NO: UWYCV186046436S                                  SUPERIOR COURT

LAFFERTY, ERICA Et Al                                       JUDICIAL DISTRICT OF WATERBURY
  V.                                                          AT WATERBURY
JONES, ALEX EMRIC Et Al
                                                            8/5/2021



                                                  ORDER


ORDER REGARDING:
07/06/2021 394.00 MOTION FOR ORDER

The foregoing, having been considered by the Court, is hereby:

ORDER:

By written stipulation, and unless the court orders otherwise, parties can agree to modify discovery
procedures. See Connecticut Practice Book Section 13-32. In these consolidated cases, the defendants
Alex Jones, Free Speech Systems, LLC, Infowars, LLC, Infowars Health, LLC, and Prison Planet TV,
LLC (“the Jones defendants”) did just that. Additionally, they took their agreement with the plaintiffs a
step further and asked the court to issue a protective order pursuant to Practice Book Section 13-5 and
approve their joint discovery stipulation. The Jones defendants filed no less than three versions of a
proposed protective order for the court’s approval, see entry numbers 177,181,183, and 185, asserting
that they were asking for the same discovery protection that would have been in place in federal court
had the cases not been remanded back to state court. They indicated, correctly, that discovery materials
are not filed with the court and as such are not ordinarily available to the public. The court ultimately
approved the stipulation of the parties, which complied with all relevant requirements of the Connecticut
Practice Book and which, inter alia, set forth the procedure by which sensitive confidential information
obtained through pretrial discovery would be handled and, if necessary, filed with the court. The order
provided that of all or part of a deposition transcript could be designated as confidential by counsel for
the deponent or designated party, by requesting such treatment on the record at the deposition or in
writing no later than thirty days after the date of the deposition. It set forth simple procedures by which
the designation of “confidential” could be subsequently challenged, and how confidential information
could be filed with the court. Importantly for the purposes of this motion, the protective order clearly
prohibited discovery information designated as confidential from being filed with the court until such
time that the court had ruled on the designating party’s motion under Practice Book Section 11-20A.
The Jones defendants did not oppose the plaintiffs’ June 8,2021 motion to modify the protective order,
which recited a good cause basis for the modification and which added a “Confidential- Attorneys Eyes
Only” designation to the above mentioned procedures. Based upon the written motions filed by the
plaintiffs and the Jones defendants, the court, in entering the protective orders, found good cause for
both the issuance of the original protective order and its modification. In support of the motion for
protective order, the Jones defendants identified their privacy interests in sensitive proprietary
information including proprietary business, financial, and competitive information that they maintain as
trade secrets, proprietary business and marketing plans, marketing data, web analytics, sales analytics,
and/or other web traffic data, and marketing data or analytics. They referred to the “unique” business
model that makes them competitive and successful. The plaintiffs, in support of the modification to the
protective order, identified their privacy interests in their medical histories, psychiatric records,and
private social media accounts. In the midst of taking the first deposition of a plaintiff, the defendants
Free Speech Systems LLC, Infowars LLC, Infowars Health LLC, and Prison Planet TV LLC
(Infowars),filed a motion to depose Hillary Clinton, using deposition testimony that had just been
designated as “Confidential-Attorneys Eyes Only,” and completely disregarding the court ordered
procedures. At no point prior to filing the Clinton motion did Infowars profess ignorance of the
procedures they had proposed and which were court ordered to be followed, nor have they since taken
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any steps to correct their improper filing. If Infowars was of the opinion that the plaintiffs’ designation
was unreasonable and not made in good faith, the solution was to follow the court ordered procedure to
challenge the designation, not to blatantly disregard it and make the confidential information available
on the internet by filing it in the court file. The court rejects Infowars’ baseless argument that there was
no good cause to issue the protective orders, where both sides recited, in writing, detailed justification
for a good cause basis. In short, Infowars, having advocated for a court ordered protective order, filing
no less than three versions, having recited in writing the good cause bases for the issuance of the
protective order, and having no objection to the plaintiffs’ proposed modification, now takes the absurd
position that the court ordered protective order circumvents the good cause requirements of Practice
Book 13-5, did not need to be complied with, and should not be enforced by the court. This argument is
frightening. Given the cavalier actions and willful misconduct of Infowars in filing protected deposition
information during the actual deposition, this court has grave concerns that their actions, in the future,
will have a chilling effect on the testimony of witnesses who would be rightfully concerned that their
confidential information, including their psychiatric and medical histories, would be made available to
the public. The court will address sanctions at a future hearing.

Judicial Notice (JDNO) was sent regarding this order.

                                                              421277

                                                              Judge: BARBARA N BELLIS
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court E-Services
Procedures and Technical Standards (https://jud.ct.gov/external/super/E-Services/e-standards.pdf), section 51-193c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




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        From:             James Grady Photo
        To:               mir(0randazzaom
        Subject:          Re: Oron
        Date:             Wednesday, June 06, 2012 4:56:01 PM




       Marc,

       I am in Virgin Islands shooting until the 16th.

       Oron is not a huge problem for me but I can toss in $5000. Not much,
                                                                            but
       its a start.

       I pay a guy call him a forensic investigator to dig past Domains
                   -
                                                        -
                                                                             by
       Proxy and things like that. He called me today while I was sitting in
                                                                              Fr
       Lauderdale airport with the info. Haven’t seen it myself yet but the
                                                                              guy
       has never been wrong.

       I didn’t have great connection..., but basic are

       Russian, living in FL 10 years.

       Married.

       My guy has seen corporate papers.

      My guys says he has seen emails from guy upset about Forumopheli
                                                                        a domain
      name being on hold after complaint about false whois data. Dated
                                                                       May 2012.
   Its legit. We have the guy.

   But, my guy didn’t get the info at Walmart in the course of normal
                                                                      commerce.
   Ill be in touch with him now that I have better reception and hope
                                                                      to
   update you soon. Please understand I am on a photo shoot trip, Villa
   full of models, so can’t dedicate many minutes until home on 16th.




   On 6/6/2012 10:14 AM, mjr@randazza.com wrote:
   > I have a complaint drafted and delivered to
                                                 them.
   >
   > They are jerking me around.
   >
   > Corbin Fisher is ready to go. I need some more participants
                                                                  to help fund
   > the thing. Do you have anyone who is ready to
                                                    shit or get off the pot? I
   > have a few parties who keep saying yes, but they
                                                       haven’t committed.
   >
   > How certain are you of the owner’s identity and location?
                                                                 Their lawyer
   > is telling me that they are in Hong Kong. Of course
                                                         , I don’t buy it, but
   > what’s your back up for that information?
   >
   >




   >              Original Message
  >       Subject: Oron                                                             DEFENDANT’S
  >       From: GroupFivePhotosports <jamesgradyphoto©gmail.com                       EXHIBIT
  >       <maiIto:jamesgradyphotogmail.com>>



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   >   Date: Wed, June 06, 2012 8:08 am
   >   To: mjr@randazza.com <mailto: mjrrandazzp.çj>
   >
   >   Trying to get a group together to go after Oron.
   >
   >   Know anybody that wants in?
   >
   >   By the way... The REAL owner of Oron, PornBB and Forumophilia
                                                                         is a
   >   Russian living in Jacksonville, FL. Been there 10 years, recently
   >   married, etc.
   >
   >   Jimmy




                                                                                MJR 013855
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    From:                 James Grady Photo
    To:                   rnjr)randazza,com
    Subject:.             Re: Witness in case
    Date:                 Monday, June 25, 2012 6:33:36 PM




   OK, I shall work all that out. Be there whatever day you wish.

   On 6/25/2012 7:31 PM, mjr@randazza.com wrote:
   > Ok, I need:
   >
   > 1) You to develop a report, everything you know about Oron.
   > 2) You to consider what happens if the judge wants to know where you
   > got your information. As far as I know, it was lawfully obtained. You
   > certainly got it lawfully. If the source is a disgruntled Oron
   > employee, great. Jilted lover, great. Hacker, problematic.
   > 3) Need you here on July 3. Probably a day or two before.
   >
   >
   >             Original Message
   >     Subject: Re: Witness in case
   >     From: James Grady Photo <jamesgradyphoto@gmail.com
   >     <mailto:jamesgradyphotogmail.com>>
   >     Date: Mon, June 25, 2012 6:30 pm
   >     To: mjr@randazza.com <mailto: mjrrandazza.com>
   >
   >
   >     Sure   --   whatever you need.
   >
   >     On 6/25/2012 7:21 PM, mjr@randazza.com <mailto:mircrandazza.com> wrote:
   >     > you interested in coming down to Vegas for the hearing on July 3
   >     > (probably beforehand to prepare) to be a star witness in this case?
   >     >
   >     >
   >




                                                                                   EFENDANT’S
                                                                                      EXHIBIT


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          Mr. Randazza uses social media websites such as Twitter and his friends at media outlets
   such as TechDirt to promote himself, smear my reputation and hurt my legal practice. Mr.
   Randazza's countless number of social media activities about myself ranges from stating that
   Roca Lab's legal team (including myself) would be a good fit for radical terrorists to stating that
   "Some Fucker put Roca Labs Shit in my kid's candy bag!" (social media activity upon request).

            On May 6, 2015, mandatory mediation took place between Roca and Pissed Consumer
   in a different matter (Roca Labs, Inc. v. Opinion Corp et. al. Case No: 8:14-cv-2096-T-33EAJ).
   After the conclusion of mediation outside the building Mr. Randazza became enraged at Don
   Juravin and myself. Mr. Randazza screamed, threatened, and berated the undersigned and my
   client without provocation. He screamed at both of us and threatened violence against both Mr.
   Juravin and myself. He threatened to beat me up and send Mr. Juravin to the Gaza Strip. Mr.
   Juravin is Jewish and his family lives in Israel. After screaming and berating Mr. Juarvin and
   myself for several minutes Mr. Randazza walked to his vehicle and proceeded as if he was
   leaving (screaming curses at us as he left).

          Rather than driving away, he stopped his vehicle, got out of the car and began to scream
   at Mr. Juravin and myself and made more threats of violence against us. He stated that he would
   ruin Mr. Juravin and sue him for millions of dollars. He then drove off in his car. The mediator,
   Mr. Michael Kahn, Esq., a Member of the Florida Bar (482 N. Harbor City Blvd., Melborne, FL
   32935 Tel. 321-242-2564) witnessed the entire event.


            On May 8, 2015, Mr. Randazza posted a blog on his website with the Hebrew phrase
   'llNYl .im>l 'llNYl Nlil ilj71l (translation: "Roca Labs is very hurt"). The message was directed
   specifically at Mr. Juravin and was more hate speech. A brief search of Mr. Randazza's
   hundreds of blog posts failed to find any other titles written in Hebrew.

          On June 3, 2015, during a conference call Mr. Randazza repeatedly berated the
   undersigned, calling me an idiot, stupid and a "sorority girl". After the call I sent an email to Mr.
   Randazza notifying him that I would not have any telephone calls that were not recorded to
   ensure professional behavior (email available upon request).

           I am requesting the Committee investigate the above allegations against Marc Randazza
   to determine whether his conduct violates the Rules of the Florida Bar.
   22-01023-tmd Doc#1-13 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 57254009
Status as of 9/17/2021 3:02 PM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com   9/15/2021 8:44:27 AM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted     Status

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Carmen Scott                   carmen@fbtrial.com 9/15/2021 8:44:27 AM     SENT
